Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 1 of 164 PageID #:61254




                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

                                                 )
 UNITED STATES SECURITIES                        )
 AND EXCHANGE COMMISSION,                        )
                                                 )
                       Plaintiff,                )      Civil Action No. 18-cv-5587
                                                 )
        v.                                       )      Hon. John Z. Lee
                                                 )
 EQUITYBUILD, INC., EQUITYBUILD                  )      Magistrate Judge Young B. Kim
 FINANCE, LLC, JEROME H. COHEN,                  )
 and SHAUN D. COHEN,                             )
                                                 )
                       Defendants.               )
                                                 )

        RECEIVER’S FOURTEENTH INTERIM APPLICATION AND MOTION
         FOR COURT APPROVAL OF PAYMENT OF FEES AND EXPENSES
          OF RECEIVER AND RECEIVER’S RETAINED PROFESSIONALS

       Kevin B. Duff, as the receiver (“Receiver”) for the Estate of Defendants EquityBuild, Inc.,

EquityBuild Finance, LLC, their affiliates, and the affiliate entities of Defendants Jerome Cohen

and Shaun Cohen, as defined in the Order Appointing Receiver entered August 17, 2018 (Dkt. No.

16), as supplemented by Order entered March 14, 2019 (Dkt. No. 290) and Order entered February

21, 2020 (Dkt. No. 634) (collectively, the “Receivership Defendants”), and pursuant to the powers

vested in him by Order of this Court, respectfully submits this Fourteenth Interim Application

(“Application”) for the Fourth Quarter 2021, and moves this Court for an order approving payment

of the fees and expenses of the Receiver, the Receiver’s counsel, Rachlis Duff & Peel, LLC

(“RDP”), the Receiver’s accountants BrookWeiner, LLC (“BrookWeiner”), and the Receiver’s

forensic IT consultant, Prometheum. In support of his Application and Motion, the Receiver states

as follows:




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Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 2 of 164 PageID #:61255




I.     BACKGROUND

       On August 15, 2018, the United States Securities and Exchange Commission (“SEC”) filed

a civil Complaint against Jerome Cohen, Shaun Cohen, EquityBuild Inc., and EquityBuild Finance

LLC (collectively the “Defendants”) alleging violations of federal securities laws, along with a

motion for entry of an asset freeze, permanent injunction, and other ancillary relief. (Dkt. Nos. 1

& 3, respectively)

       In their Complaint against the Defendants, the SEC alleged violations of Section 10(b) of

the Securities Exchange Act of 1934 (the “Exchange Act”), 15 U.S.C. § 78j(b), and Rule 10b-5

promulgated thereunder, 17 C.F.R. § 240.10b-5, Section 20(a) of the Exchange Act, 15 U.S.C.

§78t(a), Sections 5(a) and 5(c) of the Securities Act of 1933 (the “Securities Act”), 15 U.S.C.

§77e(a) and (c), and Section 17(a) of the Securities Act, 15 U.S.C. §§77q(a)q. (Dkt. No. 1)

       The Complaint further alleged that the Defendants operated a Ponzi-scheme that raised at

least $135 million from more than 900 investors by, among other things, making untrue statements

of material fact in connection with the sale of promissory notes allegedly secured by residential

real estate primarily located on the south side of Chicago. (Id. ¶¶ 1-7, 17, 20-51)

       On August 28, 2018, the Court entered a judgment against defendants Jerome Cohen and

Shaun Cohen which, among other things, enjoined future violations of federal securities laws.

(Dkt. No. 40)

       In connection with its civil action, the SEC sought and obtained Court approval for the

appointment of a Receiver, and on August 17, 2018, this Court entered an Order Appointing

Receiver. (Dkt. No. 16)




                                                 2
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 3 of 164 PageID #:61256




         Under the Order Appointing Receiver, the Receiver was authorized to engage and employ

persons and entities in his discretion to assist him in carrying out the duties and responsibilities set

forth in the Order. (Id., Order Appointing Receiver, ¶ 54)

         Accordingly, the Receiver retained Rachlis Duff Adler Peel & Kaplan, LLC (“RDAPK”) 1

as special counsel, and, on August 20, 2018, the Court entered an Order approving RDAPK’s rates.

(Dkt. No. 19) On August 23, 2018, the Receiver retained BrookWeiner to provide accounting

services and to perform tax and related work regarding the assets of the Receivership Defendants.

(Dkt. No. 32) On August 28, 2018, the Court entered an Order approving BrookWeiner’s rates.

(Dkt. Nos. 39 & 45) On August 31, 2018, the Receiver retained Prometheum to access and

preserve data within EquityBuild’s cloud-based storage systems and provide related IT services,

and, on September 6, 2018, the Court entered an order approving Prometheum’s rates. (Dkt. No.

56)

         Pursuant to the Order Appointing Receiver, the Receiver and his retained personnel are

entitled to “reasonable compensation and expense reimbursement” from the Receivership Estate,

as described in the “Billing Instructions for Receivers in Civil Actions Commenced by the U.S.

Securities and Exchange Commission” (the “Billing Instructions”) agreed to by the Receiver.

(Dkt. No. 16, ¶ 69)

II.      FOURTEENTH INTERIM APPLICATION

         Pursuant to the Billing Instructions, the Receiver provides the following information

regarding this Application:

         a.      The Application covers the period from October 1, 2021 through December 31,

         2021.



1
    As of October 1, 2019, the firm changed its name to Rachlis Duff & Peel, LLC (“RDP”).
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Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 4 of 164 PageID #:61257




       b. The names and hourly rates of all professionals for RDP and BrookWeiner, as well as

          Prometheum’s hourly rates, are attached as Exhibit A.

       c. This is the Receiver’s Fourteenth Interim Application. The dates and amounts of the

          Receiver’s prior interim fee applications, the orders and amounts allowed, and the amounts

          paid and unpaid, are attached hereto as Exhibit B. 2

III.      CASE STATUS

          Pursuant to the Billing Instructions, the Receiver provides the following information

regarding the status of the case, and activities performed specifically for the period covered by this

Application. See also Receiver’s Fourteenth Status Report (Fourth Quarter 2021) for additional

information. (Dkt. No. 1164)

          a.     Cash on Hand and Funds Received and Disbursed During the Quarter

          The Receiver’s Standardized Fund Accounting Report (“SFAR”) for the Fourth Quarter

2021 is attached as Exhibit C. The SFAR sets forth the funds received and disbursed from the

Receivership estate during this reporting period. As reported in the SFAR, the amount of cash on

hand as of December 31, 2021 was $1,019,746.01. The information reflected in the SFAR was

based on records and information currently available to the Receiver. The Receiver and his

advisors are continuing with their evaluation and analysis.

          b.     Receiver’s Administration of the Case

          Upon his appointment, the Receiver began making efforts to determine the nature, location,

and value of all property interests of the Receivership Defendants, including monies, funds,



2
 Due to a clerical error, the approved and unpaid fees reported in the Receiver’s Third Quarter2021
fee application were inadvertently overstated. The actual amount of approved and unpaid fees as
of September 30, 2021 was $2,885,340.46. Following certain payments made to professionals
during the fourth quarter, that amount has been reduced to $2,862,944.26 as of December 31, 2021.


                                                   4
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 5 of 164 PageID #:61258




securities, credits, effects, goods, chattels, lands, premises, leases, claims, choses in action, rights

and other assets, together with all profits, interest, or other income attributable thereto, which the

Receivership Defendants owned, possessed, retained a beneficial interest in, or controlled directly

or indirectly, and to preserve and maintain those assets. In furtherance of such, the Receiver took,

inter alia, the following actions:

              i.       Identification and Preservation of Assets

       During the Fourth Quarter 2021, one of the Receiver’s primary focuses continued to be the

preservation, operation, maintenance, and sale of the three real estate properties remaining in the

Receivership Estate at the beginning of the quarter. The Receiver worked with his counsel, asset

manager/real estate broker, and property managers to plan for cash flow needs, to ensure that all

health, life, and safety issues at the properties were addressed expeditiously, and to monitor repairs,

inspections, and expenses to preserve the properties and protect their financial position.

       Additionally, the Receiver, with the assistance of counsel and the property managers,

worked to address open building code violations. The Receiver’s counsel favorably resolved one

remaining Department of Buildings matter (7834-44 S Ellis) and one remaining municipal housing

court matter (638-40 N Avers) by obtaining orders of dismissal. The Receiver referred the City to

the claims process established by the Court for default judgments entered in several other matters

regarding violations for which the City did not issue notices until after the Receiver had sold the

properties (4750-52 S Indiana, 7024 S Paxton (two judgments), 1422-24 E 68th, 1414 E 62nd

Place). During the quarter, the Receiver’s counsel received four new notices of violations.

       As of December 31, 2021, there were no known pending City of Chicago municipal court

or administrative matters involving alleged code violations for properties in the estate.




                                                   5
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 6 of 164 PageID #:61259




             ii.     Property Sales

       The Receiver and his retained professionals closed the sale of two properties during the

Fourth Quarter 2021, 638-40 N Avers Avenue and 1102 Bingham (in Houston, TX), leaving a

single property remaining in the estate at the end of the quarter, 7109-19 S Calumet Avenue.

       During the quarter, the Receiver marketed this last remaining property after lender U.S.

Bank withdrew its credit bid. The Receiver published notice of public sale in the Chicago Sun-

Times on November 19, November 26, December 3, and December 10, 2021, with a bid deadline

of December 16, 2021. The Receiver reviewed the nine offers that were submitted and, after

consulting with its asset manager/real estate broker, accepted the highest bid in the amount of

$1,496,000. On December 30, 2021, the Receiver filed his Fifteenth Motion to Confirm the sale

of 7109-19 S Calumet (Dkt. No. 1110), and the Court set January 20, 2022 as the response

deadline. (Dkt. No. 1117) No objections were filed, and the Court entered an order approving the

sale on January 24, 2022. (Dkt. No. 1138)

       The Receiver also responded to the interlocutory Seventh Circuit appeal of the Court’s

August 13, 2021 order denying the motion of Ventus Holdings, LLC and Ventus Merrill LLC

(collectively “Ventus”) for the return of earnest money deposits. The Receiver filed a motion to

dismiss the appeal on October 13, 2021 (Appeal 21-2664, Dkt. No. 6), which was granted on

November 4, 2021. (Dkt. No. 1109) On November 24, 2021, Ventus filed a motion asking the

district court to designate its interlocutory order as a final judgment in an effort to seek another

appeal (Dkt. No. 1095). The Receiver filed an opposition to Ventus’ motion on December 20, 2021

(Dkt. No. 1106). Ventus then filed a reply brief on January 10, 2021 (Dkt. No. 1120). The motion

remains pending.




                                                 6
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 7 of 164 PageID #:61260




            iii.       Financial Reporting and Funds Restoration

       During the quarter, the Receiver’s counsel has been working with third parties to obtain

the complete information needed to allocate insurance expenses and refunds to properties and

provide final accounting reports to the Court and the claimants. Once this process is completed,

the Receiver will seek the Court’s approval to reimburse the Receiver’s Account for any funds that

the Receiver expended on the properties.

            iv.        Open Litigation

       On October 14, 2021, an action was filed in the Circuit Court of Cook County captioned

Pennington v. 4533 Calumet, LLC, Case No. 2021 L 010115, naming EquityBuild affiliate 4533-

37 S Calumet, LLC, and property manager WPD Management, LLC, along with the third-party

who purchased the property in December 2020. During the Fourth Quarter, the Receiver tendered

the case to its insurer and notified plaintiff’s counsel of the Receivership and stay of litigation.

Subsequently, on January 10, 2022 the insurer notified the Receiver of its determination that there

is no coverage for the Pennington lawsuit under the policies, and on January 27, 2022, a stay order

was entered by the trial court.

       A trial in the matter captioned Byrd v. EquityBuild, Inc., et al., Case No. 18 L 1993, Circuit

Court of Cook County, is scheduled for March 21, 2022.

             v.        Notice of Appointment of Receiver

       During the Fourth Quarter 2021, the Receiver continued his efforts to notify all necessary

and relevant individuals and entities of the appointment and to protect and preserve the assets of

the Receivership Estate. To that end, as they are identified, the Receiver continues to deliver

notices to individuals or entities which have been identified as potentially having possession of the

property, business, books, records, or accounts of the Receivership Defendants, or who may have



                                                 7
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 8 of 164 PageID #:61261




retained, managed, held, insured, or encumbered, or had otherwise been involved with any of the

assets of the Receivership Defendants.

            vi.        Control of Receivership Property and Records

       During the Fourth Quarter 2021, the Receiver continued efforts to locate and preserve all

EquityBuild property and records. The Receiver maintained two platforms of records and data

during the Fourth Quarter 2021, and pursuant to the Court’s order approving the institutional

lenders’ plan to process the EquityBuild internal documents, (Dkt. No. 915), a database containing

the EquityBuild documents has been made available to other claimants and parties until December

31, 2021 for a nominal fee and agreement to keep the documents confidential (Dkt. No. 940).

            vii.       Factual Investigation

       During the Fourth Quarter 2021, the Receiver and his retained professionals continued to

review and analyze the following: (i) documents and correspondence sent to or received from the

EquityBuild principals, to whose email accounts the Receiver has access; (ii) bank records from

EquityBuild and its affiliate entities; (iii) EquityBuild documents stored in the CloudNine

database; (iv) available underlying transaction documents received to date from former Chicago-

based EquityBuild counsel; and (v) files produced by former EquityBuild counsel, accountants,

and employees.

       During the Fourth Quarter 2021, the Receiver and his retained counsel devoted efforts to

prosecuting claims asserted in state court against former EquityBuild professionals: (1) the law

firm Rock Fusco & Connelly LLC (“Rock Fusco”), (2) Ioana Salajanu, a lawyer formerly at Rock

Fusco, (3) the law firm Bregman, Berbert, Schwartz & Gilday, LLC and (4) lawyer Mark L.

Rosenberg. These claims are for professional malpractice and aiding and abetting the Cohen’s

breaches of their fiduciary duties. During the quarter, the Receiver responded to written discovery,



                                                 8
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 9 of 164 PageID #:61262




produced documents, served multiple third-party subpoenas for records related to his claims and

potential claims, and reviewed records produced in discovery. Additionally, the Receiver filed a

motion to consolidate the action against Rosenberg with the other pending actions, but the

defendants in the Rosenberg action filed a notice of removal to the Northern District of Illinois.

During the quarter, the Receiver also moved to intervene in Liberty EBCP, LLC v. Rock Fusco &

Connelly, LLC, and Ioana Salajanu, Case No. 20-L-4725, for the purpose of enforcing the stay of

litigation contained in the Order Appointing Receiver (Dkt. No. 16).

           viii.       Tax Issues

       BrookWeiner was retained to perform accounting, tax, and related work in connection with

winding down the business operations of the Receivership Defendants. BrookWeiner also has

compiled monthly property statements and property spreadsheets and assisted with cash flow

analysis matters.

            ix.        Accounts Established by Receiver for the Benefit of the Receivership Estate

       The Receiver established custodial accounts at a federally insured financial institution to

hold all cash equivalent Receivership property. The interest-bearing checking accounts are used

by the Receiver to collect liquid assets of the estate and to pay the portfolio-related and

administrative expenses. For each property encumbered by secured debt that has sold, the Receiver

also has established a separate interest-bearing account for the purpose of depositing and holding

funds until such time as the Court orders otherwise and for ultimate distribution, following a claims

process and upon Court approval, to the creditors of the Estate, including the defrauded investors.

(Dkt. Nos. 230, 311, 344 & 346)




                                                 9
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 10 of 164 PageID #:61263




       c.      Creditors and Claims Against the Receivership Estate

       During the Fourth Quarter 2021, the Receiver and his retained professionals continued to

improve the accuracy and completeness of the “Master Claims Exhibit,” preliminarily identifying

on a property-by-property basis for each of the nearly 2400 claims the following: (i) claimant

name, (ii) total amount claimed, (iii) claimant category, and (iv) the amount loaned or invested in

the particular property (where it could be determined from the face of the claim form). The

Receiver has encouraged claimants to review this exhibit and bring any discrepancies to the

attention of the Receiver, and the Receiver and his retained professionals have updated the exhibit

where appropriate. The most recent version of the Master Claims Exhibit was submitted with the

Fourth Quarter 2021 Status Report filed on January 31, 2022. (Dkt. No. 1164 at Ex. 6) This work

was reasonable, necessary, and beneficial to the Receivership estate, and has allowed the

Receiver’s claims vendors (1) to organize, on a property-by-property basis, the claim forms and

supporting documentation that claimants have submitted to the Receiver, and (2) to provide each

claimant who did not opt out of the Confidentiality Order with digital links for the transfer of the

claim forms and supporting documentation of other claimants asserting claims against the same

property or properties in the receivership estate, consistent with Court orders. The Receiver also

worked to update and confirm the accuracy of claimants’ email, address, and counsel records, both

for the preparation of framing reports, and for use in the creation of email distribution lists for

claimants to use in discovery and the claims process.

       The Fourth Quarter 2021 was devoted primarily to the disputed claims process for the five

properties in Group 1 (3074 Cheltenham Place; 7625-33 S East End Avenue; 7635-43 S East End

Avenue; 7750-58 S Muskegon Avenue; and 7201 S Constance Avenue), which began on July 6,

2021 (Dkt. Nos. 1004-1006). During the quarter, the Receiver and his counsel and staff: (1) drafted



                                                10
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 11 of 164 PageID #:61264




communications with Group 1 claimants about the claims and discovery processes, deposition

scheduling and practice, and modification of the Group 1 schedule; (2) provided technical

assistance relating to claimants’ document productions and deposition attendance; (3) reviewed

and analyzed the claim submissions and discovery responses of the claimants, including both for

the institutional lender and the investor lenders, involved in Group 1; (4) conducted searches of

EquityBuild’s records relating to these claimants and their claims; (5) prepared for and questioned

witnesses at the depositions of institutional lender BC57, LLC (“BC57”) (through its corporate

representative Jason Jarjosa), its transaction counsel (Kasturi Bagchi), a BC57 employee (Matt

Turzewski), a representative of the title company (Maribel Morales), five individual investor-

lender claimants (Mark Young, Charles Anglin, Randall Pong, Cecilia Wolff, Jill Meekcoms), and

the expert witness designated by BC57 (Bushnell Nielsen); and (6) engaged in motion practice

related to BC57’s motion to compel discovery, BC57’s motion to designate an expert witness, and

certain investor claimants’ motion to modify the Group 1 schedule.

       Additionally, during the Fourth Quarter 2021, the Receiver drafted communications to all

claimants regarding the EquityBuild documents database and responded to approximately 120

claimant inquiries, in addition to numerous oral and other written communications with claimants

and certain claimants’ counsel regarding the claims process and the receivership. The Receiver

and his professionals also: (1) shared claims files with claimants who did not download the records

from Avalon; (2) engaged in negotiation and motion practice relating to the process for resolution

of certain claims submitted by U.S. Bank National Association and Midland Loan Services

regarding properties against which no other claimants have submitted a claim; (3) worked on

reviewing the claim submissions of these institutional lenders; (4) propounded third-party

discovery to the loan originators and title companies involved in the single claim loans; (5) worked



                                                11
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 12 of 164 PageID #:61265




to resolve a motion filed by counsel for certain claimants for leave to intervene in these proceedings

in order to request leave to name EquityBuild in certain mortgage foreclosure actions relating to

properties that EquityBuild sold before the commencement of the receivership; and (6) engaged in

various other activities relating to the claims process as reflected in the submitted invoices.

         The Receiver is continuously updating all claimants on the developments in this matter,

and responding in a timely manner to the hundreds of emails and voicemails from investors and

others, many if not most of which related to the claims submitted against the Estate and the status

of the Court’s process for resolving those claims and distributing the Estate’s assets. To ease the

burden        and    provide   basic   information,        the   Receiver   established   a   web   page

(http://rdaplaw.net/receivership-for-equitybuild) for claimants and other interested parties to

obtain information and certain court filings related to the Receivership estate, which remains in

place today and continues to be best and most cost-effective mean of providing information

regarding the status of this action.

         d.         Assets in Receivership Estate

         All known Receivership Property is identified and described in the Master Asset List

attached hereto as Exhibit D. The Master Asset List identifies 56 checking accounts in the names

of the affiliates and affiliate entities included as Receivership Defendants, reflecting a total amount

transferred to the Receiver’s account of $213,249.56 and a balance as of December 31, 2021 of

$1,019,746.01. (See also Dkt. No. 258 at 21, and Dkt. No. 348 at 23-24, for additional information

relating to these funds.) Additionally, 103 separate interest-bearing accounts established by the

Receiver to hold the proceeds from sold real estate are identified on Exhibit E, which collectively

contained $68,938,527.86 as of December 31, 2021.




                                                      12
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 13 of 164 PageID #:61266




       The Master Asset List does not include funds received or recovered after December 31,

2021. Nor does it include potentially recoverable assets for which the Receiver is still evaluating

the value, potential value, and/or ownership interests. The Receiver is in the process of evaluating

certain other types of assets that may be recoverable by the Receivership Estate.

IV.    BILLING ADDRESSED IN THIS APPLICATION

       Pursuant to the Billing Instructions, the Receiver provides the following information

regarding current billing:

       a.       Total Compensation and Expenses Requested.

              i.       In connection with his duties, the Receiver respectfully requests

                       compensation for services rendered, totaling $34,047.00 for the period of

                       this Application. Copies of the Receiver’s invoices for October, November,

                       and December, 2021 are attached as Exhibit F.

             ii.       In connection with the legal services provided to the Receiver by RDP, the

                       Receiver respectfully requests compensation for services rendered, along

                       with reimbursement of expenses, totaling $129,139.85 for the period of this

                       Application.   Copies of RDP’s invoices for October, November, and

                       December, 2021 are attached as Exhibit G.          The Receiver’s counsel

                       Andrew Porter received $1,055.00 as agency fees for the title examination

                       work performed in connection with the closing of properties during the

                       Fourth Quarter 2021. The Receiver will reduce the amount due to RDP for

                       the Fourth Quarter 2021 by this amount. 3



3
 Additionally, during the quarter, the Receiver and Mr. Porter undertook an analysis of all agency
fees paid since the commencement of the receivership and determined that an additional
$12,223.00 net fees have not been reported in the Receiver’s prior fee applications. Accordingly,
                                                13
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 14 of 164 PageID #:61267




            iii.       In connection with the accounting provided to the Receiver by

                       BrookWeiner, the Receiver respectfully requests compensation for services

                       rendered, along with reimbursement of expenses, totaling $1,397.00 for the

                       period of this Application. Copies of BrookWeiner’s invoices for October,

                       November and December, 2021, are attached as Exhibit H.

            iv.        In connection with the IT services provided to the Receiver by Prometheum,

                       the Receiver respectfully requests compensation for services rendered,

                       along with reimbursement of expenses, totaling $522.50 for the period of

                       this Application. A copy of Prometheum’s invoice is attached as Exhibit I.

       b.      Source of Funds for Requested Compensation and Expenses.

       The Receiver requests that the above compensation and expenses be paid from the

Receiver’s operating account to the extent there are sufficient funds now or in the future. To the

extent funds are insufficient, Receiver requests that the above compensation and expenses be paid

pursuant to the receiver’s lien that the Court established in order that receivership property may be

used to compensate the Receiver and his counsel for their work. (See Court’s 10/26/20 Order

granting Receiver’s lien (Dkt. No. 824) and Court’s Order Approving Receiver’s Lien for Certain

Categories of Expenses (Dkt. No. 1030). See also discussion in Section V, infra.)

       c.      Fourteenth Application for Payment of Professional Fees and Expenses.

       This is the Receiver’s Fourteenth Interim Application.




the Receiver will further reduce the amount due to RDP by this additional amount, or by a total of
$13,278.00 and will be addressed through credits for prior periods. See reconciliation attached as
Exhibit J.


                                                 14
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 15 of 164 PageID #:61268




       d.      Summary of Activity.

       A “Summary of Activity,” providing the total hours billed and the amount of billing for

each person who billed time during the Application period (October 1, 2021 through December

31, 2021) can be found at the end of the Receiver’s invoices (Exhibit F) and RDP’s invoices

(Exhibit G) and on the first page of the BrookWeiner invoices (Exhibit H).

V.     REQUEST FOR RECEIVER’S LIEN

       The Receiver again requests that the amounts set forth in this fee petition be subject to the

Receiver’s first-priority lien previously ordered and affirmed by the Court. (see Dkt. Nos. 824,

1031) . Additionally, the Receiver requests authorization for the interim payment of fees for two

categories of activity: (1) the preservation, management, and liquidation of certain real estate

belonging to the Receivership Estate; and (2) the implementation and management of an orderly

summary claim-priority adjudication process, as previously ordered with respect to the Receiver’s

prior fee applications. (Dkt. No. 1030)

       In that Order, the Court noted that “it is certainly a good idea for the Receiver to attach the

proposed allocation of fees to his fee petitions so as to give stakeholders an opportunity to review

and object to them in a timely manner” and directed that “the Receiver should incorporate requests

for interim fees relating to the claims process into his quarterly fee applications, and the Court will

set objection deadlines as it has in the past.” (Id. at 17) Accordingly, the Receiver submits as

Exhibit K to this fee application his proposed allocations of the fees for the Asset Disposition,

Business Operations, and Claims billing categories incurred during the Fourth Quarter of 2021 to

properties in the Estate, which have been made in accordance with the methodology approved by

the Court, and requests approval of an interim payment of the approved amount from the accounts

established from the sale of the property, subject to any holdback ordered by the Court..



                                                  15
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 16 of 164 PageID #:61269




VI.     CONCLUSION

        WHEREFORE, the Receiver respectfully requests that the Court approve the Receiver’s

Fourteenth Interim Fee Application and enter an Order as follows:

        a.      Finding the fees and expenses of the Receiver and Receiver’s retained

professionals, Rachlis Duff & Peel, LLC, BrookWeiner, LLC, and Prometheum, as described in

Exhibits F-I, respectively, to be reasonable and necessary to the Receivership;

        b.      granting the Receiver and his retained professional a first priority administrative

lien against each of the real estate properties in the Receivership Estate and their sales proceeds

for payment of fees and costs;

        c.      approve the proposed allocation and payment methodology with respect to a

Receiver’s lien for all fees and expenses of the Receivership Estate as described and recommended

in this fee application;

        d.      approving the Receiver’s payment of such fees and expenses to the Receiver and to

Receiver’s retained professionals from sales proceeds for each of the properties in the Receivership

Estate as described and recommended in this fee application; and

        e.      granting the Receiver all other relief which this Court deems just and proper.

Dated: February 14, 2022                              Kevin B. Duff, Receiver

                                              By:     /s/    Michael Rachlis

                                                      Michael Rachlis
                                                      Jodi Rosen Wine
                                                      Rachlis Duff & Peel, LLC
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                                                16
 Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 17 of 164 PageID #:61270




                                RECEIVER’S CERTIFICATION
         1.     Pursuant to the Billing Instructions, the Receiver certifies as follows regarding the

Receiver’s Fourteenth Interim Application and Motion for Court Approval of Payment of Fees and

Expenses of Receiver and Receiver’s Retained Professionals:

         a.     The Receiver has read the foregoing Application and Motion;

         b.      To the best of the Receiver’s knowledge, information and belief formed after
 reasonable inquiry, the Application and Motion and all fees and expenses therein are true and
 accurate and comply with the Billing Instructions (with any exceptions specifically noted in this
 Certification, Application, and Motion);

       c.     All fees contained in the Application and Motion are based on the rates listed in the
 Fee Schedule attached hereto as Exhibit A, and such fees are reasonable, necessary, and
 commensurate with the skill and experience required for the activity performed;

        d.      The Application and Motion does not include in the amount for which
 reimbursement is sought, the amortization of the cost of any investment, equipment, or capital
 outlay (except to the extent any such amortization is included within the permitted allowable
 amounts set forth herein); and

         e.     In seeking reimbursement for a service which the Receiver or the Receiver’s
 Retained Professionals justifiably purchased or contracted for from a third party (such as copying,
 imaging, bulk mail, messenger service, overnight courier, computerized research, or title and lien
 searches), reimbursement is requested only for the amount billed to the Receiver or Receiver’s
 Retained Professionals by the third-party vendor and paid by the Receiver or Receiver’s Retained
 Professionals to such vendor. If such services were performed by the Receiver or Receiver’s
 Retained Professionals, the Receiver certifies that no profit has been made on such reimbursable
 service.

         2.     On February 7, 2022, the Receiver provided to Mr. Benjamin Hanauer, of the SEC,

 a complete draft copy of this Application and Motion, together with all exhibits and relevant billing

 statements in a format specified by the SEC.

 Dated: February 14, 2022                              /s/ Kevin B. Duff
                                                Kevin B. Duff, Receiver
                                                EquityBuild, Inc., et al.
                                                c/o Rachlis Duff & Peel, LLC
                                                542 S. Dearborn Street, Suite 900
                                                Chicago, IL 60605
                                                (312) 733-3390 - kduff@rdaplaw.net


                                                  17
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 18 of 164 PageID #:61271




                              CERTIFICATE OF SERVICE

       I hereby certify that I provided service of the foregoing Receiver’s Fourteenth Interim

Application and Motion for Court Approval of Payment of Fees and Expenses of Receiver and

Receiver’s Retained Professionals, via the Court’s CM/ECF system, to all counsel of record on

February 14, 2022.


                                                  /s/ Michael Rachlis

                                                  Michael Rachlis
                                                  Rachlis Duff & Peel, LLC
                                                  542 South Dearborn Street, Suite 900
                                                  Chicago, IL 60605
                                                  Phone (312) 733-3950
                                                  Fax (312) 733-3952
                                                  mrachlis@rdaplaw.net




                                              1
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 19 of 164 PageID #:61272




                Exhibit A
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 20 of 164 PageID #:61273




Rachlis Duff & Peel, LLC Rates

      Professional/        Position              2021           2021
      Paraprofessional                           Standard       Discounted
                                                 Hourly Rates   Hourly Rates
      Michael Rachlis      Member                $625           $390
      Drew G.A. Peel       Member                $625           $390
      Ellen Duff           Of Counsel            $585           $390
      Andrew E. Porter     Of Counsel            $585           $390
      Jodi Rosen Wine      Of Counsel            $585           $260
      Kathleen Pritchard   Paralegal             $205           $140
      Ania Watychowicz     Paralegal             $205           $140
      Justyna Rak          Paralegal             $205           $140
      Stoja Zjalic         Legal Assistant       $170           $110
      Julia Porter         Legal Assistant       $170           $95
      Natalie Gastevich    Legal Assistant       $170           $95
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 21 of 164 PageID #:61274




 BrookWeiner Billing Rates
                               20% discount from
                               current standard rates

 Staff Accountant                            $110/hour
 Manager                                     $210/hour
 Partner                                    $275/hour
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 22 of 164 PageID #:61275




Prometheum’s Hourly Rate

     Position                        Hourly Rate
     Senior Technical Consultant     $110
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 23 of 164 PageID #:61276




                Exhibit B
                             Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 24 of 164 PageID #:61277


                                                                                                           Amount                                Approved
                          Docket No.                        Amount of      Docket No.                      Approved          Amount Paid        Amount Unpaid
Interim Fee Application   Application   Date Filed          Application    Order        Date of Order      (less holdback)   (as of 12/31/21)   (as of 12/31/21)
First (3d Q 2018)         411           June 12, 2019       $ 413,298.44   546          October 15, 2019    $ 413,298.44      $ 413,298.44       $             -
Second (4th Q 2018)       487           August 21, 2019     $ 553,968.43   547          October 15, 2019    $ 553,968.43      $ 553,968.43       $             -
Third (1st Q 2019)        569           November 1, 2019    $ 547,711.44   614          January 7, 2020     $ 547,711.04      $ 547,711.04       $             -
Fourth (2d Q 2019)        576           November 15, 2019   $ 510,056.64   614          January 7, 2020     $ 510,056.64      $     23,006.88    $ 487,049.76
Fifth (3d Q 2019)         608           December 20, 2019   $ 485,094.92   710          June 9, 2020        $ 485,094.92      $     19,563.50    $ 465,531.42
Sixth (4th Q 2019)        626           February 14, 2020   $ 297,791.41   710          June 9, 2020        $ 297,791.41      $     22,211.40    $ 275,580.01
Seventh (1st Q 2020)      755           July 28, 2020       $ 362,102.16   824          October 26, 2020    $ 362,102.16      $     11,634.25    $ 350,467.91
Eighth (2d Q 2020)        778           August 28, 2020     $ 451,944.97   824          October 25, 2020    $ 451,944.97      $     12,152.50    $ 439,792.47
Ninth (3d Q 2020)         885           November 30, 2020   $ 403,064.48   1031         August 17, 2021     $ 334,077.68      $      1,017.50    $ 333,060.18
Tenth (4Q2020)            945           February 23, 2021   $ 379,388.01   1031         August 17, 2021     $ 307,767.31      $      6,593.20    $ 301,174.11
Eleventh (1Q2021)         993           May 17, 2021        $ 261,601.20   1031         August 17, 2021     $ 213,038.40      $      2,750.00    $ 210,288.40
Twelfth (2Q2021           1026          August 16, 2021     $ 185,528.04   n/a
Thirteenth (3Q2021)       1087          November 15, 2021   $ 155,709.74   n/a
                                                                                                                                                $ 2,862,944.26
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 25 of 164 PageID #:61278




                Exhibit C
          Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 26 of 164 PageID #:61279

                    STANDARDIZED FUND ACCOUNTING REPORT for EQUITYBUILD, INC., et al. - Cash Basis
                                   Receivership; Civil Court Docket No. 18-cv-05587
                                     Reporting Period 10/1/2021 to 12/31/2021

Fund Accounting (See Instructions):
                                                                             Detail        Subtotal       Grand Total
Line 1        Beginning Balance (As of 10/1/2021):                        $1,047,593.76                   $1,047,593.76
              Increases in Fund Balance:
Line 2        Business Income
Line 3        Cash and unliquidated assets
Line 4        Interest/Dividend Income                                         $657.25
Line 5        Business Asset Liquidation
Line 6        Personal Asset Liquidation
Line 7        Net Income from Properties
Line 8        Miscellaneous - Other¹                                         $3,000.00
                Total Funds Available (Line 1-8):                                                         $1,051,251.01
              Decrease in Fund Balance:
Line 9      Disbursements to Investors
Line 10     Disbursements for receivership operations
   Line 10a Disbursements to receiver or Other Profesionals                 ($22,396.20)
   Line 10b Business Asset Expenses²                                         ($9,108.80)
   Line 10c Personal Asset Expenses
   Line 10d Investment Expenses
   Line 10e Third-Party Litigation Expenses
                1. Attorney Fees
                2. Litigation Expenses
              Total Third-Party Litigation Expenses                                             $0.00
   Line 10f Tax Administrator Fees and Bonds
  Line 10g Federal and State Tax Payments
              Total Disbursements for Receivership Operations                              ($31,505.00)
Line 11     Disbursements for Distribution Expenses Paid by the Fund:
   Line 11a    Distribution Plan Development Expenses:
                 1. Fees:
                       Fund Administrator……………………………………………………….….
                       Independent Distribution Consultant (IDC)…………………
                       Distribution Agent……………………….……………………………………
                       Consultants………………………………………………….…………………….
                       Legal Advisers…………………………………………………………….……..
                       Tax Advisers……………………………………………………………………….
                  2. Administrative Expenses
                  3. Miscellaneous
               Total Plan Development Expenses                                                  $0.00
  Line 11b       Distribution Plan Implementation Expenses:
                   1. Fees:
                       Fund Administrator…………..…………….…………………………
                       IDC……………………………………………………………………………..
         Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 27 of 164 PageID #:61280

                 STANDARDIZED FUND ACCOUNTING REPORT for EQUITYBUILD, INC., et al. - Cash Basis
                                Receivership; Civil Court Docket No. 18-cv-05587
                                  Reporting Period 10/1/2021 to 12/31/2021

                    Distribution Agent……………………….………………..…..………
                    Consultants………………………………………………….…………….
                    Legal Advisers………………………………………….………………………..
                    Tax Advisers……………………………………………………..………………..
                 2. Administrative Expenses
                 3. Investor identification
                    Notice/Publishing Approved Plan………………………………….
                    Claimant Identification……………………………………………………
                    Claims Processing……………………………………………………………..
                    Web Site Maintenance/Call Center……………………………….
                 4. Fund Adminstrator Bond
                 5. Miscellaneous
                 6. Federal Account for Investor Restitution
                   (FAIR) reporting Expenses
                 Total Plan Implementation Expenses
                 Total Disbursement for Distribution Expenses Paid by the Fund                          $0.00
Line 12     Disbursement to Court/Other:
   Line 12a     Investment Expenses/Court Registry Investment
                System (CRIS) Fees
   Line 12b     Federal Tax Payments
              Total Disbursement to Court/Others:
              Total Funds Disbursed (Lines 1-12):                                                                    ($31,505.00)
Line 13         Ending Balance (As of 12/31/2021):                                                                $1,019,746.01
Line 14     Ending Balance of Fund - Net Assets:
   Line 14a    Cash & Cash Equivalents                                                                            $1,019,746.01
   Line 14b    Investments (unliquidated EquityBuild investments)
   Line 14c    Other Assets or uncleared Funds
               Total Ending Balance of Fund - Net Assets                                                          $1,019,746.01

           ¹ Cincinnati Insurance (settlement check for claim - 7114
           Cornell)
           Payments to vendors for services related to claims document
           repository ($6,108.80); payment for claim ($3,000.00);
           TOTAL $9,108.80.

                                                               Receiver:
                                                                                              /s/ Kevin B. Duff
                                                                                (Signature)

                                                                            Kevin B. Duff, Receiver EquityBuild, Inc., et al.
                                                                                (Printed Name)

                                                                    Date:                     December 31, 2021
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 28 of 164 PageID #:61281




                Exhibit D
     Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 29 of 164 PageID #:61282



                                                    Master Asset List
                                       Receiver’s Account (as of 12/31/2021)
Institution                                Account Information              Amount
AXOS Fiduciary Services                    Checking #0181                                                         $830,336.00
AXOS Fiduciary Services                      Checking #0348                                                       $189,410.01
                                                                                                                        Total:
                                                                                                                $1,019,746.01

                                 Receivership Defendants’ Accounts
Institution      Account Information                         Current Value                           Amount Transferred
                                                                                                     to Receiver’s
                                                                                                     Account
Wells Fargo      Checking (53 accounts in the names of the                                                    $190,184.13¹
                 affiliates and affiliate entities included as
                 Receivership Defendants)
Wells Fargo      Checking (account in the names of Shaun                                                           $23,065.43²
                 Cohen and spouse)
Byline Bank      Checking (2 accounts in names of Receivership                      $21,851.01³
                 Defendants)
                                                                                                                        Total:
                                                                                                                  $213,249.56

                                   EquityBuild Real Estate Portfolio
For a list of the properties within the EquityBuild portfolio identified by property address, alternative
address (where appropriate), number of units, and owner, see Exhibit 1 to the Receiver’s First Status
Report, Docket No. 107. See also Exhibit 6 hereto.

                                            Other, Non-Illinois Real Estate
Description                                                     Appraised Market Value
Single family home in Plano, Texas                                                                              ±$450,000.00

                                                                          Approximate mortgage amount: $400,000.00
                                                                         Approximate value less mortgage: $50,000.00


     ¹ This amount reflects the total value of all of the frozen bank accounts held by Wells Fargo that were transferred to
     the Receiver’s account; the final transfer was made on 1/22/20, and included as part of the Receiver’s Account as of
     3/31/20.
     ² This amount was transferred to the Receiver’s Account as of 8/27/18, and is included as part of the total balance of
     the Receiver’s Account as of 3/31/19.
     ³ The Receiver is investigating whether these accounts are properly included within the Receivership Estate.
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 30 of 164 PageID #:61283




                Exhibit E
       Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 31 of 164 PageID #:61284
                                                             SEC v. EquityBuild, Inc., et al.
                                                                     No. 18-cv-5587
                                       Balances of Funds in Property Specific Accounts as of December 31, 2021




                                                    Account Balance
                                                                                                                 Reason for Change (if any)
 Account Number          Account Name             (as of December 31,       Date of Settlement
                                                                                                                    10/1/21 - 12/31/21
                                                          2021)
0025              7301 S Stewart Ave                         $303,432.44               11/4/2019   Interest earned, $191.14
0033              5001-05 S Drexel                         $2,726,130.25               5/22/2019   Interest earned, $1,717.29
0041              7927-49 S Essex                            $644,477.95                5/1/2019   Interest earned, $405.98
0058              8100-14 S Essex                            $928,918.99               4/30/2019   Interest earned, $585.16
0066              6160-6212 S King                           $429,930.08               4/30/2019   Interest earned, $270.83
0074              1102 Bingham                               $701,145.51               10/6/2021   Proceeds from sale of property, $700,355.74;
                                                                                                   interest earned, $417.70
0108              8047 S. Manistee                           $805,962.58                2/5/2020   Interest earned, $507.70
0116              5955 S. Sacramento                         $450,110.83               11/5/2019   Interest earned, $283.54
0124              6001-05 S. Sacramento                      $329,157.20               11/5/2019   Interest earned, $207.35
0132              7026-42 S. Cornell                         $868,156.21               11/6/2019   Interest earned, $546.88
0140              7237-43 S. Bennett                         $683,240.83               6/30/2021   Post-sale distribution by property manager,
                                                                                                   $3,442.46; interest earned, $429.93
0157              7834-44 S. Ellis                         $1,636,618.62               11/4/2019   Interest earned, $1,030.97
0165              701-13 S. 5th Avenue                      $616,449.11                3/31/2020   Interest earned, $388.32
0199              7625 S. East End                         $1,241,762.87              12/20/2019   Interest earned, $782.24
0207              7635 S. East End                         $1,048,889.32              12/20/2019   Interest earned, $660.73
0215              7748 S. Essex                            $1,186,569.40              12/18/2019   Interest earned, $747.47
0223              7750 S. Muskegon                          $409,561.14               12/18/2019   Interest earned, $258.00
0231              7749-59 S. Yates                          $639,095.56                4/22/2020   Interest earned, $402.59
0249              7450 S. Luella                            $198,381.51                 5/7/2020   Interest earned, $124.97
0256              4520-26 S. Drexel                        $6,204,553.07               5/21/2020   Interest earned, $3,908.47
0264              6749-59 S. Merrill                       $1,410,028.21               4/28/2020   Interest earned, $888.23
0272              7110 S. Cornell                          $1,170,123.02               8/13/2020   Interest earned, $737.11
0280              7109 S. Calumet                               $224.15                      n/a   Interest earned, $0.14
0298              7600 S. Kingston                         $1,407,863.68               12/3/2020   Post-sale distribution by property manager,
                                                                                                   $26,919.16; interest earned, $885.26
0306              7656 S. Kingston                           $235,077.51               12/2/2020   Post-sale distribution by property manager,
                                                                                                   $3,660.31; interest earned, $147.79
0314              8201 S. Kingston                          $275,063.02                5/21/2020   Interest earned, $173.27
0322              8326-58 S. Ellis                         $1,333,707.52               6/11/2020   Interest earned, $840.15
0330              6949-59 S. Merrill                       $1,542,773.90               12/1/2020   Interest earned, $971.84
0355              7546 S. Saginaw                           $523,232.34                5/13/2020   Interest earned, $329.61
0363              638 N. Avers                              $628,516.06               10/15/2021   Proceeds from sale of property, $325,151.47;
                                                                                                   interest earned, $364.74
0371              5450 S. Indiana                          $1,793,365.87               6/25/2020   Interest earned, $1,129.71
0389              6437 S. Kenwood                          $1,343,111.13               6/25/2020   Interest earned, $846.07
0397              7300 S. St. Lawrence                      $310,374.11                7/27/2020   Interest earned, $195.52
0405              7760 S. Coles                             $123,149.72                6/26/2020   Interest earned, $77.58
0413              8000 S. Justine                           $193,420.84                6/26/2020   Interest earned, $121.85
0421              8107-09 S. Ellis                          $111,149.31                6/30/2020   Interest earned, $70.02
0439              8209 S. Ellis                             $263,965.99                 7/1/2020   Interest earned, $166.29
0447              8214-16 S. Ingleside                      $209,381.76                6/30/2020   Collection of past-due rent by property manager,
                                                                                                   $600.00; interest earned, $131.89
0454              11117 S. Longwood                        $1,693,848.57                7/8/2020   Interest earned, $1,067.02
0462              1700 Juneway                             $2,775,287.20              10/20/2020   Interest earned, $1,748.25
0470              1131-41 E. 79th                          $1,180,238.78              12/22/2020   Interest earned, $743.48
0488              2736 W. 64th                              $380,452.00                9/29/2020   Interest earned, $239.66
0496              3074 Cheltenham                          $1,015,366.50               9/24/2020   Interest earned, $639.62
0504              5618 S. Martin Luther King                $627,407.81                9/29/2020   Interest earned, $395.23
0512              6250 S. Mozart                            $909,051.47               12/22/2020   Post-sale distribution by property manager,
                                                                                                   $43,764.24; interest earned, $571.45
0520              6355 S. Talman                             $479,480.34               9/29/2020   Interest earned, $302.05
0538              6356 S. California                         $315,808.17               9/29/2020   Interest earned, $198.94
0546              6554-58 S. Vernon                          $541,558.60              10/15/2020   Post-sale distribution by property manager,
                                                                                                   $11,281.01; interest earned, $340.22
0553              7051 S. Bennett                            $477,134.38               9/23/2020   Interest earned, $300.56
0561              7201 S. Constance                          $963,108.64               9/30/2020   Interest earned, $606.70
       Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 32 of 164 PageID #:61285
                                                              SEC v. EquityBuild, Inc., et al.
                                                                      No. 18-cv-5587
                                        Balances of Funds in Property Specific Accounts as of December 31, 2021




                                                     Account Balance
                                                                                                                  Reason for Change (if any)
 Account Number          Account Name              (as of December 31,       Date of Settlement
                                                                                                                     10/1/21 - 12/31/21
                                                           2021)
0579              7201-07 S. Dorchester                       $421,668.26              10/20/2020 Interest earned, $265.63
0587              7508 S. Essex                               $748,824.65              10/28/2020 Interest earned, $471.71
0595              7957 S. Marquette                           $285,019.51               9/21/2020 Interest earned, $179.54
0603              4533 S. Calumet                           $2,199,332.49               12/1/2020 Interest earned, $1,385.44
0611              1017 W. 102nd                               $105,798.04               5/26/2021 Interest earned, $66.65
0629              1516 E. 85th                                $109,977.81               5/26/2021 Interest earned, $69.27
0637              417 Oglesby                                 $101,661.24               5/26/2021 Interest earned, $64.04
0645              7922 S. Luella                              $142,915.37               5/26/2021 Interest earned, $90.03
0652              7925 S. Kingston                             $88,098.49               5/26/2021 Interest earned, $55.50
0660              8030 S. Marquette                            $80,924.70               5/26/2021 Interest earned, $51.18
0678              8104 S. Kingston                            $150,230.89               5/26/2021 Interest earned, $94.64
0686              8403 S. Aberdeen                            $115,564.89               5/26/2021 Interest earned, $72.80
0694              8405 S. Marquette                           $113,208.84               5/26/2021 Interest earned, $71.31
0702              8529 S. Rhodes                              $134,428.92               5/26/2021 Interest earned, $84.68
0710              9212 S. Parnell                              $98,456.49               5/26/2021 Interest earned, $62.02
0728              10012 S. LaSalle                             $87,506.17               5/26/2021 Interest earned, $55.12
0736              11318 S. Church                             $126,479.37               5/26/2021 Interest earned, $79.68
0744              6554 S. Rhodes                               $87,222.26               5/26/2021 Interest earned, $54.94
0751              6825 S. Indiana                             $127,421.97               5/26/2021 Interest earned, $80.27
0769              7210 S. Vernon                               $61,496.84               5/26/2021 Interest earned, $38.74
0777              7712 S. Euclid                              $130,924.55               5/26/2021 Interest earned, $82.47
0785              8107 S. Kingston                             $98,147.63               5/26/2021 Interest earned, $61.83
0793              8346 S. Constance                           $136,131.93               5/26/2021 Interest earned, $85.75
0801              8432 S. Essex                               $134,320.92               5/26/2021 Interest earned, $84.62
0819              8517 S. Vernon                              $133,142.56               5/26/2021 Interest earned, $83.87
0827              2129 W. 71st                                 $64,072.39               5/26/2021 Interest earned, $40.36
0835              9610 S. Woodlawn                             $87,739.45               5/26/2021 Post-sale distribution by property manager,
                                                                                                  $10,435.82; interest earned, $53.84
0843              1401 W. 109th                                $56,434.70               5/26/2021 Interest earned, $35.55
0850              1139 E. 79th                                  $3,715.33                     n/a Interest earned, $2.34
0868              4611 S. Drexel                            $4,933,111.75               5/14/2021 Interest earned, $3,107.55

0876              6217 S. Dorchester                        $2,211,423.01                7/6/2021 Post-sale distribution by property manager,
                                                                                                  $224,187.06; interest earned, $1,386.91
0884              7255 S. Euclid                            $1,069,341.38               6/29/2021 Post-sale distribution by property manager,
                                                                                                  $140,196.03 interest earned, $669.75
0892              7024 S. Paxton                            $1,833,154.29               4/22/2021 Interest earned, $1,154.77

0900              4317 S. Michigan                            $813,324.87               12/2/2020 Post-sale distribution by property manager,
                                                                                                  $19,519.88; interest earned, $511.81
0918              7701 S. Essex                               $732,838.68              11/16/2020 Interest earned, $461.64
0926              816 E. Marquette                            $823,010.08              11/18/2020   Interest earned, $518.44
0934              1422 E. 68th                                $449,695.00               6/23/2021   Interest earned, $283.28
0942              2800 E. 81st                                $445,057.08               4/30/2021   Interest earned, $280.36
0959              4750 S. Indiana                             $739,479.58               4/21/2021   Interest earned, $465.82
0967              7840 S. Yates                               $364,402.62               4/23/2021   Interest earned, $229.55
0975              7442-48 S. Calumet                          $541,532.83              11/16/2020   Interest earned, $341.13
0983              431 E. 42nd Place                            $64,947.83               11/5/2020   Interest earned, $40.91
0991              1414 E. 62nd Place                           $35,134.70               5/26/2021   Interest earned, $22.13
1007              2136 W. 83rd Street                         $101,781.69               5/26/2021   Interest earned, $64.12
1015              7933 S. Kingston                             $95,661.69               5/26/2021   Interest earned, $60.26
1023              8800 S. Ada                                 $127,069.11               5/26/2021   Interest earned, $80.04
1031              3213 S. Throop                              $137,560.72               5/26/2021   Interest earned, $86.65
1049              3723 W. 68th Place                          $124,208.64               5/26/2021   Interest earned, $78.24
1056              406 E. 87th Place                            $99,731.35               5/26/2021   Interest earned, $62.83
1064              61 E. 92nd Street                           $103,386.96               5/26/2021   Interest earned, $65.13
1072              7953 S. Woodlawn                            $128,613.41               5/26/2021   Interest earned, $81.02
       Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 33 of 164 PageID #:61286
                                                            SEC v. EquityBuild, Inc., et al.
                                                                    No. 18-cv-5587
                                      Balances of Funds in Property Specific Accounts as of December 31, 2021




                                                   Account Balance
                                                                                                                Reason for Change (if any)
 Account Number          Account Name            (as of December 31,       Date of Settlement
                                                                                                                   10/1/21 - 12/31/21
                                                         2021)
1080              5437 S. Laflin                             $45,779.25               5/26/2021 Interest earned, $28.84
1098              6759 S Indiana                             $90,252.86               5/26/2021 Interest earned, $56.85
1106              310 E 50th Street                         $189,149.03               5/26/2021 Post-sale distribution by property manager,
                                                                                                $6,663.16; interest earned, $118.24
1114              6807 S. Indiana                           $122,198.72               5/26/2021 Post-sale distribution by property manager,
                                                                                                $11,574.19; interest earned, $76.66

                  TOTAL FUNDS HELD:                      $68,938,527.86
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 34 of 164 PageID #:61287




                Exhibit F
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 35 of 164 PageID #:61288
                                 Rachlis Duff & Peel, LLC
                                      542 South Dearborn Street
                                                                                          tel (312) 733-3950
                                              Suite 900                                   fax (312) 733-3952
                                       Chicago, Illinois 60605




January 31, 2022

Kevin B. Duff, Receiver
c/o Rachlis Duff & Peel, LLC
542 S. Dearborn Street, Suite 900
Chicago, IL 60605




 Re: SEC v. EquityBuild Inc., EquityBuild Finance, LLC, Jerome H.                      Fed. I.D. No. XX-XXXXXXX
     Cohen, and Shaun D. Cohen                                                         Invoice No. 6621139
     No. 18-cv-5587, US Dist. Ct., Northern Dist. of Illinois, Eastern Div.




Legal Fees for the period October 2021                                   $13,026.00

Expenses Disbursed                                                            $0.00


Due this Invoice                                                          $13,026.00
   Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 36 of 164 PageID #:61289
    Kevin B. Duff, Receiver                                                                                 Page 2




         Date       Indiv Hours Description

Asset Disposition

         10/1/2021 KBD        0.90 Confer with M. Rachlis regarding intervenor appeal and study related briefs
                                   (6949 Merrill; 7600 Kingston; 7656 Kingston) (.4); confer with SEC and
                                   J. Wine (6949 Merrill; 7600 Kingston; 7656 Kingston) (.1); attention to
                                   documents for closing (1102 Bingham) (.2); review information regarding
                                   contract and sale prices for properties (all) (.2).

                                   Asset Disposition

         10/4/2021 KBD        0.70 Work with J. Rak on closing documents (1102 Bingham) (.4); study
                                   correspondence relating to closing (1102 Bingham) (.3).

                                   Asset Disposition

         10/5/2021 KBD        0.80 Exchange correspondence with A. Porter regarding closing (1102 Bingham)
                                   (.2); study and revise motion to dismiss appeal (6949 Merrill; 7600Kingston;
                                   7656 Kingston) (.6).

                                   Asset Disposition

         10/6/2021 KBD        0.30 Exchange correspondence regarding motion to dismiss appeal (6949
                                   Merrill; 7600 Kingston; 7656 Kingston) (.1); exchange correspondence
                                   regarding closing of property sale and termination of insurance (1102
                                   Bingham) (.2).
                                   Asset Disposition

         10/7/2021 KBD        1.40 Study revised motion to dismiss appeal (6949 Merrill; 7600 Kingston;7656
                                   Kingston) (1.0); exchange correspondence with A. Porter, M. Rachlis, and J.
                                   Wine regarding appeal strategy (6949 Merrill; 7600 Kingston; 7656 Kingston)
                                   (.3); exchange correspondence regarding sale of property (1102 Bingham)
                                   (.1).

                                   Asset Disposition

         10/8/2021 KBD        0.80 Confer with A. Porter, M. Rachlis, and J. Wine regarding issues relating to
                                   appeal (6949 Merrill; 7600 Kingston; 7656 Kingston).


                                   Asset Disposition

         10/11/2021 KBD       1.50 Study and revise motion to dismiss appeal (6949 Merrill; 7600 Kingston; 7656
                                   Kingston).

                                   Asset Disposition

         10/12/2021 KBD       0.60 Exchange correspondence regarding motion to dismiss appeal (7600
                                   Kingston; 7656 Kingston; 6949 Merrill) (.4); revise draft motion to dismiss (.2).

                                   Asset Disposition

         10/13/2021 KBD       0.70 Work on closing documents (638 Avers) (.3); work on motion to dismiss
                                   appeal and exchange various related correspondence (7600 Kingston; 7656
                                   Kingston; 6949 Merrill) (.4).


                                   Asset Disposition
   Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 37 of 164 PageID #:61290
    Kevin B. Duff, Receiver                                                                                Page 3



        Date      Indiv Hours Description


        10/15/2021 KBD        0.30 Attention to closing issues and exchange related correspondence (638 Avers).

                                   Asset Disposition

        10/17/2021 KBD        0.20 Exchange correspondence with J. Rak and A. Porter regarding property sale
                                   accounting reconciliation (all).

                                   Asset Disposition

        10/19/2021 KBD        0.10 Exchange correspondence with claimant's counsel regarding closing and
                                   property manager expenses (638 Avers).

                                   Asset Disposition

        10/28/2021 KBD        0.30 Study inventor-appellant response to motion to dismiss appeal and exchange
                                   related correspondence (7600 Kingston, 7656 Kingston, 6949 Merrill).

                                   Asset Disposition


SUBTOTAL:                                                                                   [ 8.60          3354.00]

Business Operations

        10/1/2021 KBD         0.10 Attention to property expense issue (638 Avers).

                                   Business Operations

        10/4/2021 KBD         0.20 Attention to dismissal of state court action (3074 Cheltenham) (.1); attention
                                   to resolution of water meter issue (638 Avers) (.1).

                                   Business Operations

        10/8/2021 KBD         0.30 Study and revise settlement release and exchange related correspondence
                                   with J. Wine (7110 Cornell).

                                   Business Operations

        10/12/2021 KBD        0.20 Attention to potential repair and exchange related correspondence with asset
                                   manager (7109 Calumet).

                                   Business Operations

        10/13/2021 KBD        0.20 Exchange correspondence with asset manager and property manager
                                   regarding property improvement expense to maintain CHA status (7109
                                   Calumet).

                                   Business Operations
   Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 38 of 164 PageID #:61291
    Kevin B. Duff, Receiver                                                                                Page 4



         Date     Indiv Hours Description

         10/14/2021 KBD       0.10 Attention to communication with insurer regarding settlement (7110 Cornell).

                                   Business Operations

         10/15/2021 KBD       0.30 Attention to communication with J. Wine and insurance adjuster regarding
                                   settlement (7110 Cornell) (.2); exchange correspondence regarding
                                   termination of insurance (1102 Bingham) (.1).

                                   Business Operations

         10/18/2021 KBD       0.10 Exchange correspondence regarding trial in state court action (7748
                                   Essex).

                                   Business Operations

         10/21/2021 KBD       0.30 Study motion to intervene and exchange related correspondence (defer).

                                   Business Operations

         10/25/2021 KBD       0.30 Confer with J. Wine regarding motion to intervene (defer) (.1); confer with J.
                                   Wine and E. Duff regarding state court matter (6160 MLK) (.2).

                                   Business Operations

         10/26/2021 KBD       1.00 Telephone conference with SEC (defer) (.1); telephone conferences with A.
                                   Porter and M. Rachlis regarding motion to intervene (defer) (.8); further confer
                                   with A. Porter regarding motion to intervene and communication with
                                   intervenor's counsel (defer) (.1).

                                   Business Operations

         10/29/2021 KBD       0.20 Exchange correspondence with property manager regarding utility
                                   invoices (6217 Dorchester) (.1); exchange correspondence regarding
                                   property expense issue (8517 S Vernon; 9610 S Woodlawn) (.1).

                                   Business Operations

         10/31/2021 KBD       0.10 Exchange correspondence with A. Porter regarding draft order on motion to
                                   intervene (defer).

                                   Business Operations


SUBTOTAL:                                                                                   [ 3.40          1326.00]

Claims Administration & Objections

         10/1/2021 KBD        1.20 Confer with M. Rachlis and J. Wine regarding claims analysis and discovery
                                   issues (Group 1) (.2); exchange correspondence with J. Wine regarding title
                                   company subpoena (all) (.1); further confer with K. J. Wine regarding claims
                                   (Group 1) (.2); confer with SEC (Group 1) (.5); draft correspondence to J.
                                   Wine regarding sole lien process procedures (sole lien)(.2).

                                   Claims Administration & Objections
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 39 of 164 PageID #:61292
Kevin B. Duff, Receiver                                                                              Page 5



    Date      Indiv Hours Description


    10/4/2021 KBD         0.90 Attention to motion to compel and related communications (Group 1) (.1);
                               exchange correspondence with A. Watychowicz and J. Wine regarding
                               communications with claimants (all) (.2); confer with A. Porter and J. Wine
                               regarding depositions (Group 1) (.3); legal research regarding claims
                               issues (Group 1) (.3).

                               Claims Administration & Objections

    10/5/2021 KBD         0.70 Confer with J. Wine regarding claims discovery issues (Group 1) (.6);
                               exchange correspondence with A. Watychowicz regarding communication
                               with claimants (all) (.1).

                               Claims Administration & Objections

    10/6/2021 KBD         1.00 Confer with A. Porter and J. Wine regarding discovery for claims process
                               (Group 1) (.5); exchange correspondence with J. Wine and A. Watychowicz
                               regarding claimants' communications (all) (.1); email exchange with J.
                               Wine and A. Watychowicz regarding supplemental discovery and
                               communications with claimants (Group 1) (.1); study claimant discovery
                               responses (Group 1) (.3).

                               Claims Administration & Objections

    10/7/2021 KBD         0.30 Exchange correspondence with J. Wine regarding claimant document
                               production issues (Group 1) (.2); exchange correspondence regarding
                               communication with claimants (all) (.1).

                               Claims Administration & Objections

    10/8/2021 KBD         0.60 Exchange correspondence with J. Wine regarding claimant production
                               (Group 1) (.1); confer with J. Wine, A. Porter, and M. Rachlis regarding
                               depositions (Group 1) (.2); study subpoena and exchange related
                               correspondence (Group 1) (.3).

                               Claims Administration & Objections

    10/11/2021 KBD        0.10 Attention to correspondence regarding claims vendor invoices (all).

                               Claims Administration & Objections

    10/12/2021 KBD        1.20 Attention to communications with claimants related to protective order (Group
                               1) (.1); review correspondence from and related correspondence from A.
                               Watychowicz (all) (.5); attention to voice message from claimant and
                               response to same (defer) (.2); study revised joint motion to establish
                               separate process for single claim properties (sole lien) (.3); exchange
                               correspondence with J. Wine regarding draft subpoenas (Group 1) (.1).

                               Claims Administration & Objections
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 40 of 164 PageID #:61293
Kevin B. Duff, Receiver                                                                                 Page 6



    Date      Indiv Hours Description

    10/13/2021 KBD        0.50 Work on communication with claimant regarding claim issue (all) (.1);
                               attention to claimant inquiries regarding claims process and exchange
                               related correspondence (all) (.2); work on discovery issue (Group 1) (.1);
                               work on single claim process issue and communication (sole lien) (.1).

                               Claims Administration & Objections

    10/14/2021 KBD        0.30 Attention to claimant communications (all).

                               Claims Administration & Objections

    10/15/2021 KBD        0.30 Exchange various correspondence regarding communications with
                               claimants relating to claims process and discovery issues (all) (.2); attention
                               tocorrespondence regarding deposition planning (Group 1) (.1).

                               Claims Administration & Objections

    10/18/2021 KBD        1.10 Confer with J. Wine and M. Rachlis regarding claims work, potential avenues
                               for claims resolution, and discovery issues (Group 1) (.8); review
                               correspondence from A. Watychowicz regarding depositions (Group 1) (.1);
                               study correspondence from J. Wine regarding rollover issue (all) (.1);
                               exchange correspondence regarding communication with claimant (all) (.1).

                               Claims Administration & Objections

    10/19/2021 KBD        0.30 Attention to claimant communication and review related correspondence
                               from A. Watychowicz (Group 1) (.1); exchange correspondence with J.
                               Wine regarding deposition (Group 1) (.1); exchange correspondence with J.
                               Wine regarding single claim process (sole lien) (.1).

                               Claims Administration & Objections

    10/20/2021 KBD        0.30 Telephone conference with J. Wine regarding discovery planning and
                               approach to depositions and communication with claimant (Group 1) (.2);
                               study correspondence from J. Wine regarding claims analysis (7024
                               Paxton) (.1).

                               Claims Administration & Objections

    10/21/2021 KBD        0.40 Exchange correspondence regarding EB records vendor invoices (all) (.2);
                               attention to communication with claimants regarding claims issue (all)
                               (.2).

                               Claims Administration & Objections

    10/22/2021 KBD        0.30 Review correspondence regarding rollover issues (all) (.1); attention to
                               communication with claimants (all) (.2).

                               Claims Administration & Objections
   Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 41 of 164 PageID #:61294
    Kevin B. Duff, Receiver                                                                               Page 7



        Date      Indiv Hours Description

        10/23/2021 KBD        0.10 Exchange correspondence with A. Porter regarding depositions (Group 1).

                                   Claims Administration & Objections

        10/25/2021 KBD        0.20 Confer with J. Wine regarding deposition (Group 1) (.1); attention to property
                                   issue (7749 Yates) (.1).

                                   Claims Administration & Objections

        10/26/2021 KBD        0.90 Exchange correspondence and telephone conference with J. Wine and M.
                                   Rachlis regarding investor claimant depositions and hearing before Judge
                                   Kim (Group 1) (.6); telephone conference with SEC (defer) (.2); attention to
                                   claimantscommunications and relationship with EquityBuild (all) (.1).

                                   Claims Administration & Objections

        10/27/2021 KBD        1.50 Prepare for and attend hearing before Judge Kim on motion to compel
                                   (Group 1) (.5); confer with J. Wine regarding hearing before Judge Kim and
                                   claimants’ depositions (Group 1) (.7); exchange correspondence regarding
                                   depositions and noticing party (Group 1) (.2); attention to claimant
                                   communications (.1).

                                   Claims Administration & Objections

        10/28/2021 KBD        4.30 Work on sole lien process and exchange various related correspondence
                                   (sole lien) (3.5); telephone conference with SEC (sole lien) (.2); telephone
                                   conference with A. Watychowicz regarding record relating to single claim
                                   process (sole lien) (.2); communicate with A. Watychowicz regarding
                                   response to claimant (defer) (.1); confer with A. Watychowicz regarding
                                   claims process and related issues (sole lien) (.1); telephone conference with
                                   J. Wine regarding depositions (Group 1) (.2).

                                   Claims Administration & Objections

        10/29/2021 KBD        2.30 Work on sole lien process joint motion and exhibit describing proposed
                                   process, and exchange various related correspondence (sole lien) (2.1);
                                   telephone conference with SEC (sole lien) (.2).

                                   Claims Administration & Objections


SUBTOTAL:                                                                                  [ 18.80         7332.00]

Status Reports

        10/13/2021 KBD        0.20 Study correspondence and list for status report preparation (.1). exchange
                                   correspondence with J. Wine regarding preparation of status report (.1).

                                   Status Reports

        10/21/2021 KBD        0.10 Study correspondence from J. Wine regarding status update (all).

                                   Status Reports
   Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 42 of 164 PageID #:61295
    Kevin B. Duff, Receiver                                                                            Page 8



         Date     Indiv Hours Description


         10/24/2021 KBD       0.40 Study and revise status report.

                                   Status Reports

         10/25/2021 KBD       0.30 Study and revise status report (.2); confer and exchange correspondence with
                                   J. Wine regarding status report (.1).

                                   Status Reports

         10/28/2021 KBD       0.20 Review and exchange correspondence regarding state court action.

                                   Status Reports


SUBTOTAL:                                                                                 [ 1.20          468.00]

Tax Issues

         10/13/2021 KBD       0.10 Exchange correspondence with tax administrator regarding 2020 tax returns.

                                   Tax Issues

         10/25/2021 KBD       0.10 Review correspondence regarding IRS notice and communication.

                                   Tax Issues

         10/27/2021 KBD       0.20 Review and exchange correspondence regarding IRS notices.

                                   Tax Issues

         10/28/2021 KBD       1.00 Exchange correspondence with and telephone conference with tax
                                   professionals regarding potential tax issue (sole lien).

                                   Tax Issues


SUBTOTAL:                                                                                 [ 1.40         546.00]




                                                                                          33.40       $13,026.00



                                                Summary of Activity
                                                                                  Hours       Rate
Kevin B. Duff                                                                     33.40     390.00    $13,026.00
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 43 of 164 PageID #:61296
Kevin B. Duff, Receiver                                                      Page 9




                                   SUMMARY


              Legal Services                                  $13,026.00
              Other Charges                                        $0.00

                 TOTAL DUE                                    $13,026.00
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 44 of 164 PageID #:61297
                                Rachlis Duff & Peel, LLC
                                      542 South Dearborn Street
                                                                                          tel (312) 733-3950
                                              Suite 900                                   fax (312) 733-3952
                                       Chicago, Illinois 60605




January 28, 2022

Kevin B. Duff, Receiver
c/o Rachlis Duff & Peel, LLC
542 S. Dearborn Street, Suite 900
Chicago, IL 60605




 Re: SEC v. EquityBuild Inc., EquityBuild Finance, LLC, Jerome H.                      Fed. I.D. No. XX-XXXXXXX
     Cohen, and Shaun D. Cohen                                                         Invoice No. 6621140
     No. 18-cv-5587, US Dist. Ct., Northern Dist. of Illinois, Eastern Div.


Legal Fees for the period November 2021                                  $13,416.00

 Expenses Disbursed                                                           $0.00


Due this Invoice                                                          $13,416.00
   Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 45 of 164 PageID #:61298
    Kevin B. Duff, Receiver                                                                               Page 2




         Date         Indiv Hours Description

Asset Analysis & Recovery

         11/17/2021 KBD       0.10 Exchange correspondence with J. Wine regarding potential asset.

                                   Asset Analysis & Recovery


SUBTOTAL:                                                                                  [ 0.10             39.00]

Asset Disposition

         11/16/2021 KBD       0.40 Exchange correspondence with J. Wine regarding lender's termination of sale
                                   contract and need to re-sell property (7109 Calumet) (.1); telephone
                                   conference with real estate broker regarding need to re-sell property (7109
                                   Calumet) (.2); telephone conference with A. Porter regarding lender's
                                   termination of contract and need to re-sell property (7109 Calumet) (.1).

                                   Asset Disposition

         11/17/2021 KBD       0.20 Exchange correspondence with lender's counsel regarding termination of sale
                                   contract, sale process, and appraisal (7109 Calumet) (.1); confer with A.
                                   Porter regarding process for sale of property and draft correspondence
                                   regarding publication of notice (7109 Calumet) (.1).

                                   Asset Disposition

         11/18/2021 KBD       0.80 Confer with real estate broker, A. Porter, and J. Rak regarding planning for
                                   marketing and sale of property (7109 Calumet) (.5); exchange
                                   correspondence with real estate broker regarding list price analysis and
                                   recommendation (7109 Calumet) (.1); exchange various additional
                                   correspondence relating to marketing and sale effort (7109 Calumet) (.2).

                                   Asset Disposition

         11/23/2021 KBD       0.20 Exchange correspondence regarding intervenor planned motion to request
                                   final order (7600 Kingston; 7656 Kingston; 6949 Merrill).

                                   Asset Disposition

         11/24/2021 KBD       0.30 Study intervenor motion for a final order and exchange related
                                   correspondence (7600 Kingston; 7656 Kingston; 6949 Merrill).

                                   Asset Disposition


SUBTOTAL:                                                                                  [ 1.90            741.00]

Business Operations

         11/1/2021 KBD        1.00 Study proposed draft stipulation on motion to intervene and exchange related
                                   correspondence (defer) (.5); telephone conference with SEC (defer) (.1);
                                   attention to notice from collection firm regarding unpaid gas bill and
                                   exchange related correspondence with K. Pritchard (4611 Drexel) (.2);
                                   attention to funds from insurance carrier for settlement of personal injury
                                   claim (7110 Cornell) (.2).

                                   Business Operations
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 46 of 164 PageID #:61299
Kevin B. Duff, Receiver                                                                                Page 3



    Date        Indiv Hours Description

    11/3/2021 KBD         0.30 Exchange correspondence with K. Pritchard regarding communication with
                               property manager relating to unpaid gas bill (4611 Drexel) (.1); exchange
                               correspondence with A. Porter regarding motion to intervene, proposed
                               stipulation, and communications with intervenor's counsel (defer) (.1); review
                               and exchange correspondence with J. Wine regarding notice of violation
                               (7834 Ellis) (.1).

                               Business Operations

    11/5/2021 KBD         0.60 Exchange correspondence with K. Pritchard regarding insurance premium
                               refunds (all) (.2); exchange correspondence with M. Rachlis and J. Wine
                               regarding personal injury lawsuit relating to property claim (2450 E 78th) (.4).

                               Business Operations

    11/8/2021 KBD         1.70 Study, revise, and exchange various related correspondence regarding
                               intervenors' motion and joint stipulation in order (defer).

                               Business Operations

    11/10/2021 KBD        0.10 Exchange correspondence with K. Pritchard regarding insurance premium
                               refunds.

                               Business Operations

    11/11/2021 KBD        0.20 Work on issue regarding collection notice and exchange and revise related
                               correspondence (4611 Drexel).

                               Business Operations

    11/15/2021 KBD        0.30 Draft correspondence to J. Wine regarding state court action (4533 Calumet)
                               (.2); review proposed stipulation relating to intervening motion (defer) (.1).


                               Business Operations

    11/16/2021 KBD        0.40 Confer with and draft correspondence to J. Wine regarding state court
                               complaint and review same (4533 Calumet).

                               Business Operations

    11/18/2021 KBD        0.60 Exchange correspondence with J. Wine regarding state court action (4533
                               Calumet) (.4); draft correspondence to J. Wine and K. Pritchard regarding
                               restoration motion (6160 MLK; 7201 Constance; 7051 Bennett; 7834 Ellis;
                               7749 Yates; 8201 Kingston; 5001 Drexel; 2909 E 78th; 7210 Vernon; 7109
                               Calumet; 6825 Indiana; 6554 Rhodes; 1414 E 62nd) (.2).

                               Business Operations
   Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 47 of 164 PageID #:61300
    Kevin B. Duff, Receiver                                                                             Page 4



         Date     Indiv Hours Description

         11/19/2021 KBD       0.20 Exchange correspondence with J. Wine regarding procedural options for
                                   state court action (4533 Calumet) (.1); exchange correspondence with
                                   property manager regarding property expenses and final accounting (638
                                   Avers) (.1).

                                   Business Operations

         11/21/2021 KBD       0.70 Exchange correspondence with A. Porter and M. Rachlis regarding motion to
                                   intervene, proposed stipulation, and objections to motion and study and
                                   revise draft opposition to motion (defer).

                                   Business Operations

         11/22/2021 KBD       0.80 Draft correspondence to K. Pritchard and J. Rak and property manager
                                   regarding property expenses (638 Avers) (.1); exchange correspondence
                                   regarding opposition to motion to intervene and review and revise same
                                   (defer) (.7).

                                   Business Operations

         11/23/2021 KBD       0.60 Telephone conference with SEC (defer) (.2); exchange correspondence
                                   with M. Rachlis and A. Porter regarding intervenors' motion and attempts
                                   to resolve objections (defer) (.2); exchange correspondence with J. Wine
                                   and K. Pritchard regarding payment of settlement (7110 Cornell) (.1);
                                   study correspondence from J. Wine regarding communication with
                                   insurance broker (4533 Calumet) (.1).

                                   Business Operations

         11/24/2021 KBD       0.30 Exchange correspondence with M. Rachlis and J. Wine regarding intervenors'
                                   motion and study revisions to draft stipulation (defer).

                                   Business Operations

         11/29/2021 KBD       0.10 Attention to settlement payment (7110 Cornell).

                                   Business Operations

         11/30/2021 KBD       0.10 Exchange correspondence regarding utility bill (1401 W 109th).

                                   Business Operations


SUBTOTAL:                                                                                [ 8.00          3120.00]

Claims Administration & Objections

         11/1/2021 KBD        2.00 Exchange correspondence regarding communication with claimant regarding
                                   claims process timing and representation by counsel (all) (.2); attention to
                                   communication from claimants regarding claims (all) (.1); exchange
                                   correspondence with J. Wine regarding communication with Group 1
                                   claimants (Group 1) (.2); study claimant motion to disclose expert, study
                                   related case law, and exchange various related correspondence (Group 1)
                                   (1.5).

                                   Claims Administration & Objections
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 48 of 164 PageID #:61301
Kevin B. Duff, Receiver                                                                                  Page 5



    Date      Indiv Hours Description


    11/2/2021 KBD         1.20 Attention to communication with various claimants and exchange related
                               correspondence with A. Watychowicz (all) (.5); attention to correspondence
                               with Court regarding potential for settlement discussions and exchange
                               related correspondence (Group 1) (.3); telephone conference with SEC
                               (Group 1) (.3); confer with J. Wine regarding Court order on expert
                               disclosure (Group 1) (.1).

                               Claims Administration & Objections

    11/3/2021 KBD         0.30 Telephone conferences with J. Wine and attention to correspondence
                               regarding depositions (Group 1).

                               Claims Administration & Objections

    11/4/2021 KBD         1.00 Confer with team regarding deposition testimony of title company
                               representative and related issues and analysis (Group 1) (.8); attention to
                               communication from claimant (all) (.1); exchange correspondence
                               regarding deposition transcripts (Group 1) (.1).

                               Claims Administration & Objections

    11/5/2021 KBD         0.70 Work on correspondence with various claimants regarding claims and claims
                               process (all) (.5); exchange correspondence with J. Wine regarding
                               potential set-off issue (all) (.2).

                               Claims Administration & Objections

    11/7/2021 KBD 0.50 Study and revise motion to modify claims process schedule (Group 1) (.3);
                          draft correspondence regarding motion to modify claims process schedule
                          (Group 1) (.2).

                               Claims Administration & Objections

    11/8/2021 KBD         2.50 Study numerous revisions to, and telephone conferences and exchange
                               various correspondence regarding claims process schedule (Group 1) (2.0);
                               work on communications with claimants regarding claims, claims process,
                               and potential distribution (all) (.4); attention to deposition transcripts (Group
                               1) (.1).

                               Claims Administration & Objections

    11/9/2021 KBD         0.20 Exchange correspondence with M. Rachlis and J. Wine regarding claims
                               process scheduling order and communications with participants (Group 1).

                               Claims Administration & Objections

    11/10/2021 KBD        0.70 Confer with M. Rachlis regarding schedule, expert discovery, disclosures, and
                               upcoming hearing (Group 1) (.4); attention to review of claim and related
                               communication (all) (.3).

                               Claims Administration & Objections
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 49 of 164 PageID #:61302
Kevin B. Duff, Receiver                                                                                Page 6



    Date      Indiv Hours Description


    11/11/2021 KBD        1.50 Telephone conferences and exchange correspondence regarding claims
                               schedule (Group 1) (.7); telephone conference with SEC (Group 1) (.2);
                               attention to further communications with J. Wine regarding Group 1 schedule
                               (Group 1) (.1); study records regarding investor buyout history (all) (.5).

                               Claims Administration & Objections

    11/12/2021 KBD        0.40 Telephone conference with SEC (Group 1) (.3); exchange correspondence
                               with A.Watychowicz regarding communication with claimant related to
                               representation issue (all) (.1).

                               Claims Administration & Objections

    11/14/2021 KBD        1.00 Study and revise draft disclosure and draft related correspondence to
                               J. Wine and M. Rachlis (Group 1).

                               Claims Administration & Objections

    11/15/2021 KBD        2.50 Confer with M. Rachlis, A. Porter, and J. Wine regarding analysis of potential
                               avoidance disclosures (Group 1) (1.3); exchange with A. Watychowicz
                               regarding email from IRA custodian (defer) (.1); confer with A. Watychowicz
                               regarding communication with claimants (Group 1) (.2); exchange
                               correspondence with A. Watychowicz regarding communication with
                               claimant regarding claim information (all) (.1); exchange correspondence with
                               J. Wine and K. Pritchard regarding claimant and claim (Group 1) (.2); study
                               revisions to draft disclosure and exchange related correspondence with M.
                               Rachlis and J. Wine (Group 1) (.6).

                               Claims Administration & Objections

    11/16/2021 KBD        1.50 Telephone conference with SEC (Group 1) (.4); telephone conference with
                               SEC (sole lien) (.1); attention to communication with claimants (all) (.3);
                               telephone conference with J. Wine and M. Rachlis regarding preparation for
                               hearing (sole lien) (.2); telephone conference with J. Wine and M. Rachlis
                               regarding draft disclosure (Group 1) (.2); study correspondence from
                               K. Pritchard regarding claimant information (Group 1) (.2); draft
                               correspondence regarding potential issue impacting claims analysis and
                               distribution (all) (.1).

                               Claims Administration & Objections

    11/17/2021 KBD        2.10 Prepare for hearing before Judge Lee (sole lien) (.3); confer with M. Rachlis
                               and J. Wine regarding sole lien process and hearing before Judge lien (sole
                               lien) (1.2); attention to expert discovery (Group 1) (.1); attention to
                               communication with claimant regarding hearing, schedule, and
                               communications (all) (.2); study revised disclosure and exchange related
                               correspondence with J. Wine (Group 1) (.3).

                               Claims Administration & Objections
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 50 of 164 PageID #:61303
Kevin B. Duff, Receiver                                                                                  Page 7



    Date      Indiv Hours Description


    11/18/2021 KBD        2.30 Confer with M. Rachlis regarding hearing before Judge Lee and sole lien
                               process (sole lien) (.1); appear before Judge Lee regarding sole lien process
                               (sole lien) (1.0); confer with M. Rachlis regarding hearing and process (sole
                               lien) (.1); further telephone conference with M. Rachlis and J. Wine regarding
                               hearing and process (Group 1) (.5); work on communication with claimant
                               (all) (.1); work on disclosure and related correspondence (Group 1) (.3);
                               review draft position statement template and exchange correspondence with
                               J. Wine regarding revisions (.2).

                               Claims Administration & Objections

    11/19/2021 KBD        0.40 Exchange correspondence with J. Wine regarding proposed order on claims
                               process (Group 1) (.2); exchange correspondence with claimant's counsel
                               regarding third party subpoenas (sole lien) (.1); exchange correspondence
                               with A. Watychowicz regarding order and discovery schedule (sole line) (.1).

                               Claims Administration & Objections

    11/21/2021 KBD        0.50 Study client history and analysis of investments and draft related
                               correspondence to J. Wine (all).

                               Claims Administration & Objections

    11/23/2021 KBD        0.50 Telephone conference with SEC (Group 1) (.1); exchange correspondence
                               with A. Porter and J. Wine regarding expert discovery (Group 1) (.1);
                               attention to communication with claimant (all) (.1); study draft riders to third
                               party subpoena andrelated correspondence (sole lien) (.2).

                               Claims Administration & Objections

    11/24/2021 KBD        0.20 Study revisions to third party subpoenas and exchange related
                               correspondence (sole lien).

                               Claims Administration & Objections

    11/27/2021 KBD        0.20 Draft correspondence to J. Wine regarding records from EB documents
                               database (all).

                               Claims Administration & Objections

    11/29/2021 KBD        0.40 Confer with J. Wine regarding single claim process (sole lien) (.2); confer with
                               J. Wine and M. Rachlis regarding revisions to subpoenas (sole lien) (.2).

                               Claims Administration & Objections

    11/30/2021 KBD        0.90 Telephone conference with A. Porter and J. Wine regarding subpoenas to
                               loan originators and title companies (sole lien) (.6); further communicate with
                               M. Rachlis and J. Wine regarding subpoenas (sole lien) (.2); exchange
                               correspondence with A. Watychowicz regarding communication from claimant
                               and request for records (all) (.1).

                               Claims Administration & Objections
   Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 51 of 164 PageID #:61304
    Kevin B. Duff, Receiver                                                                             Page 8



        Date      Indiv Hours Description



SUBTOTAL:                                                                                [ 23.50         9165.00]


Status Reports

        11/1/2021 KBD         0.20 Exchange correspondence regarding preparation and filing of status report.

                                   Status Reports


SUBTOTAL:                                                                                [ 0.20              78.00]

Tax Issues

        11/1/2021 KBD         0.10 Exchange correspondence regarding tax notices.

                                   Tax Issues

        11/8/2021 KBD         0.20 Draft correspondence to J. Wine and accounting firm representative
                                   regarding tax notices.

                                   Tax Issues

        11/12/2021 KBD        0.20 Exchange correspondence with K. Pritchard regarding tax authority collection
                                   notices.

                                   Tax Issues

        11/16/2021 KBD        0.10 Exchange correspondence with K. Pritchard regarding collection notices.

                                   Tax Issues

        11/30/2021 KBD        0.10 Exchange correspondence with K. Pritchard regarding collection notices from
                                   tax authority.

                                   Tax Issues


SUBTOTAL:                                                                                [ 0.70           273.00]
   Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 52 of 164 PageID #:61305
    Kevin B. Duff, Receiver                                                       Page 9



                                                                       Hours
                                                                       34.40     $13,416.00



                                    Summary of Activity
                                                               Hours      Rate
Kevin B. Duff                                                  34.40    390.00   $13,416.00
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 53 of 164 PageID #:61306
Kevin B. Duff, Receiver                                                      Page 10




                                   SUMMARY


              Legal Services                                  $13,416.00
              Other Charges                                        $0.00

                 TOTAL DUE                                    $13,416.00
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 54 of 164 PageID #:61307
                                Rachlis Duff & Peel, LLC
                                      542 South Dearborn Street
                                                                                             tel (312) 733-3950
                                              Suite 900                                      fax (312) 733-3952
                                       Chicago, Illinois 60605




January 28, 2022

Kevin B. Duff, Receiver
c/o Rachlis Duff & Peel, LLC
542 S. Dearborn Street, Suite 900
Chicago, IL 60605




 Re: SEC v. EquityBuild Inc., EquityBuild Finance, LLC, Jerome H.                         Fed. I.D. No. XX-XXXXXXX
     Cohen, and Shaun D. Cohen                                                            Invoice No. 6621141
     No. 18-cv-5587, US Dist. Ct., Northern Dist. of Illinois, Eastern Div.


Legal Fees for the period December 2021                                       $7,605.00

 Expenses Disbursed                                                              $0.00


Due this Invoice                                                              $7,605.00
   Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 55 of 164 PageID #:61308
    Kevin B. Duff, Receiver                                                                              Page 2




         Date       Indiv Hours Description

Asset Analysis & Recovery

         12/6/2021 KBD        0.10 Exchange correspondence regarding bank account and related
                                   analysis (4533 Calumet).

                                   Asset Analysis & Recovery

         12/8/2021 KBD        0.10 Exchange correspondence with K. Pritchard and J. Wine regarding subpoena
                                   to third party (defer).

                                   Asset Analysis & Recovery

         12/9/2021 KBD        0.10 Exchange correspondence with J. Wine regarding subpoena (defer).


                                   Asset Analysis & Recovery

         12/14/2021 KBD       0.60 Confer with K. Pritchard regarding issue relating to bank accounts (defer)
                                   (.1); telephone conference with government representatives and J. Wine
                                   (defer) (.5).


                                   Asset Analysis & Recovery

         12/15/2021 KBD       0.10 Exchange correspondence with K. Pritchard regarding transfer of funds to
                                   Receivership account (defer).

                                   Asset Analysis & Recovery


SUBTOTAL:                                                                                 [ 1.00           390.00]

Asset Disposition

         12/6/2021 KBD        0.40 Study offering memorandum (7109 Calumet) (.2); exchange correspondence
                                   with claimant's counsel, K. Pritchard, and J. Wine regarding
                                   post-sale fund balances for properties (1516 E 85th; 2136 W 83rd; 7922
                                   Luella; 7933 Kingston; 8030 Marquette; 8104 Kingston; 8529 Rhodes; 11318
                                   Church; 1017 W 102nd; 417 Oglesby; 7925 Kingston; 8403 Aberdeen; 8405
                                   Marquette; 8800 Ada; 9212 Parnell; 10012 LaSalle; 3723 W 68th; 406 E
                                   87th; 61 E 92nd; 7712 Euclid; 7953 Woodlawn; 8107 Kingston; 8432 Essex;
                                   8517 Vernon; 3213 Throop; 6554 Rhodes; 6825 Indiana; 8346 Constance;
                                   7210 Vernon; 6759 Indiana; 2129 W 71st; 5437 Laflin; 8209 Ellis; 8107 Ellis;
                                   7300 St Lawrence; 7760 Coles; 8000 Justine; 8214 Ingleside; 9610
                                   Woodlawn; 1401 W 109th; 310 E 50th; 6807 Indiana) (.2).

                                   Asset Disposition
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 56 of 164 PageID #:61309
Kevin B. Duff, Receiver                                                                                 Page 3



    Date      Indiv Hours Description

    12/7/2021 KBD         0.20 Exchange correspondence with J. Wine and J. Rak regarding analysis of
                               property account funds (single family).

                               Asset Disposition

    12/10/2021 KBD        1.20 Confer with J. Wine, J. Rak, A. Porter regarding single family home portfolio
                               closing cost allocation and study various related communications and
                               valuation allocation spreadsheets (single family).

                               Asset Disposition

    12/11/2021 KBD        0.60 Study draft response to intervenor motion for Rule 54(b) ruling (6949 Merrill;
                               7600 Kingston; 7656 Kingston).

                               Asset Disposition

    12/13/2021 KBD        0.30 Exchange correspondence with M. Rachlis regarding intervenor motion for
                               Rule 54(b) ruling and study changes to draft response (6949 Merrill; 7600
                               Kingston; 7656 Kingston).

                               Asset Disposition

    12/17/2021 KBD        0.70 Study offers to purchase property (7109 Calumet) (.2); confer with real estate
                               broker and A. Porter regarding offers to purchase property and strategy for
                               responding to same (7109 Calumet) (.5).

                               Asset Disposition

    12/18/2021 KBD        0.20 Study summary of offers to purchase property (7109 Calumet).

                               Asset Disposition

    12/20/2021 KBD        1.00 Confer and exchange correspondence with real estate broker, M. Rachlis,
                               and A. Porter regarding offers from potential purchasers and related strategy
                               (7109 Calumet) (.3); exchange correspondence with real estate broker
                               regarding offers to purchase property (7109 Calumet) (.3); work on notice to
                               institutional lender of highest bid (7109 Calumet) (.2); review draft opposition
                               to motion and exchange related correspondence (6949 Merrill; 7600
                               Kingston; 7656 Kingston) (.2).

                               Asset Disposition

    12/22/2021 KBD        0.20 Review correspondence from lender's counsel regarding declination of
                               opportunity to credit bid, exchange related correspondence, and attention to
                               motion to approve sale (7109 Calumet).

                               Asset Disposition

    12/23/2021 KBD        0.30 Attention to execution of sale agreement, preparation of motion to approve
                               sale, and exchange of various related correspondence (7109 Calumet).

                               Asset Disposition

    12/28/2021 KBD        0.30 Exchange correspondence with J. Wine regarding sale of property and
                               motion to approve (7109 Calumet) (.1); review draft motion to confirm sale of
                               property (7109 Calumet) (.2).

                               Asset Disposition
   Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 57 of 164 PageID #:61310
    Kevin B. Duff, Receiver                                                                                Page 4



        Date      Indiv Hours Description


        12/29/2021 KBD        0.80 Work on motion to approve sale of property and exchange various related
                                   correspondence (7109 Calumet) (.5); draft correspondence to and telephone
                                   conference with A. Watychowicz regarding draft motion to approve sale and
                                   exhibits (7109 Calumet) (.3).

                                   Asset Disposition

        12/30/2021 KBD        2.70 Draft, revise, and study further revisions on motion to approve sale of
                                   property and exchange various related correspondence (7109 Calumet) (2.5);
                                   study correspondence from institutional lender's bank, exchange related
                                   correspondence with M. Rachlis, and draft correspondence to lender's bank
                                   regarding lender's termination of agreement to purchase property (7109
                                   Calumet) (.2).

                                   Asset Disposition

        12/31/2021 KBD        0.10 Attention to communications with institutional lender's bank regarding lender's
                                   termination of agreement to purchase property (7109 Calumet).

                                   Asset Disposition


SUBTOTAL:                                                                                  [ 9.00          3510.00]

Business Operations

        12/3/2021 KBD         0.10 Exchange correspondence regarding notice to collections firm (defer).

                                   Business Operations

        12/22/2021 KBD        0.20 Study and exchange correspondence related to trial in state court action
                                   (7748 Essex).

                                   Business Operations

        12/28/2021 KBD        0.60 Exchange correspondence regarding insurance premiums and allocation
                                   issues (all) (.2); exchange correspondence regarding preparation of motion
                                   for restoration of funds (all) (.4).

                                   Business Operations

        12/29/2021 KBD        0.10 Attention to communication regarding state court action (4533 Calumet).


                                   Business Operations

        12/30/2021 KBD        0.20 Study correspondence regarding insurance premium issues (all).

                                   Business Operations


SUBTOTAL:                                                                                  [ 1.20             468.00]
   Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 58 of 164 PageID #:61311
    Kevin B. Duff, Receiver                                                                             Page 5



         Date     Indiv Hours Description

Case Administration

         12/7/2021 KBD        0.30 Telephone conference with bank representative regarding account
                                   issue.

                                   Case Administration

         12/9/2021 KBD        0.40 Confer with J. Rak regarding account statement review and reconciliation.

                                   Case Administration


SUBTOTAL:                                                                                 [ 0.70           273.00]

Claims Administration & Objections

         12/1/2021 KBD        0.60 Exchange correspondence with J. Wine and A. Watychowicz regarding
                                   communication with claimant regarding claims process issues (all) (.2);
                                   attention to and draft correspondence to claimant's counsel regarding
                                   claims process and hearing before Judge Lee (sole lien) (.1); study hearing
                                   transcript and exchange correspondence with J. Wine regarding claims
                                   process (sole lien) (.3).

                                   Claims Administration & Objections

         12/2/2021 KBD        0.60 Exchange correspondence with K. Pritchard regarding communication with
                                   claimant relating to estate issue (all) (.2); exchange correspondence
                                   regarding notice to collections firm (all) (.1); exchange correspondence with
                                   A. Watychowicz regarding communication with claimants regarding discovery
                                   and claims process issues (all) (.1); exchange correspondence with J. Wine
                                   regarding communication with claimants' counsel regarding sole lien process
                                   (sole lien) (.2).

                                   Claims Administration & Objections

         12/3/2021 KBD        0.20 Exchange correspondence regarding communication with claimants (all)
                                   (.1); exchange correspondence with J. Wine regarding communication with
                                   claimants' counsel regarding sole lien process (sole lien) (.1).

                                   Claims Administration & Objections

         12/6/2021 KBD        0.10 Exchange correspondence with A. Watychowicz regarding communication
                                   with claimant relating to claim (all).

                                   Claims Administration & Objections

         12/7/2021 KBD        0.10 Attention to communication with claimant (all).

                                   Claims Administration & Objections

         12/9/2021 KBD        0.60 Study expert report (Group 1) (.5); exchange correspondence with J. Wine
                                   regarding documents for use with Group 1 (Group 1) (.1).

                                   Claims Administration & Objections
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 59 of 164 PageID #:61312
Kevin B. Duff, Receiver                                                                                    Page 6



    Date      Indiv Hours Description


    12/10/2021 KBD        0.60 Study correspondence from J. Wine regarding expert report (Group 1)
                               (.4); attention to third party discovery issue (sole lien) (.1); study claimant
                               answers to discovery requests (sole lien) (.1).

                               Claims Administration & Objections

    12/13/2021 KBD        0.20 Exchange correspondence with A. Watychowicz regarding response to
                               claimant (Group 1) (.1); exchange correspondence with J. Wine regarding
                               analysis of claims against funds (single family) (.1).

                               Claims Administration & Objections

    12/20/2021 KBD        0.70 Confer with A. Porter and M. Rachlis regarding expert deposition (Group 1)
                               (.2); telephone conference with J. Wine regarding expert deposition (Group 1)
                               (.1); confer with A. Porter, J. Wine, and M. Rachlis regarding expert
                               deposition and claims issues (Group 1) (.4).

                               Claims Administration & Objections

    12/22/2021 KBD        0.30 Attention to correspondence regarding communication with claimant's
                               counsel regarding claims documents (4533 Calumet) (.1); exchange
                               correspondence with J. Wine and M. Rachlis regarding document
                               production and privilege issues raised by title company (sole lien) (.2).

                               Claims Administration & Objections

    12/23/2021 KBD        0.90 Attention to communications with claimants (all) (.4); telephone
                               conference with J. Wine regarding EB document review for claims
                               process (all) (.3); exchange correspondence regarding position statement
                               template (Group 1) (.2).

                               Claims Administration & Objections

    12/27/2021 KBD        0.20 Telephone conference and exchange correspondence with J. Wine regarding
                               EB records database and related claims process issues (all).

                               Claims Administration & Objections

    12/28/2021 KBD        0.60 Confer with J. Wine regarding EB database access, claimant's request for
                               extension, and cost issues (all) (.5);telephone conference with SEC (all) (.1).

                               Claims Administration & Objections

    12/29/2021 KBD        0.50 Attention to communications with claimants regarding claims process (all)
                               (.1); attention to extension of database access and related email
                               exchanges (all) (.3); exchange correspondence regarding claimants'
                               inquiry about valuation issue (all) (.1).

                               Claims Administration & Objections
   Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 60 of 164 PageID #:61313
    Kevin B. Duff, Receiver                                                                              Page 7



         Date     Indiv Hours Description

         12/30/2021 KBD       0.40 Attention to communications with claimants regarding claims process and
                                   access to EB documents database (all).

                                   Claims Administration & Objections


SUBTOTAL:                                                                                   [ 6.60         2574.00]

Tax Issues

         12/1/2021 KBD        0.20 Exchange correspondence regarding tax authority issue (all).

                                   Tax Issues

         12/6/2021 KBD        0.20 Exchange correspondence regarding tax authority collection notices and
                                   related correspondence.

                                   Tax Issues

         12/8/2021 KBD        0.60 Exchange correspondence with J. Rak regarding compilation of information
                                   for tax professionals (Group 1; sole lien) (.5); draft correspondence to tax
                                   administrator (.1).

                                   Tax Issues


SUBTOTAL:                                                                                   [ 1.00          390.00]




                                                                                            19.50        $7,605.00



                                                Summary of Activity
                                                                                    Hours       Rate
Kevin B. Duff                                                                       19.50     390.00     $7,605.00
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 61 of 164 PageID #:61314
Kevin B. Duff, Receiver                                                      Page 8




                                   SUMMARY


              Legal Services                                   $7,605.00
              Other Charges                                        $0.00

                 TOTAL DUE                                     $7,605.00
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 62 of 164 PageID #:61315




                Exhibit G
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 63 of 164 PageID #:61316
                                 Rachlis Duff & Peel, LLC
                                      542 South Dearborn Street
                                                                                             tel (312) 733-3950
                                              Suite 900                                      fax (312) 733-3952
                                       Chicago, Illinois 60605




January 25, 2022

Kevin B. Duff, Receiver
c/o Rachlis Duff & Peel, LLC
542 S. Dearborn Street, Suite 900
Chicago, IL 60605




 Re: SEC v. EquityBuild Inc., EquityBuild Finance, LLC, Jerome H.                         Fed. I.D. No. XX-XXXXXXX
     Cohen, and Shaun D. Cohen                                                            Invoice No. 6622139
     No. 18-cv-5587, US Dist. Ct., Northern Dist. of Illinois, Eastern Div.




Legal Fees for the period October 2021                                   $50,709.00

Expenses Disbursed                                                            $1,417.67


Due this Invoice                                                          $52,126.67
   Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 64 of 164 PageID #:61317
    Kevin B. Duff, Receiver                                                                                Page 2




         Date         Indiv Hours Description

Accounting/Auditing

         10/4/2021 KMP        1.90 Prepare schedules of receipts and disbursements for September for
                                   receiver's accounts (all).

                                   Accounting/Auditing


SUBTOTAL:                                                                                   [ 1.90             266.00]

Asset Disposition

         10/1/2021 AEP        1.60 Communications with property manager regarding continued search for
                                   plumbing invoice associated with alleged water shut-off at receivership
                                   property, review invoice, and prepare e-mail to Chicago Water Department
                                   seeking assistance in revising faulty full payment certificate, and prepare
                                   e-mail to buyer's counsel regarding status of closing (638 Avers) (.2); prepare
                                   receiver's deed, FIRPTA, Form 1099-S, and closing figures for conveyance of
                                   receivership property, and numerous communications with title underwriter
                                   regarding local law issues (1102 Bingham) (.1.4).

                                   Asset Disposition

                      AW      0.80 Review docket and pleadings related to dispute with third party and related
                                   email to K. Duff (6949 Merrill; 7600 Kingston; 7656 Kingston).

                                   Asset Disposition

                      JR      1.80 Exchange correspondence with property management regarding post-
                                   closing reconciliation distributions (6554 Vernon; 4315 Michigan; 7600
                                   Kingston; 7656 Kingston; 6250 Mozart; 310 E 50th; 6807 Indiana; 9610
                                   Woodlawn; 7255 Euclid; 7237 S Bennett) (.2); exchange
                                   correspondence with K. Duff and A. Porter relating to execution of
                                   documents in preparation for closing (1102 Bingham) (.3);
                                   communication with City of Chicago water department regarding water
                                   charges and issues associated with same (638 Avers) (.1);
                                   communication with K. Duff requesting confirmation of contract and sale
                                   price for all EquityBuild properties related to allocations, confirm same
                                   and further communicate with K. Duff providing confirmation and
                                   discrepancies (all) (1.2).

                                   Asset Disposition

         10/4/2021 AEP        1.60 Review latest seller documents received from title company in connection
                                   with closing of receivership property, update closing spreadsheet, revise
                                   receiver's deed, modify affidavit of title, communications with J. Rak and title
                                   underwriter regarding remaining closing issues (1102 Bingham) (.8);
                                   additional teleconference with title officer associated with conveyance of
                                   receivership property regarding survey endorsement charges, conflicting
                                   property tax delinquency figures, pre-acquisition charges likely paid, and other
                                   settlement-related issues (1102 Bingham) (.4); teleconferences with City of
                                   Chicago utility billing department regarding issuance of amended full payment
                                   certificate associated with conveyance of receivership property, prepare
                                   e-mail to team regarding outcome, and prepare e-mail to buyer's counsel
                                   regarding resolution and scheduling of closing (638 Avers) (.3); additional
                                   communications with title agent regarding closing of receivership property and
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 65 of 164 PageID #:61318
Kevin B. Duff, Receiver                                                                               Page 3



    Date      Indiv Hours Description

                               prepare e-mail to K. Duff regarding execution of settlement statement with
                               signature addendum (1102 Bingham) (.1).

                               Asset Disposition

    10/4/2021 JR          2.30 Review emails, communication with A. Porter and the title company
                               regarding execution of documents in anticipation of closing, further
                               communication with K. Duff regarding same, execute documents in
                               anticipation for closing (1102 Bingham) (1.6); communication with K.
                               Pritchard requesting confirmation of wire instructions related to sale of
                               property (1102 Bingham) (.1); review settlement statement related to
                               anticipated sale of property, regarding property tax balance and further
                               confirm a discrepancy, exchange communication with A. Porter regarding
                               same (1102 Bingham) (.6).

                               Asset Disposition

                KMP       0.20 Communicate with J. Rak to confirm bank account information for upcoming
                               closing (1102 Bingham).

                               Asset Disposition

    10/5/2021 MR          2.00 Work on draft motion to dismiss appeal related to three properties (6949
                               Merrill; 7600 Kingston; 7656 Kingston).

                               Asset Disposition

    10/6/2021 JR          0.30 Exchange communication with the title company requesting status update on
                               closing of property and further communication with A. Porter requesting
                               status of closing statement related to closing (1102Bingham).

                               Asset Disposition

                KMP       0.20 Review online bank records and communicate with J. Rak to confirm receipt
                               of proceeds from property sale (1102 Bingham).

                               Asset Disposition

                MR        0.20 Attention to draft motion to dismiss appeal (6949 Merrill; 7600
                               Kingston; 7656 Kingston).

                               Asset Disposition

    10/7/2021 AEP         0.30 Review correspondence from closing agent regarding final payoffs, review
                               final settlement statement, and update master property tracking
                               spreadsheet (1102 Bingham) (.1); read and respond to e-mails from M.
                               Rachlis and K. Duff regarding relative merits of moving to dismiss appeal
                               filed in connectionwith judicial order directing release of earnest money to
                               receiver following default by prospective purchaser of receivership
                               properties (7600 Kingston;7656 Kingston; 6949 Merrill) (.2).

                               Asset Disposition
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 66 of 164 PageID #:61319
Kevin B. Duff, Receiver                                                                               Page 4



    Date      Indiv Hours Description

    10/7/2021 JR          1.00 Exchange communication with A. Porter, K. Duff and the title company
                               regarding the closing of property (1102 Bingham)(.9); communication with
                               K. Pritchard, K. Duff and insurance broker regarding confirmation of
                               closing (1102 Bingham) (.1).

                               Asset Disposition

                JRW       1.40 Review and revise draft motion to dismiss appeal and related
                               correspondence with K. Duff and M. Rachlis (6949 Merrill; 7600 Kingston;
                               7656 Kingston) (.7); correspondence with A. Porter, K. Duff and M. Rachlis
                               regarding appeal strategy (6949 Merrill; 7600 Kingston; 7656 Kingston) (.3);
                               legal research relating to appeal issue (6949 Merrill; 7600 Kingston; 7656
                               Kingston) (.4).

                               Asset Disposition

                MR        1.20 Further review and work on draft motion to dismiss appeal and related
                               communications with J. Wine, A. Porter, and K. Duff (6949 Merrill;7600
                               Kingston; 7656 Kingston).

                               Asset Disposition

    10/8/2021 AEP         1.90 Conference call with K. Duff, M. Rachlis, and J. Wine regarding relative
                               merits of moving to dismiss appeal filed in connection with disposition of
                               earnest money associated with receivership properties (7600 Kingston; 7656
                               Kingston; 6949 Merrill) (.8); read and revise draft motion to dismiss appeal
                               from order denying return of earnest money in connection with receivership
                               properties (7600 Kingston; 7656 Kingston; 6949 Merrill) (1.1).

                               Asset Disposition

                JR        0.30 Communication with A. Porter requesting status of various information for
                               anticipated closing (638 Avers) (.1); further communication with A.
                               Watychowicz and S. Zjalic regarding completion of documents for
                               anticipated closing (638 Avers) (.2).

                               Asset Disposition

                JRW       0.60 Conference with A. Porter, K. Duff and M. Rachlis regarding appeal strategy
                               and planning (6949 Merrill; 7600 Kingston; 7656 Kingston).

                               Asset Disposition

                MR        0.80 Conferences regarding appeal issues with J. Wine. A. Porter and K. Duff
                               related to appeal and related review of materials (6949 Merrill; 7600
                               Kingston; 7656 Kingston).

                               Asset Disposition

    10/11/2021 JR         0.30 Communication with A. Watychowicz regarding signed closing document in
                               anticipation for closing (638 Avers) (.1); communication with A. Porter and the
                               title company requesting status update related to water certificate in
                               anticipation for closing (638 Avers) (.2).
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 67 of 164 PageID #:61320
Kevin B. Duff, Receiver                                                                                Page 5



    Date      Indiv   Hours Description


                               Asset Disposition

    10/11/2021 JRW        0.20 Review and comment on redline of motion to dismiss appeal (6949 Merrill;
                               7600 Kingston; 7656 Kingston).

                               Asset Disposition

    10/12/2021 AEP        0.70 Read and revise latest draft of motion to dismiss appeal filed by defaulted
                               prospective purchaser of receivership properties (7600 Kingston; 7656
                               Kingston; 6949 Merrill).

                               Asset Disposition

                AW        0.20 Attention to draft motion to dismiss appeal and communication with counsel
                               regarding requirements, timing for filing, and procedure (6949 Merrill;7600
                               Kingston; 7656 Kingston).

                               Asset Disposition

                JR        0.40 Review communication with property management company related topost-
                               closing distributions for various properties and related request for status of
                               post-closing distributions (6554 Vernon; 4315 Michigan; 7600 Kingston;
                               7656 Kingston; 6250 Mozart).

                               Asset Disposition

                JRW       1.00 Review and revise motion to dismiss appeal and related correspondence
                               with SEC (6949 Merrill; 7600 Kingston; 7656 Kingston) (.3); additional
                               revision of motion and related legal research (6949 Merrill; 7600 Kingston;
                               7656 Kingston) (.7).

                               Asset Disposition

                KMP       0.80 Attention to communication with property manager regarding transfer of
                               funds for post-sale property reconciliations, review related bank records,
                               update spreadsheet, and related email exchange with J. Rak (6554 Vernon;
                               4315 Michigan; 7600 Kingston; 7656 Kingston; 6250 Mozart; 310 E 50th;
                               6807 Indiana; 9610 Woodlawn; 7255 Euclid; 7237 Bennett).

                               Asset Disposition

                MR        0.20 Attention to comments and exchanges regarding motion to dismiss (6949
                               Merrill; 7600 Kingston; 7656 Kingston).

                               Asset Disposition

    10/13/2021 AW         2.30 Revise draft motion to dismiss appeal, prepare table of contents, table of
                               authorities, appearance and disclosure, and exhibits and related
                               communication with counsel (6949 Merrill; 7600 Kingston; 7656 Kingston)
                               (1.4); work on revisions to motion to dismiss appeal based on emails from
                               counsel, finalize motion, and file with the Court (6949 Merrill; 7600 Kingston;
                               7656 Kingston) (.9).

                               Asset Disposition
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 68 of 164 PageID #:61321
Kevin B. Duff, Receiver                                                                               Page 6



    Date      Indiv   Hours Description

    10/13/2021 JR         2.00 Review, update and produce all the closing documents in anticipation of the
                               Receiver's execution of documents and anticipated closing (638 Avers) (1.7);
                               meeting with K. Duff relating to the execution of the closing documents in
                               preparation for closing (638 Avers) (.3).

                               Asset Disposition

                JRW       0.30 Review additional redlines of motion to dismiss appeal (6949 Merrill; 7600
                               Kingston; 7656 Kingston).

                               Asset Disposition

                KMP       0.30 Attention to follow-up communication with property manager regarding
                               transfer of funds for post-sale property reconciliations, review related bank
                               records, update spreadsheet, and related email exchange with J. Rak (6554
                               Vernon; 7656 Kingston).

                               Asset Disposition

                MR        1.00 Work on appeal regarding properties and related follow up (6949 Merrill;
                               7600 Kingston; 7656 Kingston).

                               Asset Disposition

    10/14/2021 AEP        0.20 Read latest correspondence from J. Rak regarding issues associated with
                               preparation for conveyance of receivership property, revise seller's figures,
                               and transmit same to title agent with comments regarding modifications (638
                               Avers).

                               Asset Disposition

    10/15/2021 JR         2.20 Attend closing for property (638 Avers) (1.8); exchange communication with
                               property management, real estate broker, insurance broker, accounting firm,
                               K. Duff and K. Pritchard confirming closing details (638 Avers) (.3); further
                               communication with property management requesting status update on
                               water applications related to credit applied to water balance (638 Avers) (.1).

                               Asset Disposition

                JR        0.30 Update closed property spreadsheet (1700 Juneway; 4533 Calumet; 5001
                               Drexel; 5450 Indiana; 7749 Yates; 6437 Kenwood; 1414 E 62nd; 8100 Essex;
                               7301 Stewart; 7500 Eggleston; 3030 E 79th; 2909 E 78th; 7549 Essex; 8047
                               Manistee; 1017 W 102nd; 1516 E 85th; 2136 W 83rd; 417 Oglesby; 7922
                               Luella; 7925 Kingston; 7933 Kingston; 8030 Marquette; 8104 Kingston; 8403
                               Aberdeen; 8405 Marquette; 8529 Rhodes; 8800 Ada; 9212 Parnell; 10012
                               LaSalle; 11318 Church; 3213 Throop; 3723 W 68th; 406 E 87th; 61 E 92nd;
                               6554 S Rhodes Avenue; 6825 Indiana; 7210 Vernon; 7712 Euclid; 7953
                               Woodlawn; 8107 Kingston; 8346 Constance; 8432 Essex; 8517 Vernon; 2129
                               W 71st; 9610 Woodlawn; 5437 Laflin; 6759 Indiana; 7300 St Lawrence; 7760
                               Coles; 1401 W 109th; 310 E 50th; 6807 Indiana; 8000 Justine; 8107 Ellis;
                               8209 Ellis; 8214 Ingleside; 5955 Sacramento; 6001 Sacramento; 7026
                               Cornell; 7237 Bennett; 7834 Ellis; 4520 Drexel; 4611 Drexel; 6749 Merrill;
                               7110 Cornell; 1131 E 79th; 6217 Dorchester; 6250 Mozart; 638 Avers; 701 S
                               5th; 7024 Paxton; 7255 Euclid; 3074 Cheltenham; 7625 East End; 7635 East
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 69 of 164 PageID #:61322
Kevin B. Duff, Receiver                                                                            Page 7



    Date      Indiv Hours Description

                               End; 7750 Muskegon; 7201 Constance; 6160 S MLK; 2736 W 64th; 4315
                               Michigan; 6355 Talman; 6356 California; 7051 Bennett; 7201 Dorchester;
                               7442 Calumet; 7508 Essex; 7546 Saginaw; 7600 Kingston; 7656 Kingston;
                               7701 Essex; 7748 Essex; 7957 Marquette; 816 Marquette; 8201 Kingston;
                               8326-58 Ellis; 11117 Longwood; 6949 Merrill; 7927-49 Essex; 1422 E 68th;
                               2800 E 81st; 4750 Indiana; 5618 MLK; 6554 Vernon; 7450 Luella; 7840
                               Yates; 431 E 42nd; 1102 Bingham) (.3).

                               Asset Disposition

    10/18/2021 JR         0.20 Review email from K. Duff related to review of net proceeds, TI holdback and
                               property management fees paid out of closing proceeds (1700 Juneway;
                               4533 Calumet; 5001 Drexel; 5450 Indiana; 7749 Yates; 6437 Kenwood; 1414
                               E 62nd; 8100 Essex; 7301 Stewart; 7500 Eggleston; 3030 E 79th; 2909 E
                               78th; 7549 Essex; 8047 Manistee; 1017 W 102nd; 1516 E 85th; 2136 W
                               83rd; 417 Oglesby; 7922 Luella; 7925 Kingston; 7933 Kingston; 8030
                               Marquette; 8104 Kingston; 8403 Aberdeen; 8405 Marquette; 8529 Rhodes;
                               8800 Ada; 9212 Parnell; 10012 LaSalle; 11318 Church; 3213 Throop; 3723
                               W 68th; 406 E 87th; 61 E 92nd; 6554 S Rhodes Avenue; 6825 Indiana; 7210
                               Vernon; 7712 Euclid; 7953 Woodlawn; 8107 Kingston; 8346 Constance; 8432
                               Essex; 8517 Vernon; 2129 W 71st; 9610 Woodlawn; 5437 Laflin; 6759
                               Indiana; 7300 St Lawrence; 7760 Coles; 1401 W 109th; 310 E 50th; 6807
                               Indiana; 8000 Justine; 8107 Ellis; 8209 Ellis; 8214 Ingleside; 5955
                               Sacramento; 6001 Sacramento; 7026 Cornell; 7237 Bennett; 7834 Ellis; 4520
                               Drexel; 4611 Drexel; 6749 Merrill; 7110 Cornell; 1131 E 79th; 6217
                               Dorchester; 6250 Mozart; 638 Avers; 701 S 5th; 7024 Paxton; 7255 Euclid;
                               3074 Cheltenham; 7625 East End; 7635 East End; 7750 Muskegon; 7201
                               Constance; 6160 S MLK; 2736 W 64th; 4315 Michigan; 6355 Talman; 6356
                               California; 7051 Bennett; 7201 Dorchester; 7442 Calumet; 7508 Essex; 7546
                               Saginaw; 7600 Kingston; 7656 Kingston; 7701 Essex; 7748 Essex; 7957
                               Marquette; 816 Marquette; 8201 Kingston; 8326-58 Ellis; 11117 Longwood;
                               6949 Merrill; 7927-49 Essex; 1422 E 68th; 2800 E 81st; 4750 Indiana; 5618
                               MLK; 6554 Vernon; 7450 Luella; 7840 Yates; 431 E 42nd; 1102 Bingham)
                               (.1); review email from J. Wine requesting closing documents related to the
                               sale of property and provide same (638 Avers) (.1).

                               Asset Disposition

    10/27/2021 JR         3.90 Analysis and reconciliation of settlement statements related to individual
                               banking property accounts (10012 LaSalle; 1017 W 102nd; 1050 8th Avenue
                               (Naples, FL); 1102 Bingham; 11117 Longwood; 1131 E 79th; 11318 Church;
                               1401 W 109th; 1414 E 62nd; 1422 E 68th; 1516 E 85th; 1700 Juneway; 2129
                               W 71st; 2136 W 83rd; 2736 W 64th; 2800 E 81st; 2909 E 78th; 3030 E 79th;
                               3074 Cheltenham Place; 310 E 50th; 3213 Throop; 3723 W 68th; 406 E 87th;
                               417 Oglesby; 431 E 42nd; 4315 Michigan; 4520 Drexel; 4533 Calumet; 4611
                               Drexel; 4750 Indiana; 5001 Drexel; 5437 Laflin; 5450 Indiana; 5618 MLK;
                               5955 Sacramento; 6001 Sacramento; 61 E 92nd; 6160 MLK; 6217
                               Dorchester; 6250 Mozart; 6355 Talman; 6356 California; 638 Avers; 6437
                               Kenwood; 6554 Rhodes; 6554 Vernon; 6749 Merrill; 6759 Indiana; 6807
                               Indiana; 6825 Indiana; 6949 Merrill; 701 S 5th; 7024 Paxton; 7026 Cornell;
                               7051 Bennett; 7109 Calumet; 7110 Cornell).

                               Asset Disposition
   Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 70 of 164 PageID #:61323
    Kevin B. Duff, Receiver                                                                                  Page 8



        Date      Indiv Hours Description

        10/28/2021 AEP        0.20 Read opposition to motion to dismiss appeal associated with disposition of
                                   earnest money relating to receivership properties (7600 Kingston; 7656
                                   Kingston; 6949 Merrill).

                                   Asset Disposition

                      MR      0.20 Review response to motion to dismiss appeal (6949 Merrill; 7600
                                   Kingston; 7656 Kingston).

                                   Asset Disposition


SUBTOTAL:                                                                                  [ 35.40            8401.00]

Business Operations

        10/4/2021 JRW         0.20 Review order of dismissal and related correspondence with property
                                   manager and K. Duff (3074 Cheltenham).

                                   Business Operations

        10/5/2021 AW          0.40 Draft notice of receivership to creditor and related email exchanges with K.
                                   Duff regarding same (defer) (.3); attention to served subpoena and related
                                   email to J. Wine (all) (.1).

                                   Business Operations

        10/6/2021 JRW         0.10 Correspondence to counsel for third-party regarding access to EquityBuild
                                   document database pursuant to subpoena and court order (defer).

                                   Business Operations

        10/7/2021 AW          0.20 Attention to document production from financial institution and related
                                   email to J. Wine (defer).

                                   Business Operations

                      JRW     1.20 Draft release for claim (7110 Cornell).

                                   Business Operations

        10/8/2021 JRW         0.30 Exchange correspondence with counsel for personal injury plaintiff
                                   regarding release agreement (7110 Cornell) (.1); review redline of draft
                                   release agreement and forward draft release to property manager and
                                   insurer (7110 Cornell) (.2).

                                   Business Operations

        10/14/2021 JRW        0.20 Exchange correspondence with counsel for personal injury plaintiff
                                   regarding executed settlement and release agreement (7110 Cornell)
                                   (.1); exchange correspondence with insurer regarding payment of
                                   settlement amount and related exchange with K. Duff (7110 Cornell) (.1).

                                   Business Operations
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 71 of 164 PageID #:61324
Kevin B. Duff, Receiver                                                                               Page 9



    Date      Indiv Hours Description

    10/15/2021 JRW        0.20 Exchange correspondence with K. Duff and insurer regarding logistics for
                               payment of settlement amount (7110 Cornell).

                               Business Operations

    10/19/2021 JRW        0.20 Confer with J. Rak regarding closing documentation (638 Avers) (.1);
                               exchange correspondence with city counsel regarding municipal court
                               matter (638 Avers) (.1).

                               Business Operations

    10/25/2021 AW         0.20 Research emails regarding property and related email to K.Duff (7749
                               Yates).

                               Business Operations

                ED        0.20 Email correspondence with J. Rak and with accountant regarding information
                               required to complete insurance reconciliation for properties sold in 2020
                               (1131 E 79th; 1700 Juneway; 2453 E 75th; 2736 W 64th; 4315 Michigan;
                               4520 Drexel; 4533 Calumet; 5450 Indiana; 5816 Martin Luther King; 6250
                               Mozart; 6355 Talman; 6437 Kenwood; 6554 Vernon; 6749 Merrill; 7051 S
                               Bennett Avenue; 7110 Cornell; 7201 Constance; 7201 Dorchester; 7300 St
                               Lawrence; 7442 Calumet; 7450 Luella; 7546 Saginaw; 7600 Kingston; 7749
                               Yates; 7760 Coles; 3074 Cheltenham; 7957 Marquette; 8000 Justine; 8047
                               Manistee; 8107 Ellis; 816 Marquette; 8201 Kingston; 8209 Ellis; 8214
                               Ingleside; 8326 Ellis; 8403 Aberdeen).

                               Business Operations

                JR        0.30 Review email from E. Duff related to property insurance endorsements,
                               respond accordingly and organize all endorsements accordingly in electronic
                               files (8047 Manistee; 7749 Yates; 6749 Merrill; 7450 Luella; 7546 Saginaw;
                               8201 Kingston; 4520 Drexel; 8326 Ellis; 8334 Ellis; 8342 Ellis; 8352 Ellis;
                               5450 Indiana; 6437 Kenwood; 7760 Coles; 8000 Justine; 8107 Ellis; 8214
                               Ingleside; 8209 Ellis; 11117 Longwood; 7300 St Lawrence; 7110 Cornell;
                               7957 Marquette; 7051 Bennett; 3074 Cheltenham; 2736 W 64th; 5618 S
                               MLK; 6356 California; 6355 Talman; 7201 Constance; 6554 Vernon; 1700
                               Juneway; 7201 Dorchester; 7508 Essex; 431 E 42nd; 7701 Essex; 7442
                               Calumet; 816 Marquette; 6949 Merrill; 4533 Calumet; 4315 Michigan
                               7600 Kingston; 7656 Kingston; 1131 E 79th; 6250 Mozart).

                               Business Operations

                JR        1.00 Review email from A. Porter and K. Duff and begin analysis, reconciliation
                               and organization of settlement statements related to separate property
                               accounts regarding net proceeds, payments to property management and title
                               indemnity holdbacks (1700 Juneway; 4533 Calumet; 5001 Drexel; 5450
                               Indiana; 7749 Yates; 6437 Kenwood; 1414 E 62nd; 8100 Essex; 7301
                               Stewart; 7500 Eggleston; 3030 E 79th; 2909 E 78th; 7549 Essex; 8047
                               Manistee; 1017 W 102nd; 1516 E 85th; 2136 W 83rd; 417 Oglesby; 7922
                               Luella; 7925 Kingston; 7933 Kingston; 8030 Marquette; 8104 Kingston; 8403
                               Aberdeen; 8405 Marquette; 8529 Rhodes; 8800 Ada; 9212 Parnell; 10012
                               LaSalle; 11318 Church; 3213 Throop; 3723 W 68th; 406 E 87th; 61 E 92nd;
                               6554 S Rhodes Avenue; 6825 Indiana; 7210 Vernon; 7712 Euclid; 7953
                               Woodlawn; 8107 Kingston; 8346 Constance; 8432 Essex; 8517 Vernon; 2129
                               W 71st; 9610 Woodlawn; 5437 Laflin; 6759 Indiana; 7300 St Lawrence; 7760
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 72 of 164 PageID #:61325
Kevin B. Duff, Receiver                                                                                Page 10



    Date      Indiv Hours Description

                               Coles; 1401 W 109th; 310 E 50th; 6807 Indiana; 8000 Justine; 8107 Ellis;
                               8209 Ellis; 8214 Ingleside; 5955 Sacramento; 6001 Sacramento; 7026
                               Cornell; 7237 Bennett; 7834 Ellis; 4520 Drexel; 4611 Drexel; 6749 Merrill;
                               7110 Cornell; 1131 E 79th; 6217 Dorchester; 6250 Mozart; 638 Avers; 701 S
                               5th; 7024 Paxton; 7255 Euclid; 3074 Cheltenham; 7625 East End; 7635 East
                               End; 7750 Muskegon; 7201 Constance; 6160 S MLK; 2736 W 64th; 4315
                               Michigan; 6355 Talman; 6356 California; 7051 Bennett; 7201 Dorchester;
                               7442 Calumet; 7508 Essex; 7546 Saginaw; 7600 Kingston; 7656 Kingston;
                               7701 Essex; 7748 Essex; 7957 Marquette; 816 Marquette; 8201 Kingston;
                               8326-58 Ellis; 11117 Longwood; 6949 Merrill; 7927-49 Essex; 1422 E 68th;
                               2800 E 81st; 4750 Indiana; 5618 MLK; 6554 Vernon; 7450 Luella; 7840
                               Yates; 431 E 42nd; 1102 Bingham).

                               Business Operations

    10/25/2021 JRW        0.20 Confer with K. Duff and E. Duff regarding correspondence from insurance
                               carrier regarding state court matter and provide copy of release (6160
                               MLK).

                               Business Operations

    10/26/2021 AEP        0.90 Teleconferences with K. Duff and M. Rachlis regarding motion to intervene
                               in connection with state court foreclosure litigation (defer) (.7);
                               teleconference with counselfor intervenor regarding potential stipulation to
                               resolve motion for leave to pursue state court foreclosure litigation (defer)
                               (.2).

                               Business Operations

                JR        1.10 Conduct analysis of missing property insurance endorsements,
                               communication with accounting firm representative producing requested
                               property insurance statements (6949 Merrill; 7549 Saginaw; 8201 Kingston;
                               7110 Cornell; 5618 MLK; 6356 California; 2736 W 64th; 7201 Constance;
                               11117 Longwood; 8403 Aberdeen; 6355 Talman) (.8);communication with
                               account analyst requesting missing property endorsements (7110 Cornell;
                               5618 MLK; 6356 California; 7201 Constance; 11117 Longwood; 6355
                               Talman) (.3).

                               Business Operations

                JR        0.90 Analysis, reconciliation and organization of settlement statements related to
                               separate property accounts regarding net proceeds, payments to property
                               management and title indemnity holdbacks (1700 Juneway; 4533 Calumet;
                               5001 Drexel; 5450 Indiana; 7749 Yates; 6437 Kenwood; 1414 E 62nd; 8100
                               Essex; 7301 Stewart; 7500 Eggleston; 3030 E 79th; 2909 E 78th; 7549
                               Essex; 8047 Manistee; 1017 W 102nd; 1516 E 85th; 2136 W 83rd; 417
                               Oglesby; 7922 Luella; 7925 Kingston; 7933 Kingston; 8030 Marquette; 8104
                               Kingston; 8403 Aberdeen; 8405 Marquette; 8529 Rhodes; 8800 Ada; 9212
                               Parnell; 10012 LaSalle; 11318 Church; 3213 Throop; 3723 W 68th; 406 E
                               87th; 61 E 92nd; 6554 S Rhodes Avenue; 6825 Indiana; 7210 Vernon; 7712
                               Euclid; 7953 Woodlawn; 8107 Kingston; 8346 Constance; 8432 Essex; 8517
                               Vernon; 2129 W 71st; 9610 Woodlawn; 5437 Laflin; 6759 Indiana; 7300 St
                               Lawrence; 7760 Coles; 1401 W 109th; 310 E 50th; 6807 Indiana; 8000
                               Justine; 8107 Ellis; 8209 Ellis; 8214 Ingleside; 5955 Sacramento; 6001
                               Sacramento; 7026 Cornell; 7237 Bennett; 7834 Ellis; 4520 Drexel; 4611
                               Drexel; 6749 Merrill; 7110 Cornell; 1131 E 79th; 6217 Dorchester; 6250
   Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 73 of 164 PageID #:61326
    Kevin B. Duff, Receiver                                                                                 Page 11



            Date      Indiv Hours Description

                                   Mozart; 638 Avers; 701 S 5th; 7024 Paxton; 7255 Euclid; 3074 Cheltenham;
                                   7625 East End; 7635 East End; 7750 Muskegon; 7201 Constance; 6160 S
                                   MLK; 2736 W 64th; 4315 Michigan; 6355 Talman; 6356 California; 7051
                                   Bennett; 7201 Dorchester; 7442 Calumet; 7508 Essex; 7546 Saginaw; 7600
                                   Kingston; 7656 Kingston; 7701 Essex; 7748 Essex; 7957 Marquette; 816
                                   Marquette; 8201 Kingston; 8326-58 Ellis; 11117 Longwood; 6949 Merrill;
                                   7927-49 Essex; 1422 E 68th; 2800 E 81st; 4750 Indiana; 5618 MLK; 6554
                                   Vernon; 7450 Luella; 7840 Yates; 431 E 42nd; 1102 Bingham).

                                   Business Operations

        10/26/2021 MR         0.70 Telephone conference with K. Duff, J. Wine and SEC (defer) (.1);
                                   conferences with A. Porter and K.Duff regarding motion to intervene
                                   regarding properties that are not in receivership estate (defer) (.6).


                                   Business Operations

        10/27/2021 JR         2.30 Follow up communication with account analyst requesting missing property
                                   insurance endorsements and review same (6949 Merrill; 7549 Saginaw;
                                   8201 Kingston; 7110 Cornell; 5618 MLK; 6356 California; 2736 W 64th;
                                   7201 Constance; 11117 Longwood; 8403 Aberdeen; 6355 Talman) (2.1);
                                   further communication with accounting firm representative producing
                                   requested property insurance statements (6949 Merrill; 7549 Saginaw;
                                   8201 Kingston; 7110 Cornell; 5618 MLK; 6356 California; 2736 W 64th;
                                   7201 Constance; 11117 Longwood; 8403 Aberdeen; 6355 Talman) (.2).


                                   Business Operations

         10/31/2021 AEP       0.50 Review pleadings and prepare proposed stipulation and order partially
                                   granting motion to intervene (defer).

                                   Business Operations


SUBTOTAL:                                                                                   [ 11.30          2469.00]

Case Administration

        10/11/2021 AW         0.70 Prepare pleadings and descriptions for update to web page (defer).

                                   Case Administration

        10/12/2021 AW         0.40 Finish email regarding updates to web page and related email to IT support
                                   (defer).

                                   Case Administration

        10/19/2021 AW         0.40 Attention to entered orders regarding motion to compel and granting
                                   extension, share with team, and update docket (.1); communicate with IT
                                   specialist regarding requested update to web page and related follow up
                                   email (.3).

                                   Case Administration
   Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 74 of 164 PageID #:61327
    Kevin B. Duff, Receiver                                                                                  Page 12



         Date     Indiv Hours Description

         10/26/2021 AW        0.20 Attention to entered order regarding motion to compel and update team
                                   (Group 1) (.1); request update to web page (Group 1) (.1).

                                   Case Administration


SUBTOTAL:                                                                                     [ 1.70           238.00]

Claims Administration & Objections

         10/1/2021 AW         0.50 Research regarding previously served subpoenas and responses and
                                   related email to J. Wine (sole lien).

                                   Claims Administration & Objections

                    JRW       1.50 Correspond with A. Watychowicz regarding documents produced pursuant to
                                   title company subpoena and related correspondence with K. Duff and
                                   claimants' counsel (sole lien) (.3); review invoices and vendor statement and
                                   follow up with K. Pritchard regarding same (all) (.2); confer with M. Rachlis
                                   and K. Duff regarding discovery planning (Group 1) (.2); several conferences
                                   with K. Duff regarding claims, hearing transcripts and appeal (.3); conference
                                   with SEC and K. Duff regarding discovery (Group 1) (.5).

                                   Claims Administration & Objections

                    KMP       0.20 Communications with J. Wine regarding payment of claims database
                                   vendor's invoices (all).

                                   Claims Administration & Objections

                    MR        1.40 Review materials to prepare for call on discovery (Group 1) (.4); meetings
                                   with K. Duff and J. Wine (Group 1) (.5); conferences with SEC, K. Duff and
                                   J. Wine (Group 1) (.5).

                                   Claims Administration & Objections

         10/4/2021 AEP        0.20 Teleconference with J. Wine regarding preparing for depositions (Group 1).

                                   Claims Administration & Objections

                    AW        1.40 Attention and responses to emails from claimants regarding status of claims
                                   process (all) (.3); email exchange with K. Duff and J. Wine regarding report
                                   of loss and related email to claimant (1131 E 79th) (.1); email exchange with
                                   J. Wine regarding review of standard discovery responses (Group 1) (.2);
                                   email and follow up call with J. Wine regarding submitted claim (6437
                                   Kenwood) (.2); coordinate sharing of responses to subpoena with claimant's
                                   counsel (sole lien) (.2); draft letter to potential claimant regarding issue with
                                   his email and related email exchanges with K. Duff and J. Wine (6437
                                   Kenwood) (.2); draft email to claimants regarding motion to compel and
                                   related communications with K. Duff and J. Wine (Group 1) (.2).

                                   Claims Administration & Objections
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 75 of 164 PageID #:61328
Kevin B. Duff, Receiver                                                                              Page 13



    Date      Indiv Hours Description

    10/4/2021 JRW         3.30 Correspond with A. Watychowicz and K. Duff regarding responses to claimant
                               inquiries and communications with claimants (all) (.4); work with A.
                               Watychowicz on investor discovery responses (Group 1) (.4); exchange
                               correspondence with claimants' counsel regarding document production (all)
                               (.2); review motion to compel filed by claimant, exhibits thereto, and court
                               order of referral (Group 1) (.4); telephone conference with claimant regarding
                               motion to compel and related follow-up correspondence (Group 1) (.3);
                               conference with A. Porter and K. Duff regarding depositions (Group 1) (.3);
                               continued review of claimant's discovery in preparation for deposition (Group
                               1) (1.3).

                               Claims Administration & Objections

                MR        0.40 Attention to motion to compel and various related orders assigning matter
                               (Group 1) (.3); attention to decisions regarding claims issues (all) (.1).

                               Claims Administration & Objections

    10/5/2021 AW          2.30 Communicate with J. Wine regarding update to claimants about EB records
                               database (all) (.2); revise sheets on review of discovery responses and
                               produced documents (Group 1) (1.6); revise letter to claimant's counsel and
                               related correspondence with J. Wine (Group 1) (.4); follow up regarding
                               correspondence to claimant regarding email (6437Kenwood) (.1).

                               Claims Administration & Objections

                JRW       7.00 Review and revise letter to potential claimant (6437 Kenwood) (.2); review
                               and compile potential deposition exhibits and work on deposition outline
                               (Group 1) (4.3); conference with SEC (Group 1) (1.2); conference with K.
                               Duff regarding potential depositions (Group 1) (.5); draft correspondence to
                               claimant's counsel regarding discovery deficiencies (Group 1) (.4);
                               exchange correspondence with A. Porter regarding interpretation of
                               recorder's site (Group 1) (.2); review third-party subpoena for access to
                               EquityBuild document database and related correspondence to vendor
                               (defer) (.2).

                               Claims Administration & Objections

    10/6/2021 AW          0.70 Communicate with K. Duff and J. Wine regarding response from claimant
                               about tax issues (1131 E 79th) (.1); email exchange with K. Duff and J.
                               Wine regarding supplemental discovery and communications with claimants
                               (Group 1) (.2); work on claims group member list update (Group 1)(.1);
                               communicate with J. Wine regarding revised list of emails (Group 1) (.1);
                               attention to supplemental production from claimant and related
                               communication with J. Wine (Group 1) (.2).

                               Claims Administration & Objections

                JRW       3.10 Conference with K. Duff and A. Porter regarding claimant discovery and
                               related email regarding interrogatory answers (Group 1) (.5); exchange
                               correspondence with vendor regarding compliance with court order (all) (.1);
                               confer with A. Watychowicz and K. Duff regarding responses to claimants (all)
                               (.2); study interrogatory answers (Group 1) (.4); conference call with SEC
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 76 of 164 PageID #:61329
Kevin B. Duff, Receiver                                                                              Page 14



    Date      Indiv Hours Description

                               and claimants' counsel regarding discovery (Group 1) (.8); prepare summary
                               of discovery plan to team (Group1) (.1); compile and send pleadings and
                               correspondence relating to privilege log to SEC (Group 1) (.3); conference
                               call with A. Watychowicz regarding document production and notice issues
                               (Group 1) (.3); correspondence from claimants' counsel to investor
                               claimants regarding document productions (Group 1) (.1); correspondence
                               with claimants' counsel and A. Watychowicz regarding supplemental
                               document production, redactions, and re-subscribing to distribution list
                               (Group 1) (.3).

                               Claims Administration & Objections

    10/6/2021 MR          0.20 Attention to various issues on discovery (Group 1).

                               Claims Administration & Objections

    10/7/2021 AEP         1.20 Read and analyze discovery responses in connection with claims process
                               and read and respond to e-mails from J. Wine regarding discovery plans in
                               connection with claims (Group 1).

                               Claims Administration & Objections

                AW        0.40 Attention to exchanges between claimant and counsel and related email
                               response (Group 1) (.1); attention to documents producedby title company
                               and related email to J. Wine (Group 1) (.1);draft reminder for claimants
                               regarding EB records database (all) (.2).

                               Claims Administration & Objections

                JRW       0.70 Exchange correspondence with claimants' counsel and K. Duff regarding
                               document production deficiencies (Group 1) (.3); draft response to claimant
                               inquiry regarding discovery process (Group 1) (.1); exchange
                               correspondence with A. Porter regarding subpoena (all) (.1); exchange
                               correspondence with A. Porter regarding factual investigation (Group 1)
                               (.1); review and revise draft email to claimants regarding database
                               availability (all) (.1).

                               Claims Administration & Objections

    10/8/2021 AEP         0.30 Read and revise rider to subpoena in connection with claims associated
                               with Group 1 (Group 1).

                               Claims Administration & Objections

                AW        0.40 Communicate with A. Porter regarding response to subpoena and share
                               received documents (Group 1) (.1); communicate with J. Wine regarding EB
                               records database reminder to claimants (Group 1) (.1); attention to deposition
                               subpoenas and update docket (Group 1) (.2).

                               Claims Administration & Objections
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 77 of 164 PageID #:61330
Kevin B. Duff, Receiver                                                                                   Page 15



    Date      Indiv Hours Description

    10/8/2021 JRW         2.60 Correspond with counsel for claimants regarding document production
                               (Group 1) (.1); review draft subpoenas from claimants' counsel, prepare
                               protocol for remote depositions, and related correspondence (Group 1) (1.3);
                               conference with A. Porter, K. Duff and M. Rachlis regarding depositions and
                               planning (Group 1) (.2); draft riders to 30(b)(6) subpoenas and related
                               exchange of redlines and correspondence with A. Porter and SEC (Group 1)
                               (.8); review court order granting motionto serve subpoena (all) (.1); further
                               exchange of correspondence with A. Porter regarding discovery from title
                               company (Group 1) (.1).

                               Claims Administration & Objections

                MR        0.50 Attention to discovery related issues (Group 1) (.3); conference with K. Duff,
                               A. Porter and J. Wine regarding depositions (Group 1) (.2).

                               Claims Administration & Objections

    10/11/2021 JRW        0.70 Confer with A. Porter regarding revisions to subpoena rider (Group 1) (.2);
                               correspondence with SEC and claimants' counsel regarding revisions to
                               subpoena rider (Group 1) (.1); confer with K. Pritchard regarding vendor
                               invoice (all) (.1); correspondence with A. Porter regarding title companies
                               (Group 1) (.1); telephone conferences with claimants' counsel regarding
                               subpoenas (Group 1) (.2).

                               Claims Administration & Objections

                KMP       0.30 Communicate with K. Duff and J. Wine regarding claims database vendor's
                               invoices and calculate amount paid to-date in connection with court-
                               ordered fees (all).

                               Claims Administration & Objections

    10/12/2021 AW         1.90 Communicate with K. Duff regarding claims communications and protective
                               order (all) (.1); revision to claims service list (all) (.2); finalize and send out
                               reminder regarding EB documents database expiration (all) (.3); attention to
                               email and follow up from claimant regarding database and related
                               communications with K. Duff and claimant (7301 Stewart; 7500 Eggleston;
                               3030 E 79th) (.2); attention to voicemail andemail from claimant and related
                               email (4611 Drexel; 4520 Drexel; 6751 Merrill; 7110 Cornell) (.1); attention to
                               follow up from claimant regarding rollover, review claim, and communicate
                               with K. Duff and J.Wine regarding potential update to claim (4611 Drexel;
                               4520 Drexel; 6751 Merrill; 7110 Cornell) (.3); attention to email from
                               unknown email address, track down secondary email and related
                               correspondence with J. Wine (all) (.2); attention to voice message from
                               claimant regarding reporting of loss and exchange with K. Duff regarding
                               proposed response letter (all) (.2); attention to claimant's request for claims
                               files and prepare transfer of same (7026 Cornell) (.2); review updated
                               address list for receivership properties (all) (.1).

                               Claims Administration & Objections
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 78 of 164 PageID #:61331
Kevin B. Duff, Receiver                                                                                   Page 16



    Date      Indiv Hours Description

    10/12/2021 JRW        0.90 Email exchange with K. Duff and A. Watychowicz regarding confidentiality
                               order (all) (.1); exchange various correspondence with SEC and claimants'
                               counsel regarding 30(b)(6) deposition rider and deposition scheduling
                               (Group 1) (.3); attention to numerous claimant email and voicemail inquiries
                               (all) (.5).

                               Claims Administration & Objections

                KMP       0.30 Attention to communication with claimant regarding proof of claim, and
                               related communications with K. Duff, J. Wine,and A. Watychowicz (defer).

                               Claims Administration & Objections

    10/13/2021 AW         0.30 Communicate with K. Duff regarding claim abandonment option (1131 E
                               79th) (.1); communicate with K. Duff and J. Wine regarding master claims
                               sheet (4611 Drexel; 4520 Drexel; 6751 Merrill; 7110 Cornell) (.1); email
                               exchange with K. Duff and J. Wine regarding claimant's follow up regarding
                               claims progress (Group 1) (.1).

                               Claims Administration & Objections

                JRW       1.80 Review and comment on draft correspondence and related correspondence
                               with K. Duff, M. Rachlis, and SEC (Group 1) (.2); exchange correspondence
                               with K. Duff and A. Watychowicz regarding claimant inquiries (all) (.3);
                               confer with A. Watychowicz regarding claims database (all) (.1); telephone
                               conference with counsel for claimants regarding claims process (all) (.2);
                               review and comment on revised single claim process from claimants'
                               counsel and related correspondence with M. Rachlis and K. Duff (sole lien)
                               (1.0).

                               Claims Administration & Objections

                MR        0.90 Attention to privilege log issues for Group 1 based on claimant's
                               positions (Group 1) (.2); follow up on single lien process (sole lien) (.7).

                               Claims Administration & Objections

    10/14/2021 AW         0.70 Attention to communication and update mailing address as per claimant's
                               request (all) (.1); finalize correspondence for claimant and related email
                               (all) (.1); email claimant regarding progress inclaims process (Group 1) (.1);
                               review claim and communicate with K. Duff and J. Wine regarding
                               responses to claimants (all) (.3); call with J. Wine regarding set claims
                               process schedule (Group 1) (.1).

                               Claims Administration & Objections

                JRW       0.40 Attention to claimant inquiries (all) (.2); exchange correspondence with A.
                               Watychowicz regarding supplemental document production (Group 1) (.1);
                               review correspondence regarding privilege log (Group 1) (.1).

                               Claims Administration & Objections
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 79 of 164 PageID #:61332
Kevin B. Duff, Receiver                                                                                 Page 17



    Date      Indiv Hours Description


    10/15/2021 AW         0.60 Prepare claims documents and share same with claimant (7301 Stewart;
                               7500 Eggleston; 3030 E 79th) (.1); attention to deposition subpoenas
                               directed to claimants, issues with service, and related exchange with J.
                               Wine (Group 1) (.4); attention to voice messages from claimant and related
                               email to claimant (1131 E 79th) (.1).

                               Claims Administration & Objections

                JRW       0.60 Exchange correspondence regarding 30(b)(6) deposition notices (Group 1)
                               (.2); review notice of investor depositions and related correspondence with
                               team (Group 1) (.2); exchange correspondence with M. Rachlis and K. Duff
                               regarding claimant inquiry (all) (.1); work with A. Watychowicz to draft email to
                               Group 1 claimants regarding deposition notices (Group 1) (.1).

                               Claims Administration & Objections

                MR        0.20 Follow up on claim inquiry (1131 E 79th) (.1); attention to issues on
                               depositions (Group 1) (.1).

                               Claims Administration & Objections

    10/17/2021 AEP        2.80 Read all e-mail correspondence from J. Wine, all judicial orders pertaining to
                               discovery, including deposition rules, and begin reviewing e-mail
                               correspondence relating to underwriting of loan to SSDF5 Portfolio 1 (Group
                               1).

                               Claims Administration & Objections

                JRW       0.40 Correspondence to team regarding upcoming depositions (Group 1).

                               Claims Administration & Objections

                MR        0.20 Attention to emails regarding discovery issues for claims (Group 1).

                               Claims Administration & Objections

    10/18/2021 AW         1.50 Attention to served deposition notices and docket events (Group 1) (.3);
                               communicate with J. Wine regarding responses to claimants' inquiries and
                               related email responses (Group 1) (.2); review supplemental production from
                               claimant and related communications with J. Wine (Group 1) (.6); re-add
                               counsel for claimant to service list (Group 1) (.1); attention to email regarding
                               limited discovery and related email to K. Duff (Group 1) (.1); reach out to
                               claims vendor regarding claim form (all) (.1); communicate with counsel
                               regarding service list and restrictions (Group 1) (.1).

                               Claims Administration & Objections
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 80 of 164 PageID #:61333
Kevin B. Duff, Receiver                                                                                 Page 18



    Date      Indiv Hours Description

    10/18/2021 JRW        3.50 Exchange correspondence with claimants' counsel regarding distribution list
                               (Group 1) (.1); review notices of depositions and work with A. Watychowicz
                               regarding docketing (Group 1) (.1); correspondence with K. Duff and A.
                               Watychowicz regarding claimant inquiry (Group 1) (.2); confer with A.
                               Watychowicz regarding supplemental document production (Group 1) (.1);
                               correspondence and telephone conference with K. Duff and M. Rachlis
                               regarding claims and discovery (Group 1) (.8); research regarding proof of
                               claim and related correspondence to K. Duff, A. Porter, and A. Watychowicz
                               (all) (.4); conference call with claimants' counsel and counsel for SEC
                               regarding 30(b)(6) deposition (Group 1) (.3); correspondence to team
                               regarding upcoming depositions (Group 1) (.1); exchange correspondence
                               regarding service of subpoena (Group 1) (.2); exchange correspondence with
                               claimants'counsel regarding Group 1 service of deposition notices (Group 1)
                               (.1); review investor discovery responses in preparation forupcoming
                               depositions (Group 1) (.8); prepare analysis of Group 1 claims volume
                               (Group 1) (.3).

                               Claims Administration & Objections

                MR        0.80 Conferences with K. Duff and J. Wine regarding claims work, potential
                               avenues for claims resolution, and discovery issues, and attention to
                               related emails (Group 1).

                               Claims Administration & Objections

    10/19/2021 AW         1.80 Review discovery responses received from claimant and report to
                               J. Wine (Group 1) (.5); review discovery responses and emails regarding
                               claimants whoare scheduled to be deposed (Group 1) (.4); communicate
                               with J. Wine and K. Duff regarding claimant's email (Group 1) (.3); reach out
                               to claimant with request to confirm prior communications and request to
                               contact counsel (Group 1) (.1); re-add counsel for claimant to distribution list
                               and confirm firm's emails are still listed (Group 1) (.1); review claims and
                               contact information from claimants and email J. Wine (Group 1) (.2);
                               supplement scheduled depositions events with court reporter information
                               and docket deposition notice (Group 1) (.2).

                               Claims Administration & Objections

                JR        3.90 Review email from J. Wine regarding database research in preparation for
                               upcoming depositions (Group 1) (.1); teleconference with J. Wine and
                               follow-up emails regarding database research in preparation for upcoming
                               depositions (Group 1) (1.3); perform database research in preparation for
                               upcoming depositions (Group 1) (2.5).

                               Claims Administration & Objections
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 81 of 164 PageID #:61334
Kevin B. Duff, Receiver                                                                                Page 19



    Date      Indiv Hours Description

    10/19/2021 JRW        4.40 Conference with J. Rak and follow-up emails regarding database research in
                               preparation for upcoming depositions (Group 1) (1.3); confer with A.
                               Watychowicz regarding review of claimants' discovery responses (Group 1)
                               (.4); correspondence to team regarding notice to Group 1 claimant, motion
                               to compel, and upcoming depositions (Group 1) (.3); search for records in
                               database and related exchange with vendor support (Group 1) (.3);
                               correspondence to claimants' counsel regarding deposition notices and
                               Group 1 distribution list (Group 1) (.1); correspondence to claimant
                               regarding notices, standard discovery, and noticed deposition (Group 1) (.2);
                               continued review of investordiscovery responses (Group 1) (1.8).

                               Claims Administration & Objections

                MR        0.40 Attention to various issues on deposition and motion to compel (Group 1) (.3);
                               attention to various claims issues (sole lien) (.1).

                               Claims Administration & Objections

    10/20/2021 AW         0.40 Communicate with J. Wine regarding her call with claimant, attention to
                               counsel communication, and email claimant past correspondence from the
                               Receiver (Group 1) (.3); confirm addition of counsel to distribution list (Group
                               1) (.1).

                               Claims Administration & Objections

                JR        5.30 Teleconference with J. Wine regarding review of database research in
                               preparation for upcoming depositions (Group 1) (.9); further communication
                               with J. Wine relating to the EB documents database research related to
                               upcoming depositions (Group 1) (.5); perform database research in
                               preparation for upcoming depositions (Group 1) (3.9).

                               Claims Administration & Objections

                JRW       3.50 Confer with J. Rak and vendor support regarding database research (Group
                               1) (.2); review deposition subpoena to SEC and related correspondence to A.
                               Porter (Group 1) (.1); exchange correspondence with SEC (Group 1) (.1);
                               telephone conference with claimant regarding discovery obligations and
                               deposition notice (5450 Indiana; 7749 Yates; 7750 Muskegon; 7656 Kingston;
                               1102 Bingham) (.2); correspondence with A. Watychowicz and claimant
                               regarding service of pleadings, orders and discovery requests and responses
                               (Group 1) (.4); telephone conference with claimants' counsel regarding
                               upcoming depositions (Group 1) (.1); review tagged documents regarding
                               upcoming depositions and related communications with J. Rak (Group 1)
                               (2.4).

                               Claims Administration & Objections

    10/21/2021 AW         0.40 Prepare claims files to share with claimant and related email (5450 Indiana;
                               7749 Yates; 7750 Muskegon; 7656 Kingston; 1102 Bingham) (.3); attention
                               to emails regarding preparation of deposition exhibits and change of time of
                               depositions (Group 1) (.1).

                               Claims Administration & Objections
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 82 of 164 PageID #:61335
Kevin B. Duff, Receiver                                                                                Page 20



    Date      Indiv Hours Description


    10/21/2021 JR         3.40 Communication with EB documents database customer service (Group 1)
                               (.3); teleconference with J. Wine regarding review of database research in
                               preparation for upcoming depositions (Group 1) (.1); perform database
                               research in preparation for upcoming claimant depositions (Group 1) (3.0).

                               Claims Administration & Objections

                JRW       3.10 Exchange correspondence with A. Watychowicz and A. Porter regarding
                               claimant communication, deposition preparation, and correspondence from
                               court reporter (Group 1) (.2); telephone conference with counsel for SEC
                               (Group 1) (.1); exchange correspondence with K. Duff, K. Pritchard
                               regarding EB database vendor invoices and related review of disbursement
                               records and agreement (all) (.4); exchange correspondence with database
                               vendor (all) (.1);identify exhibits for upcoming depositions and confer with A.
                               Watychowicz regarding preparation of same (Group 1) (1.6); continue
                               drafting deposition outline (Group 1) (.7).

                               Claims Administration & Objections

                KMP       0.20 Communications with K. Duff and J. Wine regarding vendor invoices for
                               claims document database (all).

                               Claims Administration & Objections

    10/22/2021 AEP        1.10 Teleconference with J. Wine to review relevant potential exhibits and
                               preparation for deposition (Group 1).

                               Claims Administration & Objections

                AW        1.10 Review online link containing discovery responses and supplement with
                               additional discovery (Group 1) (.3); email claimant regarding discovery
                               responses, access, and confidentiality issue (Group 1) (.1); review submitted
                               claim and prior correspondence with Receiver, consult with K. Duff and J.
                               Wine regarding claim amendment, and related email to claimant (all) (.3);
                               attention to changed deposition times and update docket (Group 1) (.2);
                               review claims, draft response emails, and email J. Wine and K. Duff
                               regarding rollover issues (all) (.2).

                               Claims Administration & Objections

                JR        3.40 Perform database research in preparation for upcoming claimant depositions
                               (7750 Muskegon; 7625 East End; 3074 Cheltenham; 7201 Constance).

                               Claims Administration & Objections
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 83 of 164 PageID #:61336
Kevin B. Duff, Receiver                                                                                Page 21



    Date      Indiv Hours Description

    10/22/2021 JRW        5.40 Correspondence with claimant regarding judge's orders, communications
                               from Receiver, and materials accessible to Group 1 claimants (Group 1) (.2);
                               continued preparation and identification of exhibits for upcoming depositions
                               (Group 1) (2.9); telephone conference and email correspondence with
                               claimant's counsel and SEC regarding procedures and scheduling for
                               upcoming depositions (Group 1) (.5); meet with A. Porter to prepare for
                               deposition and related update of files (Group 1) (1.6); exchange
                               correspondence with claimants' counsel regarding notice to claimants of
                               rescheduled deposition (Group 1) (.1); attention to claimant inquiry (all) (.1).

                               Claims Administration & Objections

    10/23/2021 AEP        4.50 Review and analyze e-mails of main EquityBuild principals and other
                               documents assembled by J. Wine, review and analyze documents pertaining
                               to refinancing of properties quitclaimed to entity, prepare deposition outline
                               and exhibits in connection with deposition (Group 1).

                               Claims Administration & Objections

    10/25/2021 AEP        2.10 Attend and participate in Zoom deposition (Group1).

                               Claims Administration & Objections

                AW        0.60 Communicate with claims vendor regarding corrupted file and request
                               download (all) (.1); attention to claim file, update claims files, and update
                               claims spreadsheet (all) (.2); attention to exhibits received from counsel and
                               related email to J. Wine (.1); update docket entries for rescheduled
                               depositions (Group 1) (.1); email response to claimant (all) (.1).

                               Claims Administration & Objections

                JR        2.80 Perform database research in preparation for upcoming claimant depositions
                               related to institutional lender's inquiries of various claims (Group 1) (2.5);
                               exchange communication with client services requesting resolutions to
                               several issues regarding EB documents database (Group 1) (.2);
                               communication with J. Wine regarding files related to recent claimant search
                               (Group 1) (.1).

                               Claims Administration & Objections

                JRW       4.30 Correspond with court reporter regarding deposition exhibits (Group 1) (.1);
                               confer with A. Porter regarding deposition and exhibits (Group 1) (.2); work
                               on deposition exhibits (Group 1) (.2); review discovery productions, proofs
                               of claim and database search results in preparation for depositions (Group
                               1) (3.8).

                               Claims Administration & Objections

                KMP       0.20 Review prior email correspondence and communications with K. Duff
                               regarding potential claim (7749 Yates).

                               Claims Administration & Objections
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 84 of 164 PageID #:61337
Kevin B. Duff, Receiver                                                                              Page 22



    Date      Indiv Hours Description


    10/26/2021 AW         0.60 Attention to emails regarding cancellation, addition, and change of date and
                               time of depositions and update docket (Group 1) (.2); regroup discovery
                               folder and related email to J. Wine (Group 1) (.1); email K. Duff regarding
                               claimants' relationship to EquityBuild (all) (.1); email J. Wine requested
                               claims documents (Group 1) (.1); email exchange regarding notification to
                               claimants about scheduled hearing (Group 1) (.1).

                               Claims Administration & Objections

                JR        2.30 Conduct database research in preparation for upcoming claimant depositions
                               related to institutional lender's inquiries of various claims (Group 1).

                               Claims Administration & Objections

                JRW       6.20 Attend claimant deposition (Group 1) (1.7); exchange correspondence with
                               claimants' counsel and court reporter regarding exhibits (Group 1) (.2);
                               additional deposition preparation (Group 1) (1.6); telephone conference and
                               correspondence with K. Duff and M. Rachlis regarding depositions (Group 1)
                               (.4); confer regarding depositions (defer) (.2); telephone conference with K.
                               Duff and M. Rachlis in preparation for hearing on motion to compel (Group
                               1) (.2); attend claimant deposition (Group 1) (.8); telephone conference and
                               email correspondence regarding deposition testimony (Group 1) (.4); attend
                               claimant deposition (Group 1) (.5); review court order regarding hearing and
                               related correspondence regarding notice to claimants (Group 1) (.2).

                               Claims Administration & Objections

                MR        1.00 Review materials regarding motion to compel (Group 1) (.2); attention to
                               correspondence and telephone conference with J. Wine and K. Duff
                               regarding investor claimant depositions and hearing before Judge Kim (Group
                               1) (.6); telephone conference with SEC (Group 1) (.2).

                               Claims Administration & Objections

    10/27/2021 AW         0.80 Email claimant's counsel regarding update to claimants' discovery folder and
                               access to same (Group 1) (.1); email with J. Wine regarding draft email and
                               email claimants regarding motion to compel and related orders (Group 1)
                               (.1); attention to email exchanges between claimants and related emails to
                               individual claimants (Group 1) (.2); forward correspondence from claimants
                               to K. Duff and J. Wine (Group 1) (.1); review files and communicate with J.
                               Wine regarding discovery responses (Group 1) (.1); review discovery
                               responses and related email to J. Wine (Group 1) (.2).

                               Claims Administration & Objections
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 85 of 164 PageID #:61338
Kevin B. Duff, Receiver                                                                                 Page 23



    Date      Indiv Hours Description

    10/27/2021 JR         1.50 Conduct database research in anticipation of claimant depositions (Group 1)
                               (.8); exchange communication with J. Wine related to completion of project
                               regarding database and communication between claimants and EquityBuild
                               employees (Group 1) (.5); exchange communication with database
                               customer support regarding searches in the database (Group 1) (.2).

                               Claims Administration & Objections

                JRW       8.50 Confer with A. Watychowicz regarding claimant and counsel emails and
                               organization of discovery folders (Group 1) (.4); review claimant
                               correspondence (Group 1) (.1); correspondence with claimants' counsel
                               regarding upcoming depositions (Group 1) (.1); correspondence with SEC
                               and upload documents (Group 1) (.2); confer with J. Rak regarding database
                               searches (all) (.2); appearance in court before Judge Kim on claimants'
                               motion to compel (Group 1) (.6); continued review of discovery materials,
                               proofs of claim and database search results in preparation for upcoming
                               depositions (Group 1) ( 4.9); attend claimant deposition (Group 1) (1.7);
                               telephone conference with SEC (Group 1) (.2); exchange correspondence
                               with court reporter regarding deposition exhibits (Group 1) (.1).

                               Claims Administration & Objections

    10/28/2021 AW         2.80 Communicate with K. Duff regarding response to claimant's request and
                               related email with claimant (defer) (.1); email claimants regarding past and
                               upcoming depositions (Group 1) (.1); respond to claimant's request for claims
                               process information (8326 Ellis, 8834 Ellis; 8342 Ellis; 8352 Ellis) (.1);
                               research regarding claims process, summary proceedings, and related
                               oppositions and related emails and call with K. Duff (sole lien) (1.7); forward
                               correspondence from claimants to K. Duff and J. Wine (Group 1) (.1); review
                               and thorough calculation of claimant's return and related email to J. Wine
                               (Group 1) (.5); update master claims list and claims documents (all) (.2).

                               Claims Administration & Objections

                JRW       8.50 Review documents and prepare for upcoming depositions (Group 1) (4.6);
                               attend claimant deposition (Group 1) (1.2); exchange correspondence with
                               counsel for claimants regarding single claim process (sole lien) (.1);
                               correspondence with accountants regarding holdback for taxes (sole lien)
                               (.2); review and comment on revisions to joint motion (sole lien) (.9);
                               telephone conference with K. Duff regarding depositions (Group 1) (.2);
                               review deposition exhibits and related exchanges of correspondence with
                               claimants' counsel (Group 1) (.3); additional revisions to joint motion to
                               incorporate comments from K. Duff, M. Rachlis and tax advisor (sole lien)
                               (.7); revise Exhibit B to joint motion (sole lien) (.3).

                               Claims Administration & Objections

                KMP       0.20 Review orders for docket citations for draft motion relating to single lien
                               claims and related communications with K. Duff (sole lien).

                               Claims Administration & Objections
  Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 86 of 164 PageID #:61339
   Kevin B. Duff, Receiver                                                                                  Page 24



       Date      Indiv Hours Description


       10/28/2021 MR         0.50 Attention to various issues on draft motion on single claims process and
                                  follow up with J. Wine and K. Duff (sole lien).

                                  Claims Administration & Objections

       10/29/2021 AW         1.00 Attention to voice messages from claimants and related email responses
                                  (Group 1) (.2); attention to documents provided by claimant scheduled for
                                  deposition and related email to J. Wine (Group 1) (.1); follow up with K. Duff
                                  regarding email from claimant (all) (.1);communicate with J. Wine regarding
                                  email traffic and next steps (Group 1) (.2); attention to email regarding
                                  claimants' relation, supplement notes, and related email to J. Wine (Group 1)
                                  (.1); review discovery responses and related email to J. Wine (Group 1) (.3).

                                  Claims Administration & Objections

                   JRW       7.50 Confer with claimants' counsel and document vendor regarding deposition
                                  exhibits and related review of same (Group 1) (.3); finalize draft of joint
                                  motion and exhibit regarding single claim process and related
                                  correspondence to claimants' counsel (sole lien) (.3); continued preparation
                                  for depositions (Group 1)(.6); attend deposition of M. Turzewski (Group 1)
                                  (3.8); telephone conferenceand exchange correspondence with claimants'
                                  counsel regarding deposition and exhibits (Group 1) (.3); review redline of
                                  joint motion from claimants counsel, telephone conference with claimants'
                                  counsel, additional revisions to joint motion, and related correspondence and
                                  investigation regarding City of Chicago liens (sole lien) (.8); attend deposition
                                  (Group 1) (.3); correspondence to claimant regarding court order and
                                  receiver's website (all) (.1); review additional document production from
                                  claimant (Group 1) (.2); correspondence with SEC (Group 1) (.1); telephone
                                  conference with A. Watychowicz regarding distribution of discovery materials
                                  and email distribution list (Group 1) (.2); update list of key facts (Group 1)
                                  (.5).

                                  Claims Administration & Objections

                   MR        0.20 Attention to various revisions and issues on motion regarding sole lien
                                  process and hearing date for same (sole lien).

                                  Claims Administration & Objections


SUBTOTAL:                                                                                  [141.00          33813.00]
   Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 87 of 164 PageID #:61340
    Kevin B. Duff, Receiver                                                                                   Page 25



        Date      Indiv Hours Description

Status Reports

         10/4/2021 KMP        0.70 Begin work on financial exhibits for third quarter status report.

                                   Status Reports

         10/5/2021 KMP        3.70 Begin preparation of financial exhibits for third quarter status report.

                                   Status Reports

         10/6/2021 KMP        2.80 Continue work on financial exhibits for third quarter status report.

                                   Status Reports

         10/13/2021 JRW       1.90 Correspondence to team regarding items needed for third quarter status
                                   report and begin drafting same.

                                   Status Reports

         10/14/2021 KMP       2.60 Work on preparation of financial exhibits for 3Q2021 status report.

                                   Status Reports

         10/15/2021 AW        0.40 Review email traffic in receiver's accounts and related email to J. Wine.

                                   Status Reports

                    JR        1.10 Review 3rd quarter status report requested items from J. Wine and provide
                                   same (6217 Dorchester; 7109 Calumet; 638 Avers; 1102 Bingham) (.9);
                                   communication with J. Wine regarding 3rd quarter status report and provide
                                   requested information (6217 Dorchester; 7109 Calumet Avenue; 638 Avers
                                   Avenue; 1102 Bingham) (.2).

                                   Status Reports

                    JRW       1.80 Exchange correspondence with A. Watychowicz, J. Rak and K. Pritchard
                                   regarding third quarter status report (.3); review exhibits and continue drafting
                                   status report for third quarter 2021 (1.5).

                                   Status Reports

                    KMP       3.10 Continue work on preparation of financial exhibits for 3Q2021 status report
                                   and forward completed exhibits to J. Wine.

                                   Status Reports

        10/18/2021 JR         0.90 Review further emails from J. Wine and provide requested information related
                                   to 3rd quarter status report (6217 Dorchester; 7109 Calumet; 638 Avers;
                                   1102 Bingham) (.8); further communication with J. Wine regarding 3rd status
                                   report (6217 Dorchester; 7109 Calumet; 638 Avers; 1102 Bingham) (.1).

                                   Status Reports

                    JRW       0.40 Confer with J. Rak regarding exhibit to status report (.1); preparation of
                                   exhibit to status report regarding third-quarter sales (.2); exchange
                                   correspondence with counsel in state court action regarding case
   Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 88 of 164 PageID #:61341
    Kevin B. Duff, Receiver                                                                                Page 26



        Date      Indiv Hours Description

                                   update (2450 E 78th) (.1).

                                   Status Reports

        10/21/2021 AW         0.50 Review time entries and detailed email to J. Wine regarding activities that
                                   took place in 3rd quarter relating to claims process.

                                   Status Reports

                    JRW       2.60 Exchange communication with accounting professionals regarding status
                                   report (.1); exchange communications with M. Bruck and A.Porter regarding
                                   status report (.1); continued drafting of third quarter 2021 status report and
                                   related communications with A. Watychowicz (2.4).

                                   Status Reports

        10/22/2021 AW         0.30 Follow up email to J. Wine regarding claims process and communications
                                   with claimants in third quarter.

                                   Status Reports

                    JRW       1.40 Continue working on third quarter status report and related review of exhibits
                                   and correspondence.

                                   Status Reports

        10/25/2021 JRW        1.90 Review redline and further revise third quarter status report to incorporate
                                   comments and information from K. Duff, M. Rachlis, M. Bruck and E. Duff.

                                   Status Reports

                    MR        0.40 Review and comment on draft and follow up regarding same.

                                   Status Reports

        10/28/2021 AEP        0.20 Read correspondence regarding state court litigation, reconcile case
                                   management deadlines with case calendar, and reply to J. Wine (.1); review
                                   draft language of status report regarding state court proceedings and provide
                                   comments to K. Duff (.1).

                                   Status Reports


SUBTOTAL:                                                                                   [ 26.70         5088.00]

Tax Issues

        10/11/2021 KMP        1.10 Review bank records and prepare spreadsheet providing certain property
                                   account details for 2020 in connection with preparation of 2020 tax returns
                                   and forward to accountant (1102 Bingham; 2909 E78th; 3030 E 79th).

                                   Tax Issues
  Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 89 of 164 PageID #:61342
   Kevin B. Duff, Receiver                                                                                  Page 27



       Date      Indiv   Hours Description

       10/13/2021 KMP        0.20 Attention to communications from tax administrator regarding finalization of
                                  QSF 2020 tax return (all).

                                  Tax Issues

       10/14/2021 KMP        0.20 Confer with K. Duff and accountant regarding execution of QSF2020 tax
                                  returns (all).

                                  Tax Issues

       10/25/2021 KMP        0.30 Attention to receipt of tax notice from government agency relating to EB
                                  entity, prepare draft response letter, and forward draftletter to K. Duff for
                                  review.

                                  Tax Issues

       10/27/2021 AW         0.50 Review past emails and time entries and call with K. Pritchard regarding
                                  notices to IRS.

                                  Tax Issues

                   KMP       0.80 Review revised response to tax notice from government agency relating to
                                  EB entity, and related research (.3); communications with K. Duff and A.
                                  Watychowicz relating to tax agency (.2); further revise response and forward
                                  to accountant (.3).

                                  Tax Issues


SUBTOTAL:                                                                                    [ 3.10               434.00]




                                                                                             221.10       $50,709.00
   Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 90 of 164 PageID #:61343
    Kevin B. Duff, Receiver                                                                Page 28




Other Charges

                                      Description

Business Operations

                                      Online research for October 2021                      1,047.32

                                      Photocopies for October 2021                            10.30

                                      FedEx charges for delivery of materials to              82.64
                                      Riverway Title in Houston, TX (1102 Bingham)

                                      Software license fees for October 2021 (Summit         277.41
                                      Hosting, $181.41; Google Suite, $96)



SUBTOTAL:                                                                            [      1,417.67]


Total Other Charges                                                                        $1,417.67




                                    Summary of Activity
                                                                         Hours     Rate
Jodi Wine                                                                94.00   260.00   $24,440.00
Ania Watychowicz                                                         27.70   140.00    $3,878.00
Justyna Rak                                                              45.20   140.00    $6,328.00
Kathleen M. Pritchard                                                    20.30   140.00    $2,842.00
Andrew E. Porter                                                         20.30   390.00    $7,917.00
Ellen Duff                                                                0.20   390.00       $78.00
Michael Rachlis                                                          13.40   390.00    $5,226.00
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 91 of 164 PageID #:61344
Kevin B. Duff, Receiver                                                      Page 29




                                   SUMMARY


              Legal Services                                  $50,709.00
              Other Charges                                    $1,417.67

                 TOTAL DUE                                    $52,126.67
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 92 of 164 PageID #:61345
                                 Rachlis Duff & Peel, LLC
                                      542 South Dearborn Street
                                                                                           tel (312) 733-3950
                                              Suite 900                                    fax (312) 733-3952
                                       Chicago, Illinois 60605




January 25, 2022

Kevin B. Duff, Receiver
c/o Rachlis Duff & Peel, LLC
542 S. Dearborn Street, Suite 900
Chicago, IL 60605




 Re: SEC v. EquityBuild Inc., EquityBuild Finance, LLC, Jerome H.                       Fed. I.D. No. XX-XXXXXXX
     Cohen, and Shaun D. Cohen                                                          Invoice No. 6622140
     No. 18-cv-5587, US Dist. Ct., Northern Dist. of Illinois, Eastern Div.




Legal Fees for the period November 2021                                  $43,593.00

Expenses Disbursed                                                            $789.04


Due this Invoice                                                          $44,382.04
   Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 93 of 164 PageID #:61346
    Kevin B. Duff, Receiver                                                                             Page 2




         Date       Indiv Hours Description

Asset Analysis & Recovery

         11/3/2021 JRW        1.00 Attention to drafting subpoenas and related correspondence to A. Porter.

                                   Asset Analysis & Recovery

                    KMP       0.30 Conferences with J. Wine regarding subpoenas and riders to third parties
                                   and forward related documents to J. Wine.

                                   Asset Analysis & Recovery

         11/17/2021 JRW       0.10 Correspondence from counsel for third party regarding subpoena and
                                   confer with K. Duff regarding same.

                                   Asset Analysis & Recovery

         11/23/2021 AEP       0.50 Review documents produced by third party in response to subpoena and
                                   provide comments to J. Wine regarding scope of subpoena to be served
                                   upon additional third party.

                                   Asset Analysis & Recovery


SUBTOTAL:                                                                                 [ 1.90           523.00]

Asset Disposition

         11/1/2021 JR         6.10 Analysis and reconciliation of settlement statements related to property
                                   accounts (7201 Constance; 7201 Dorchester; 7210 Vernon; 7237 Bennett;
                                   7255 Euclid; 7300 Lawrence; 7301 Stewart; 7442 Calumet; 7450 Luella; 7500
                                   Eggleston; 7508 Essex; 7546 Saginaw; 7549 Essex; 7600 Kingston; 7625
                                   East End; 7635 East End; 7656 Kingston; 7701 Essex; 7712 Euclid; 7748
                                   Essex; 7749 Yates; 7750 Muskegon; 7760 Coles; 7834 Ellis; 7836 South
                                   Shore; 7840 Yates; 7922 Luella; 7925 Kingston; 7927 Essex; 7933 Kingston;
                                   7933 Essex; 7937 Essex; 7943 Essex; 7947 Essex; 7953 Woodlawn; 7957
                                   Marquette; 8000 Justine; 8030 Marquette; 8047 Manistee; 8100 Essex; 8104
                                   Kingston; 8107 Kingston; 8107 Ellis; 816 Marquette; 8201 Kingston; 8209
                                   Ellis; 8214 Ingleside; 8326-58 Ellis; 8346 Constance; 8403 Aberdeen; 8405
                                   Marquette; 8432 Essex; 8517 Vernon; 8529 Rhodes; 8800 Ada; 909 E 50th;
                                   9212 Parnell; 9610 Woodlawn) (5.7); exchange communication with A. Porter
                                   inquiring about lien waiver expense for property and resolution of same (2909
                                   S 78th) (.2); communication with J. Wine providing requested judgment lien
                                   payoff information for various properties (8517 Vernon; 9610 Woodlawn) (.2)

                                   Asset Disposition

         11/2/2021 AEP        0.20 Read e-mail from J. Rak regarding closing statement associated with
                                   conveyance of receivership property, research files and e-mail
                                   communications for additional information, and reply accordingly (638 Avers).


                                   Asset Disposition
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 94 of 164 PageID #:61347
Kevin B. Duff, Receiver                                                                              Page 3



    Date      Indiv Hours Description

    11/2/2021 JR          3.00 Review of property manager lien waivers from sale of property, correspond
                               payment associated with lien waivers to the debits across all settlement
                               statements from sale of properties (1700 Juneway; 4533 Calumet; 5001
                               Drexel; 5450 Indiana; 7749 Yates; 6437 Kenwood; 1414 E 62nd; 8100 Essex;
                               7301 Stewart; 7500 Eggleston; 3030 E 79th; 2909 E 78th; 7549 Essex; 8047
                               Manistee; 1017 W 102nd; 1516 E 85th; 2136 W 83rd; 417 Oglesby; 7922
                               Luella; 7925 Kingston; 7933 Kingston; 8030 Marquette; 8104 Kingston; 8403
                               Aberdeen; 8405 Marquette; 8529 Rhodes; 8800 Ada; 9212 Parnell; 10012
                               LaSalle; 11318 Church; 3213 Throop; 3723 W 68th; 406 E 87th; 61 E 92nd;
                               6554 S Rhodes Avenue; 6825 Indiana; 7210 Vernon; 7712 Euclid; 7953
                               Woodlawn; 8107 Kingston; 8346 Constance; 8432 Essex; 8517 Vernon; 2129
                               W 71st; 9610 Woodlawn; 5437 Laflin; 6759 Indiana; 7300 St Lawrence; 7760
                               Coles; 1401 W 109th; 310 E 50th; 6807 Indiana; 8000 Justine; 8107 Ellis;
                               8209 Ellis; 8214 Ingleside; 5955 Sacramento; 6001 Sacramento; 7026
                               Cornell; 7237 Bennett; 7834 Ellis; 4520 Drexel; 4611 Drexel; 6749 Merrill;
                               7110 Cornell; 1131 E 79th; 6217 Dorchester; 6250 Mozart; 638 Avers; 701 S
                               5th; 7024 Paxton; 7255 Euclid; 3074 Cheltenham; 7625 East End; 7635 East
                               End; 7750 Muskegon; 7201 Constance; 6160 MLK; 2736 W 64th; 4315
                               Michigan; 6355 Talman; 6356 California; 7051 Bennett; 7201 Dorchester;
                               7442 Calumet; 7508 Essex; 7546 Saginaw; 7600 Kingston; 7656 Kingston;
                               7701 Essex; 7748 Essex; 7957 Marquette; 816 Marquette; 8201 Kingston;
                               8326-58 Ellis; 11117 Longwood; 6949 Merrill; 7927-49 Essex; 1422 E 68th;
                               2800 E 81st; 4750 Indiana; 5618 MLK; 6554 Vernon; 7450 Luella; 7840
                               Yates; 431 E 42nd; 1102 Bingham) (2.8); exchange correspondence with A.
                               Porter identifying discrepancies related to lien waivers and settlement
                               statements related to payment for property manager (2909 E 78th) (.2).

                               Asset Disposition

    11/3/2021 JR          1.50 Further analysis and search of lien waiver related to discrepancies for
                               various properties (5955 Sacramento; 6001 Sacramento; 701 S 5th; 7110
                               Cornell) (1.4); exchange communication with K. Pritchard regarding property
                               post-sale reconciliation reports related to final account balances for property
                               (1700 Juneway; 4533 Calumet; 5001 Drexel; 5450 Indiana; 7749 Yates; 6437
                               Kenwood; 1414 E 62nd; 8100 Essex; 7301 Stewart; 7500 Eggleston; 3030 E
                               79th; 2909 E 78th; 7549 Essex; 8047 Manistee; 1017 W 102nd; 1516 E 85th;
                               2136 W 83rd; 417 Oglesby; 7922 Luella; 7925 Kingston; 7933 Kingston; 8030
                               Marquette; 8104 Kingston; 8403 Aberdeen; 8405 Marquette; 8529 Rhodes;
                               8800 Ada; 9212 Parnell; 10012 LaSalle; 11318 Church; 3213 Throop; 3723
                               W 68th; 406 E 87th; 61 E 92nd; 6554 S Rhodes Avenue; 6825 Indiana; 7210
                               Vernon; 7712 Euclid; 7953 Woodlawn; 8107 Kingston; 8346 Constance; 8432
                               Essex; 8517 Vernon; 2129 W 71st; 9610 Woodlawn; 5437 Laflin; 6759
                               Indiana; 7300 St Lawrence; 7760 Coles; 1401 W 109th; 310 E 50th; 6807
                               Indiana; 8000 Justine; 8107 Ellis; 8209 Ellis; 8214 Ingleside; 5955
                               Sacramento; 6001 Sacramento; 7026 Cornell; 7237 Bennett; 7834 Ellis; 4520
                               Drexel; 4611 Drexel; 6749 Merrill; 7110 Cornell; 1131 E 79th; 6217
                               Dorchester; 6250 Mozart; 638 Avers; 701 S 5th; 7024 Paxton; 7255 Euclid;
                               3074 Cheltenham; 7625 East End; 7635 East End; 7750 Muskegon; 7201
                               Constance; 6160 MLK; 2736 W 64th; 4315 Michigan; 6355 Talman; 6356
                               California; 7051 Bennett; 7201 Dorchester; 7442 Calumet; 7508 Essex; 7546
                               Saginaw; 7600 Kingston; 7656 Kingston; 7701 Essex; 7748 Essex; 7957
                               Marquette; 816 Marquette; 8201 Kingston; 8326-58 Ellis; 11117 Longwood;
                               6949 Merrill; 7927-49 Essex; 1422 E 68th; 2800 E 81st; 4750 Indiana; 5618
                               MLK; 6554 Vernon; 7450 Luella; 7840 Yates; 431 E 42nd; 1102 Bingham) (.1).

                               Asset Disposition
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 95 of 164 PageID #:61348
Kevin B. Duff, Receiver                                                                                Page 4



    Date      Indiv Hours Description


    11/3/2021 KMP         0.30 Communicate with J. Rak regarding issues relating to reporting for post-sale
                               funds reconciliation for property and briefly research related email
                               correspondence (2909 E 78th).

                               Asset Disposition

    11/4/2021 MR          0.20 Attention to dismissal ruling on appeal and related conferences (6949
                               Merrill; 7600 Kingston; 7656 Kingston).

                               Asset Disposition

    11/16/2021 AEP        0.30 Teleconference with K. Duff regarding latest developments associated with
                               potential sale of receivership property and strategies for marketing and selling
                               same (7109 S Calumet).

                               Asset Disposition

                JR        4.00 Review, organize and update all files related to property closings (7110
                               Cornell; 7760 Coles; 1102 Bingham; 8214 Ingleside; 6437 Kenwood; 1131 E
                               79th; 8326-58 Ellis; 7840 Yates; 4750 Indiana; 7051 Bennett; 1422 East 68th;
                               7255 Euclid; 6217 Dorchester; single family; 11117 Longwood; 3074
                               Cheltenham 8201 Kingston; 4750 Indiana; 7600 Kingston; 7656 Kingston)
                               (3.4); review email from A. Porter related to a title insurance holdback from
                               closing, further investigate and exchange communication with City of Chicago
                               requesting an update on original releases related to city judgements for
                               property (7748 Essex) (.4); further communication with the title company
                               requesting to provide document and lien information related to release of lien
                               (7748 Essex) (.1); follow up communication with property management
                               requesting direction on owner portal related to post-closing reconciliation and
                               final account statement for property (2736 W 64th) (.1).

                               Asset Disposition

                JRW       0.10 Telephone conference with claimants' counsel regarding credit bid and
                               related correspondence with K. Duff and A. Porter (7109 Calumet).

                               Asset Disposition

    11/17/2021 JR         1.70 Confirm and review settlement statements from all property closings
                               pertaining to funds withheld from closings for payment of various entities
                               (1700 Juneway; 4533 Calumet; 5001 Drexel; 5450 Indiana; 7749 Yates; 6437
                               Kenwood; 1414 E 62nd; 8100 Essex; 7301 Stewart; 7500 Eggleston; 3030 E
                               79th; 2909 E 78th; 7549 Essex; 8047 Manistee; 1017 W 102nd; 1516 E 85th;
                               2136 W 83rd; 417 Oglesby; 7922 Luella; 7925 Kingston; 7933 Kingston; 8030
                               Marquette; 8104 Kingston; 8403 Aberdeen; 8405 Marquette; 8529 Rhodes;
                               8800 Ada; 9212 Parnell; 10012 LaSalle; 11318 Church; 3213 Throop; 3723
                               W 68th; 406 E 87th; 61 E 92nd; 6554 S Rhodes Avenue; 6825 Indiana; 7210
                               Vernon; 7712 Euclid; 7953 Woodlawn; 8107 Kingston; 8346 Constance; 8432
                               Essex; 8517 Vernon; 2129 W 71st; 9610 Woodlawn; 5437 Laflin; 6759
                               Indiana; 7300 St Lawrence; 7760 Coles; 1401 W 109th; 310 E 50th; 6807
                               Indiana; 8000 Justine; 8107 Ellis; 8209 Ellis; 8214 Ingleside; 5955
                               Sacramento; 6001 Sacramento; 7026 Cornell; 7237 Bennett; 7834 Ellis; 4520
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 96 of 164 PageID #:61349
Kevin B. Duff, Receiver                                                                                Page 5



    Date      Indiv Hours Description

                               Drexel; 4611 Drexel; 6749 Merrill; 7110 Cornell; 1131 E 79th; 6217
                               Dorchester; 6250 Mozart; 638 Avers; 701 S 5th; 7024 Paxton; 7255 Euclid;
                               3074 Cheltenham; 7625 East End; 7635 East End; 7750 Muskegon; 7201
                               Constance; 6160 MLK; 2736 W 64th; 4315 Michigan; 6355 Talman; 6356
                               California; 7051 Bennett; 7201 Dorchester; 7442 Calumet; 7508 Essex; 7546
                               Saginaw; 7600 Kingston; 7656 Kingston; 7701 Essex; 7748 Essex; 7957
                               Marquette; 816 Marquette; 8201 Kingston; 8326-58 Ellis; 11117 Longwood;
                               6949 Merrill; 7927-49 Essex; 1422 E 68th; 2800 E 81st; 4750 Indiana; 5618
                               MLK; 6554 Vernon; 7450 Luella; 7840 Yates; 431 E 42nd; 1102 Bingham)
                               (1.5); exchange communication with the title company requesting to provide
                               document and lien information related to release of lien (7748 Essex) (.2).

                               Asset Disposition

    11/17/2021 JRW        0.20 Exchange correspondence with claimants' counsel regarding marketing of
                               property (7109 Calumet) (.1); confer with K. Duff and M. Rachlis regarding
                               sale of property (7109 S Calumet) (.1).

                               Asset Disposition

    11/18/2021 AEP        1.40 Teleconference with J. Rak regarding final reconciliation of all title indemnity
                               holdbacks from closings of all properties (1700 Juneway; 4533 Calumet; 5001
                               Drexel; 5450 Indiana; 7749 Yates; 6437 Kenwood; 1414 E 62nd; 8100 Essex;
                               7301 Stewart; 7500 Eggleston; 3030 E 79th; 2909 E 78th; 7549 Essex; 8047
                               Manistee; 1017 W 102nd; 1516 E 85th; 2136 W 83rd; 417 Oglesby; 7922
                               Luella; 7925 Kingston; 7933 Kingston; 8030 Marquette; 8104 Kingston; 8403
                               Aberdeen; 8405 Marquette; 8529 Rhodes; 8800 Ada; 9212 Parnell; 10012
                               LaSalle; 11318 Church; 3213 Throop; 3723 W 68th; 406 E 87th; 61 E 92nd;
                               6554 S Rhodes Avenue; 6825 Indiana; 7210 Vernon; 7712 Euclid; 7953
                               Woodlawn; 8107 Kingston; 8346 Constance; 8432 Essex; 8517 Vernon; 2129
                               W 71st; 9610 Woodlawn; 5437 Laflin; 6759 Indiana; 7300 St Lawrence; 7760
                               Coles; 1401 W 109th; 310 E 50th; 6807 Indiana; 8000 Justine; 8107 Ellis;
                               8209 Ellis; 8214 Ingleside; 5955 Sacramento; 6001 Sacramento; 7026
                               Cornell; 7237 Bennett; 7834 Ellis; 4520 Drexel; 4611 Drexel; 6749 Merrill;
                               7110 Cornell; 1131 E 79th; 6217 Dorchester; 6250 Mozart; 638 Avers; 701 S
                               5th; 7024 Paxton; 7255 Euclid; 3074 Cheltenham; 7625 East End; 7635 East
                               End; 7750 Muskegon; 7201 Constance; 6160 MLK; 2736 W 64th; 4315
                               Michigan; 6355 Talman; 6356 California; 7051 Bennett; 7201 Dorchester;
                               7442 Calumet; 7508 Essex; 7546 Saginaw; 7600 Kingston; 7656 Kingston;
                               7701 Essex; 7748 Essex; 7957 Marquette; 816 Marquette; 8201 Kingston;
                               8326-58 Ellis; 11117 Longwood; 6949 Merrill; 7927-49 Essex; 1422 E 68th;
                               2800 E 81st; 4750 Indiana; 5618 MLK; 6554 Vernon; 7450 Luella; 7840
                               Yates; 431 E 42nd; 1102 Bingham).

                               Asset Disposition

                JR        1.40 Conference with A. Porter, K. Duff, broker regarding process related to
                               market and sell property (7109 Calumet) (.3); communicate with J. Wine
                               about publication notice, property and status of violations (7109 Calumet)
                               (.2); communication with management requesting financials for 2020, and
                               early 2021 (7109 Calumet) (.1); update reconciliations for properties
                               (1700 Juneway; 4533 Calumet; 5001 Drexel; 5450 Indiana; 7749 Yates;
                               6437 Kenwood; 1414 E 62nd; 8100 Essex; 7301 Stewart; 7500
                               Eggleston; 3030 E 79th; 2909 E 78th; 7549 Essex; 8047 Manistee; 1017
                               W 102nd; 1516 E 85th; 2136 W 83rd; 417 Oglesby; 7922 Luella; 7925
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 97 of 164 PageID #:61350
Kevin B. Duff, Receiver                                                                             Page 6



    Date      Indiv   Hours Description

                               Kingston; 7933 Kingston; 8030 Marquette; 8104 Kingston; 8403 Aberdeen;
                               8405 Marquette; 8529 Rhodes; 8800 Ada; 9212 Parnell; 10012 LaSalle; 11318
                               Church; 3213 Throop; 3723 W 68th; 406 E 87th; 61 E 92nd; 6554 S Rhodes
                               Avenue; 6825 Indiana; 7210 Vernon; 7712 Euclid; 7953 Woodlawn; 8107
                               Kingston; 8346 Constance; 8432 Essex; 8517 Vernon; 2129 W 71st; 9610
                               Woodlawn; 5437 Laflin; 6759 Indiana; 7300 St Lawrence; 7760 Coles; 1401 W
                               109th; 310 E 50th; 6807 Indiana; 8000 Justine; 8107 Ellis; 8209 Ellis; 8214
                               Ingleside; 5955 Sacramento; 6001 Sacramento; 7026 Cornell; 7237 Bennett;
                               7834 Ellis; 4520 Drexel; 4611 Drexel; 6749 Merrill; 7110 Cornell; 1131 E 79th;
                               6217 Dorchester; 6250 Mozart; 638 Avers; 701 S 5th; 7024 Paxton; 7255
                               Euclid; 3074 Cheltenham; 7625 East End; 7635 East End; 7750 Muskegon;
                               7201 Constance; 6160 MLK; 2736 W 64th; 4315 Michigan; 6355 Talman; 6356
                               California; 7051 Bennett; 7201 Dorchester; 7442 Calumet; 7508 Essex; 7546
                               Saginaw; 7600 Kingston; 7656 Kingston; 7701 Essex; 7748 Essex; 7957
                               Marquette; 816 Marquette; 8201 Kingston; 8326-58 Ellis; 11117 Longwood;
                               6949 Merrill; 7927-49 Essex; 1422 E 68th; 2800 E 81st; 4750 Indiana; 5618
                               MLK; 6554 Vernon; 7450 Luella; 7840 Yates; 431 E 42nd; 1102 Bingham) (.8).

                               Asset Disposition

    11/18/2021 JRW        0.80 Draft and place publication notice and related correspondence with broker
                               (7109 Calumet).

                               Asset Disposition

                KMP       3.60 Review bank records and other materials to verify and record proceeds for
                               property sales and refunds for holdbacks (1700 Juneway; 4533 Calumet;
                               5001 Drexel; 5450 Indiana; 7749 Yates; 6437 Kenwood; 1414 E 62nd; 8100
                               Essex; 7301 Stewart; 7500 Eggleston; 3030 E 79th; 2909 E 78th; 7549
                               Essex; 8047 Manistee; 1017 W 102nd; 1516 E 85th; 2136 W 83rd; 417
                               Oglesby; 7922 Luella; 7925 Kingston; 7933 Kingston; 8030 Marquette; 8104
                               Kingston; 8403 Aberdeen; 8405 Marquette; 8529 Rhodes; 8800 Ada; 9212
                               Parnell; 10012 LaSalle; 11318 Church; 3213 Throop; 3723 W 68th; 406 E
                               87th; 61 E 92nd; 6554 S Rhodes Avenue; 6825 Indiana; 7210 Vernon; 7712
                               Euclid; 7953 Woodlawn; 8107 Kingston; 8346 Constance; 8432 Essex; 8517
                               Vernon; 2129 W 71st; 9610 Woodlawn; 5437 Laflin; 6759 Indiana; 7300 St
                               Lawrence; 7760 Coles; 1401 W 109th; 310 E 50th; 6807 Indiana; 8000
                               Justine; 8107 Ellis; 8209 Ellis; 8214 Ingleside; 5955 Sacramento; 6001
                               Sacramento; 7026 Cornell; 7237 Bennett; 7834 Ellis; 4520 Drexel; 4611
                               Drexel; 6749 Merrill; 7110 Cornell; 1131 E 79th; 6217 Dorchester; 6250
                               Mozart; 638 Avers; 701 S 5th; 7024 Paxton; 7255 Euclid; 3074 Cheltenham;
                               7625 East End; 7635 East End; 7750 Muskegon; 7201 Constance; 6160
                               MLK; 2736 W 64th; 4315 Michigan; 6355 Talman; 6356 California; 7051
                               Bennett; 7201 Dorchester; 7442 Calumet; 7508 Essex; 7546 Saginaw; 7600
                               Kingston; 7656 Kingston; 7701 Essex; 7748 Essex; 7957 Marquette; 816
                               Marquette; 8201 Kingston; 8326-58 Ellis; 11117 Longwood; 6949 Merrill;
                               7927-49 Essex; 1422 E 68th; 2800 E 81st; 4750 Indiana; 5618 MLK; 6554
                               Vernon; 7450 Luella; 7840 Yates; 431 E 42nd; 1102 Bingham).

                               Asset Disposition

    11/19/2021 KMP        4.50 Further review of bank records and other materials to verify and record
                               proceeds for property sales and refunds for holdbacks, and related
                               communication with J. Rak (1700 Juneway; 4533 Calumet; 5001 Drexel;
                               5450 Indiana; 7749 Yates; 6437 Kenwood; 1414 E 62nd; 8100 Essex; 7301
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 98 of 164 PageID #:61351
Kevin B. Duff, Receiver                                                                              Page 7



    Date      Indiv Hours Description

                               Stewart; 7500 Eggleston; 3030 E 79th; 2909 E 78th; 7549 Essex; 8047
                               Manistee; 1017 W 102nd; 1516 E 85th; 2136 W 83rd; 417 Oglesby; 7922
                               Luella; 7925 Kingston; 7933 Kingston; 8030 Marquette; 8104 Kingston; 8403
                               Aberdeen; 8405 Marquette; 8529 Rhodes; 8800 Ada; 9212 Parnell; 10012
                               LaSalle; 11318 Church; 3213 Throop; 3723 W 68th; 406 E 87th; 61 E 92nd;
                               6554 S Rhodes Avenue; 6825 Indiana; 7210 Vernon; 7712 Euclid; 7953
                               Woodlawn; 8107 Kingston; 8346 Constance; 8432 Essex; 8517 Vernon; 2129
                               W 71st; 9610 Woodlawn; 5437 Laflin; 6759 Indiana; 7300 St Lawrence; 7760
                               Coles; 1401 W 109th; 310 E 50th; 6807 Indiana; 8000 Justine; 8107 Ellis;
                               8209 Ellis; 8214 Ingleside; 5955 Sacramento; 6001 Sacramento; 7026
                               Cornell; 7237 Bennett; 7834 Ellis; 4520 Drexel; 4611 Drexel; 6749 Merrill;
                               7110 Cornell; 1131 E 79th; 6217 Dorchester; 6250 Mozart; 638 Avers; 701 S
                               5th; 7024 Paxton; 7255 Euclid; 3074 Cheltenham; 7625 East End; 7635 East
                               End; 7750 Muskegon; 7201 Constance; 6160 MLK; 2736 W 64th; 4315
                               Michigan; 6355 Talman; 6356 California; 7051 Bennett; 7201 Dorchester;
                               7442 Calumet; 7508 Essex; 7546 Saginaw; 7600 Kingston; 7656 Kingston;
                               7701 Essex; 7748 Essex; 7957 Marquette; 816 Marquette; 8201 Kingston;
                               8326-58 Ellis; 11117 Longwood; 6949 Merrill; 7927-49 Essex; 1422 E 68th;
                               2800 E 81st; 4750 Indiana; 5618 MLK; 6554 Vernon; 7450 Luella; 7840
                               Yates; 431 E 42nd; 1102 Bingham) (4.3); attention to communication with
                               property manager regarding request for post-sale funding for security door
                               installation, and related review of prior communications (638 Avers) (.2)

                               Asset Disposition

    11/22/2021 JR         2.70 Review email from K. Pritchard requesting updates to post-closing
                               reconciliation (1700 Juneway; 4533 Calumet; 5001 Drexel; 5450 Indiana;
                               7749 Yates; 6437 Kenwood; 1414 E 62nd; 8100 Essex; 7301 Stewart; 7500
                               Eggleston; 3030 E 79th; 2909 E 78th; 7549 Essex; 8047 Manistee; 1017 W
                               102nd; 1516 E 85th; 2136 W 83rd; 417 Oglesby; 7922 Luella; 7925 Kingston;
                               7933 Kingston; 8030 Marquette; 8104 Kingston; 8403 Aberdeen; 8405
                               Marquette; 8529 Rhodes; 8800 Ada; 9212 Parnell; 10012 LaSalle; 11318
                               Church; 3213 Throop; 3723 W 68th; 406 E 87th; 61 E 92nd; 6554 S Rhodes
                               Avenue; 6825 Indiana; 7210 Vernon; 7712 Euclid; 7953 Woodlawn; 8107
                               Kingston; 8346 Constance; 8432 Essex; 8517 Vernon; 2129 W 71st; 9610
                               Woodlawn; 5437 Laflin; 6759 Indiana; 7300 St Lawrence; 7760 Coles; 1401
                               W 109th; 310 E 50th; 6807 Indiana; 8000 Justine; 8107 Ellis; 8209 Ellis; 8214
                               Ingleside; 5955 Sacramento; 6001 Sacramento; 7026 Cornell; 7237 Bennett;
                               7834 Ellis; 4520 Drexel; 4611 Drexel; 6749 Merrill; 7110 Cornell; 1131 E 79th;
                               6217 Dorchester; 6250 Mozart; 638 Avers; 701 S 5th; 7024 Paxton; 7255
                               Euclid; 3074 Cheltenham; 7625 East End; 7635 East End; 7750 Muskegon;
                               7201 Constance; 6160 MLK; 2736 W 64th; 4315 Michigan; 6355 Talman;
                               6356 California; 7051 Bennett; 7201 Dorchester; 7442 Calumet; 7508 Essex;
                               7546 Saginaw; 7600 Kingston; 7656 Kingston; 7701 Essex; 7748 Essex;
                               7957 Marquette; 816 Marquette; 8201 Kingston; 8326-58 Ellis; 11117
                               Longwood; 6949 Merrill; 7927-49 Essex; 1422 E 68th; 2800 E 81st; 4750
                               Indiana; 5618 MLK; 6554 Vernon; 7450 Luella; 7840 Yates; 431 E 42nd; 1102
                               Bingham) (.2); review email from K. Duff requesting buyer purchased
                               properties (7500 Eggleston; 7549 Essex) (.1); review email from
                               management regarding a water bill for sold property, review same (9610
                               Woodlawn) (.3); review property statements, correspondence with K.
                               Pritchard, K. Duff and property management regarding reconciliation of final
                               account balance for property (638 Avers) (2.1).

                               Asset Disposition
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 99 of 164 PageID #:61352
Kevin B. Duff, Receiver                                                                                Page 8



    Date      Indiv Hours Description

    11/22/2021 KMP        1.60 Attention to further communications with property manager regarding post-
                               sale request for funding for security door installation, related review of
                               materials on owner portal relating to post-sale fund reconciliation, related
                               telephone conference with J. Rak, and related communications with K. Duff
                               and A. Porter (638 Avers).

                               Asset Disposition

    11/23/2021 AEP        0.30 Read e-mail from J. Rak regarding settlement statements associated with
                               conveyances of receiverproperties and wire transfer receipts corresponding
                               thereto, analyze all relevant documentation, and prepare response
                               regarding suggested appropriate follow-up action (7549 S Essex; 7500 S
                               Eggleston).

                               Asset Disposition

                JR        2.80 Analyze, update post-closing reconciliation of properties (1700 Juneway;
                               4533 Calumet; 5001 Drexel; 5450 Indiana; 7749 Yates; 6437 Kenwood; 1414
                               E 62nd; 8100 Essex; 7301 Stewart; 7500 Eggleston; 3030 E 79th; 2909 E
                               78th; 7549 Essex; 8047 Manistee; 1017 W 102nd; 1516 E 85th; 2136 W
                               83rd; 417 Oglesby; 7922 Luella; 7925 Kingston; 7933 Kingston; 8030
                               Marquette; 8104 Kingston; 8403 Aberdeen; 8405 Marquette; 8529 Rhodes;
                               8800 Ada; 9212 Parnell; 10012 LaSalle; 11318 Church; 3213 Throop; 3723
                               W 68th; 406 E 87th; 61 E 92nd; 6554 S Rhodes Avenue; 6825 Indiana; 7210
                               Vernon; 7712 Euclid; 7953 Woodlawn; 8107 Kingston; 8346 Constance; 8432
                               Essex; 8517 Vernon; 2129 W 71st; 9610 Woodlawn; 5437 Laflin; 6759
                               Indiana; 7300 St Lawrence; 7760 Coles; 1401 W 109th; 310 E 50th; 6807
                               Indiana; 8000 Justine; 8107 Ellis; 8209 Ellis; 8214 Ingleside; 5955
                               Sacramento; 6001 Sacramento; 7026 Cornell; 7237 Bennett; 7834 Ellis; 4520
                               Drexel; 4611 Drexel; 6749 Merrill; 7110 Cornell; 1131 E 79th; 6217
                               Dorchester; 6250 Mozart; 638 Avers; 701 S 5th; 7024 Paxton; 7255 Euclid;
                               3074 Cheltenham; 7625 East End; 7635 East End; 7750 Muskegon; 7201
                               Constance; 6160 MLK; 2736 W 64th; 4315 Michigan; 6355 Talman; 6356
                               California; 7051 Bennett; 7201 Dorchester; 7442 Calumet; 7508 Essex; 7546
                               Saginaw; 7600 Kingston; 7656 Kingston; 7701 Essex; 7748 Essex; 7957
                               Marquette; 816 Marquette; 8201 Kingston; 8326-58 Ellis; 11117 Longwood;
                               6949 Merrill; 7927-49 Essex; 1422 E 68th; 2800 E 81st; 4750 Indiana; 5618
                               MLK; 6554 Vernon; 7450 Luella; 7840 Yates; 431 E 42nd; 1102 Bingham)
                               (1.9); correspondence with K. Pritchard requesting additional clarification
                               related to post-closing reconciliation for properties (4750 Indiana; 4533
                               Calumet; 5618 MLK) (.2); communication with the title company requesting
                               property information related to post-closing reconciliation (4533Calumet;
                               5618 MLK) (.2); analyze post-sale discrepancies, correspond with
                               A. Porter requesting information for same (7500 Eggleston; 7549 Essex) (.5).

                               Asset Disposition

                JRW       0.20 Correspondence from intervenor's counsel and relatedemail exchange with
                               team regarding motion to convert interlocutory order to final order (6949
                               Merrill; 7600 Kingston; 7656 Kingston).

                               Asset Disposition

                KMP       0.50 Review additional materials regarding issues relating to closings for certain
                               properties and related communications with J. Rak (4750 Indiana; 4533
                               Calumet; 5618 MLK).

                               Asset Disposition
  Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 100 of 164 PageID #:61353
    Kevin B. Duff, Receiver                                                                               Page 9



        Date      Indiv Hours Description


        11/23/2021 MR         0.30 Attention to request for language for final order and related exchanges
                                   (6949 Merrill; 7600 Kingston; 7656 Kingston).

                                   Asset Disposition

        11/24/2021 JRW        0.30 Review motion by intervenor to Designate Interlocutory Order as Final
                                   Judgment and related communications with team (6949 Merrill; 7600
                                   Kingston; 7656 Kingston).

                                   Asset Disposition

                      MR      0.20 Attention to motion for Rule 54b language (6949 Merrill;7600 Kingston;
                                   7658 Kingston).

                                   Asset Disposition

        11/29/2021 KMP        0.50 Communications with J. Rak regarding proceeds from sale of properties
                                   (7500 Eggleston; 7549 Essex) and provide documentation (.2); conferences
                                   with bank representative and J. Rak regarding statements for each property
                                   account for final review of distribution of sale proceeds (all) (.3).

                                   Asset Disposition

        11/30/2021 AEP        0.80 Read, edit, and revise draft purchase and sale contract for conveyance of
                                   receivership property (7109 S Calumet) (.5); teleconference with J. Rak
                                   regarding accounting for sales proceeds following releases of title indemnity
                                   holdbacks (6160 MLK; 8100 Essex) (.3).

                                   Asset Disposition

                      KMP     0.50 Further review of financial documents and follow up communications with J.
                                   Rak regarding distribution of proceeds from sale of properties (6160 MLK;
                                   8100 Essex) (.3); further conferences with bank representative and J. Rak
                                   regarding statements for each property account for final review of distribution
                                   of sale proceeds (all) (.2).

                                   Asset Disposition


SUBTOTAL:                                                                                   [ 40.00          6717.00]

Business Operations

        11/1/2021 JRW         0.30 Exchange correspondence with corporation counsel regarding housing court
                                   order dismissing defendant and update records regarding same (638 Avers)
                                   (.1); review and revise draft motion to intervene (defer) (.1);
                                   correspondence from K. Duff regarding motion to intervene (defer) (.1).

                                   Business Operations
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 101 of 164 PageID #:61354
 Kevin B. Duff, Receiver                                                                                Page 10



     Date        Indiv Hours Description

     11/1/2021 MR          0.20 Attention to proposed order and emails on same associated with state court
                                litigation foreclosure matters (defer).

                                Business Operations

     11/2/2021 AW          1.20 Investigation of EB records (defer).

                                Business Operations

                 KMP       0.40 Review notice, prepare draft notice letter, and related communication
                                with K. Duff (4611 Drexel).

                                Business Operations

     11/3/2021 JR          0.20 Review email from accounting firm requesting endorsement, request same
                                from property insurance company and further exchange communication
                                with E. Duff (4611 Drexel).


                                Business Operations

                 JRW       0.40 Review order regarding default and rescheduled hearing for previously
                                unknown administrative matter and related investigation and correspondence
                                with K. Duff, J. Rak, and corporation counsel (7834 Ellis).

                                Business Operations

                 KMP       0.20 Communicate with property manager regarding collection notice for property
                                utility and related communications with K. Duff (4611Drexel).


                                Business Operations

     11/5/2021 JR          0.20 Exchange communication with account analyst requesting property
                                endorsement (4611 Drexel).

                                Business Operations

                 KMP       1.20 Research regarding provisions for insurance reporting on premium refunds
                                for sold properties, begin preparing spreadsheet to track premium refunds for
                                sold properties, and related communications with K. Duff (1700 Juneway;
                                4533 Calumet; 5001 Drexel; 5450 Indiana; 7749 Yates; 6437 Kenwood; 1414
                                E 62nd; 8100 Essex; 7301 Stewart; 7500 Eggleston; 3030 E 79th; 2909 E
                                78th; 7549 Essex; 8047 Manistee; 1017 W 102nd; 1516 E 85th; 2136 W
                                83rd; 417 Oglesby; 7922 Luella; 7925 Kingston; 7933 Kingston; 8030
                                Marquette; 8104 Kingston; 8403 Aberdeen; 8405 Marquette; 8529 Rhodes;
                                8800 Ada; 9212 Parnell; 10012 LaSalle; 11318 Church; 3213 Throop; 3723
                                W 68th; 406 E 87th; 61 E 92nd; 6554 S Rhodes Avenue; 6825 Indiana; 7210
                                Vernon; 7712 Euclid; 7953 Woodlawn; 8107 Kingston; 8346 Constance; 8432
                                Essex; 8517 Vernon; 2129 W 71st; 9610 Woodlawn; 5437 Laflin; 6759
                                Indiana; 7300 St Lawrence; 7760 Coles; 1401 W 109th; 310 E 50th; 6807
                                Indiana; 8000 Justine; 8107 Ellis; 8209 Ellis; 8214 Ingleside; 5955
                                Sacramento; 6001 Sacramento; 7026 Cornell; 7237 Bennett; 7834 Ellis; 4520
                                Drexel; 4611 Drexel; 6749 Merrill; 7110 Cornell; 1131 E 79th; 6217
                                Dorchester; 6250 Mozart; 638 Avers; 701 S 5th; 7024 Paxton; 7255 Euclid;
                                3074 Cheltenham; 7625 East End; 7635 East End; 7750 Muskegon; 7201
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 102 of 164 PageID #:61355
 Kevin B. Duff, Receiver                                                                                    Page 11



     Date      Indiv Hours Description

                                Constance; 6160 MLK; 2736 W 64th; 4315 Michigan; 6355 Talman; 6356
                                California; 7051 Bennett; 7201 Dorchester; 7442 Calumet; 7508 Essex; 7546
                                Saginaw; 7600 Kingston; 7656 Kingston; 7701 Essex; 7748 Essex; 7957
                                Marquette; 816 Marquette; 8201 Kingston; 8326-58 Ellis; 11117 Longwood;
                                6949 Merrill; 7927-49 Essex; 1422 E 68th; 2800 E 81st; 4750 Indiana; 5618
                                MLK; 6554 Vernon; 7450 Luella; 7840 Yates; 431 E 42nd; 1102 Bingham)
                                (.9); research tracking for delivery of deposit to bank and related
                                conferences with K. Duff and bank representative (7110 Cornell) (.3).

                                Business Operations

     11/5/2021 MR          0.20 Exchanges and attention to issues on state court litigation (2450 E78th).

                                Business Operations

     11/8/2021 AEP         0.40 Attempted communications with counsel for proposed intervenors and
                                proofread, edit, and revise successive drafts of proposed motion for
                                enlargement of time to respond (defer).

                                Business Operations

                 AW        0.80 Draft motion for extension to respond to motion to intervene (defer) (.3);
                                attention to email exchanges regarding revisions and apply requested
                                revisions (defer) (.2); call with J. Wine regarding further revisions (defer) (.1);
                                finalize and file motion for extension (defer) (.2).

                                Business Operations

                 JR        0.60 Exchange communication with property management requesting production
                                of all post-closing reconciliation final account balance statements to reconcile
                                post-closing expenses for all closed properties and related communication
                                with E. Duff (1700 Juneway; 4533 Calumet; 5001 Drexel; 5450 Indiana; 7749
                                Yates; 6437 Kenwood; 1414 E 62nd; 8100 Essex; 7301 Stewart; 7500
                                Eggleston; 3030 E 79th; 2909 E 78th; 7549 Essex; 8047 Manistee; 1017 W
                                102nd; 1516 E 85th; 2136 W 83rd; 417 Oglesby; 7922 Luella; 7925 Kingston;
                                7933 Kingston; 8030 Marquette; 8104 Kingston; 8403 Aberdeen; 8405
                                Marquette; 8529 Rhodes; 8800 Ada; 9212 Parnell; 10012 LaSalle; 11318
                                Church; 3213 Throop; 3723 W 68th; 406 E 87th; 61 E 92nd; 6554 S Rhodes
                                Avenue; 6825 Indiana; 7210 Vernon; 7712 Euclid; 7953 Woodlawn; 8107
                                Kingston; 8346 Constance; 8432 Essex; 8517 Vernon; 2129 W 71st; 9610
                                Woodlawn; 5437 Laflin; 6759 Indiana; 7300 St Lawrence; 7760 Coles; 1401
                                W 109th; 310 E 50th; 6807 Indiana; 8000 Justine; 8107 Ellis; 8209 Ellis; 8214
                                Ingleside; 5955 Sacramento; 6001 Sacramento; 7026 Cornell; 7237 Bennett;
                                7834 Ellis; 4520 Drexel; 4611 Drexel; 6749 Merrill; 7110 Cornell; 1131 E
                                79th; 6217 Dorchester; 6250 Mozart; 638 Avers; 701 S 5th; 7024 Paxton;
                                7255 Euclid; 3074 Cheltenham; 7625 East End; 7635 East End; 7750
                                Muskegon; 7201 Constance; 6160 MLK; 2736 W 64th; 4315 Michigan; 6355
                                Talman; 6356 California; 7051 Bennett; 7201 Dorchester; 7442 Calumet;
                                7508 Essex; 7546 Saginaw; 7600 Kingston; 7656 Kingston; 7701 Essex;
                                7748 Essex; 7957 Marquette; 816 Marquette; 8201 Kingston; 8326-58 Ellis;
                                11117 Longwood; 6949 Merrill; 7927-49 Essex; 1422 E 68th; 2800 E 81st;
                                4750 Indiana; 5618 MLK; 6554 Vernon; 7450 Luella; 7840 Yates; 431 E
                                42nd; 1102 Bingham) (.5); correspondence with account analyst requesting
                                endorsement for property (4611Drexel) (.1).

                                Business Operations
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 103 of 164 PageID #:61356
 Kevin B. Duff, Receiver                                                                               Page 12



     Date      Indiv Hours Description


     11/8/2021 JRW         0.50 Review and revise motion for extension of time to respond to motion to
                                intervene and related correspondence with K. Duff and A. Porter (defer).

                                Business Operations

                 KMP       0.20 Follow up with bank representative and K. Duff regarding deposit (7110
                                Cornell).

                                Business Operations

                 MR        0.30 Attention to various issues on reply to intervenor motion (defer).

                                Business Operations

     11/9/2021 KMP         0.20 Follow up with K. Duff and J. Wine regarding deposit, and related efforts to
                                reach insurer (7110 Cornell).


                                Business Operations

     11/10/2021 JR         0.30 Review email from K. Pritchard requesting information related to property
                                insurance premium refunds, further communicate with E. Duff regarding
                                same (1700 Juneway; 4533 Calumet; 5001 Drexel; 5450 Indiana; 7749 Yates;
                                6437 Kenwood; 1414 E 62nd; 8100 Essex; 7301 Stewart; 7500 Eggleston;
                                3030 E 79th; 2909 E 78th; 7549 Essex; 8047 Manistee; 1017 W 102nd; 1516
                                E 85th; 2136 W 83rd; 417 Oglesby; 7922 Luella; 7925 Kingston; 7933
                                Kingston; 8030 Marquette; 8104 Kingston; 8403 Aberdeen; 8405 Marquette;
                                8529 Rhodes; 8800 Ada; 9212 Parnell; 10012 LaSalle; 11318 Church; 3213
                                Throop; 3723 W 68th; 406 E 87th; 61 E 92nd; 6554 S Rhodes Avenue; 6825
                                Indiana; 7210 Vernon; 7712 Euclid; 7953 Woodlawn; 8107 Kingston; 8346
                                Constance; 8432 Essex; 8517 Vernon; 2129 W 71st; 9610 Woodlawn; 5437
                                Laflin; 6759 Indiana; 7300 St Lawrence; 7760 Coles; 1401 W 109th; 310 E
                                50th; 6807 Indiana; 8000 Justine; 8107 Ellis; 8209 Ellis; 8214 Ingleside; 5955
                                Sacramento; 6001 Sacramento; 7026 Cornell; 7237 Bennett; 7834 Ellis; 4520
                                Drexel; 4611 Drexel; 6749 Merrill; 7110 Cornell; 1131 E 79th; 6217
                                Dorchester; 6250 Mozart; 638 Avers; 701 S 5th; 7024 Paxton; 7255 Euclid;
                                3074 Cheltenham; 7625 East End; 7635 East End; 7750 Muskegon; 7201
                                Constance; 6160 MLK; 2736 W 64th; 4315 Michigan; 6355 Talman; 6356
                                California; 7051 Bennett; 7201 Dorchester; 7442 Calumet; 7508 Essex; 7546
                                Saginaw; 7600 Kingston; 7656 Kingston; 7701 Essex; 7748 Essex; 7957
                                Marquette; 816 Marquette; 8201 Kingston; 8326-58 Ellis; 11117 Longwood;
                                6949 Merrill; 7927-49 Essex; 1422 E 68th; 2800 E 81st; 4750 Indiana; 5618
                                MLK; 6554 Vernon; 7450 Luella; 7840 Yates; 431 E 42nd; 1102 Bingham).

                                Business Operations

                 KMP       0.40 Conference with insurance company representative regarding claim check,
                                and related follow up with K. Duff and J. Wine (7110 S Cornell) (.2);
                                communications with K. Duff and J. Rak regarding efforts to obtain
                                information from insurance broker relating to refunds for coverage related to
                                sold properties (1700 Juneway; 4533 Calumet; 5001 Drexel; 5450 Indiana;
                                7749 Yates; 6437 Kenwood; 1414 E 62nd; 8100 Essex; 7301 Stewart; 7500
                                Eggleston; 3030 E 79th; 2909 E 78th; 7549 Essex; 8047 Manistee; 1017 W
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 104 of 164 PageID #:61357
 Kevin B. Duff, Receiver                                                                                   Page 13



     Date      Indiv Hours Description

                                102nd; 1516 E 85th; 2136 W 83rd; 417 Oglesby; 7922 Luella; 7925 Kingston;
                                7933 Kingston; 8030 Marquette; 8104 Kingston; 8403 Aberdeen; 8405 Marquette;
                                8529 Rhodes; 8800 Ada; 9212 Parnell; 10012 LaSalle; 11318 Church; 3213
                                Throop; 3723 W 68th; 406 E 87th; 61 E 92nd; 6554 S Rhodes Avenue; 6825
                                Indiana; 7210 Vernon; 7712 Euclid; 7953 Woodlawn; 8107 Kingston; 8346
                                Constance; 8432 Essex; 8517 Vernon; 2129 W 71st; 9610 Woodlawn; 5437
                                Laflin; 6759 Indiana; 7300 St Lawrence; 7760 Coles; 1401 W 109th; 310 E 50th;
                                6807 Indiana; 8000 Justine; 8107 Ellis; 8209 Ellis; 8214 Ingleside; 5955
                                Sacramento; 6001 Sacramento; 7026 Cornell; 7237 Bennett; 7834 Ellis; 4520
                                Drexel; 4611 Drexel; 6749 Merrill; 7110 Cornell; 1131 E 79th; 6217 Dorchester;
                                6250 Mozart; 638 Avers; 701 S 5th; 7024 Paxton; 7255 Euclid; 3074 Cheltenham;
                                7625 East End; 7635 East End; 7750 Muskegon; 7201 Constance; 6160 MLK;
                                2736 W 64th; 4315 Michigan; 6355 Talman; 6356 California; 7051 Bennett; 7201
                                Dorchester; 7442 Calumet; 7508 Essex; 7546 Saginaw; 7600 Kingston; 7656
                                Kingston; 7701 Essex; 7748 Essex; 7957 Marquette; 816 Marquette; 8201
                                Kingston; 8326-58 Ellis; 11117 Longwood; 6949 Merrill; 7927-49 Essex; 1422 E
                                68th; 2800 E 81st; 4750 Indiana; 5618 MLK; 6554 Vernon; 7450 Luella; 7840
                                Yates; 431 E 42nd; 1102 Bingham) (.2).

                                Business Operations

     11/11/2021 JRW        0.20 Exchange correspondence with K. Duff, K. Pritchard and property manager
                                regarding gas bill (4611 Drexel).

                                Business Operations

                 KMP       0.60 Communications with insurance broker to obtain information relating to
                                refunds for coverage related to sold properties (1700 Juneway; 4533
                                Calumet; 5001 Drexel; 5450 Indiana; 7749 Yates; 6437 Kenwood; 1414
                                E 62nd; 8100 Essex; 7301 Stewart; 7500 Eggleston; 3030 E 79th; 2909 E
                                78th; 7549 Essex; 8047 Manistee; 1017 W 102nd; 1516 E 85th; 2136 W
                                83rd; 417 Oglesby; 7922 Luella; 7925 Kingston; 7933 Kingston; 8030
                                Marquette; 8104 Kingston; 8403 Aberdeen; 8405 Marquette; 8529 Rhodes;
                                8800 Ada; 9212 Parnell; 10012 LaSalle; 11318 Church; 3213 Throop; 3723
                                W 68th; 406 E 87th; 61 E 92nd; 6554 S Rhodes Avenue; 6825 Indiana; 7210
                                Vernon; 7712 Euclid; 7953 Woodlawn; 8107 Kingston; 8346 Constance; 8432
                                Essex; 8517 Vernon; 2129 W 71st; 9610 Woodlawn; 5437 Laflin; 6759
                                Indiana; 7300 St Lawrence; 7760 Coles; 1401 W 109th; 310 E 50th; 6807
                                Indiana; 8000 Justine; 8107 Ellis; 8209 Ellis; 8214 Ingleside; 5955
                                Sacramento; 6001 Sacramento; 7026 Cornell; 7237 Bennett; 7834 Ellis; 4520
                                Drexel; 4611 Drexel; 6749 Merrill; 7110 Cornell; 1131 E 79th; 6217
                                Dorchester; 6250 Mozart; 638 Avers; 701 S 5th; 7024 Paxton; 7255 Euclid;
                                3074 Cheltenham; 7625 East End; 7635 East End; 7750 Muskegon; 7201
                                Constance; 6160 MLK; 2736 W 64th; 4315 Michigan; 6355 Talman; 6356
                                California; 7051 Bennett; 7201 Dorchester; 7442 Calumet; 7508 Essex; 7546
                                Saginaw; 7600 Kingston; 7656 Kingston; 7701 Essex; 7748 Essex; 7957
                                Marquette; 816 Marquette; 8201 Kingston; 8326-58 Ellis; 11117 Longwood;
                                6949 Merrill; 7927-49 Essex; 1422 E 68th; 2800 E 81st; 4750 Indiana; 5618
                                MLK; 6554 Vernon; 7450 Luella; 7840 Yates; 431 E 42nd; 1102 Bingham)
                                (.2); communications with property manager regarding details relating to
                                utility collection notice from creditor, revise draft notice letter to creditor, and
                                related communications with K. Duff (4611 Drexel) (.4).

                                Business Operations
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 105 of 164 PageID #:61358
 Kevin B. Duff, Receiver                                                                                 Page 14



     Date      Indiv Hours Description


     11/15/2021 AEP        0.30 Read correspondence from counsel for prospective intervenor and revise
                                proposed stipulation and order regarding limited lift of automatic stay (defer).

                                Business Operations

                 JRW       0.40 Review administrative court orders, update records, and related
                                correspondence to corporation counsel (4750 Indiana, 7834 Ellis)(.3);
                                telephone conference with corporation counsel regarding administrative
                                court orders (4750 Indiana, 7834 Ellis) (.1).

                                Business Operations

     11/16/2021 AW         0.20 Attention to civil lawsuit, review complaint, and related communication with J.
                                Wine (4533 Calumet).

                                Business Operations

                 JRW       1.00 Review state court complaint and property manager records and related
                                correspondence with K. Duff and K. Pritchard (4533 Calumet).

                                Business Operations

                 KMP       0.80 Review complaint relating to EB property, prepare draft letter providing notice
                                of appointment of receiver, and related communications with J. Wine (4533
                                Calumet) (.6); communication with insurance broker to confirm property
                                manager as additional named insured on property policies (7109 Calumet)
                                (.2).

                                Business Operations

     11/17/2021 KMP        0.20 Attention to notice from bank regarding check for insurance claim and related
                                communications with K. Duff and J. Wine (3074 Cheltenham).

                                Business Operations

     11/18/2021 AW         0.40 Research regarding entered stipulations (4533 Calumet).

                                Business Operations

                 JRW       1.10 Exchange correspondence with K. Duff regarding new state court matter and
                                related review of stipulated orders regarding prior cases (4533 Calumet) (.5);
                                draft notice letter to plaintiff's counsel (4533 S Calumet) (.4);
                                correspondence to insurance broker regarding state court complaint (4533
                                Calumet) (.1); exchange correspondence with plaintiff's counsel (4533
                                Calumet) (.1).

                                Business Operations

                 KMP       0.30 Revise and finalize response and notice letter relating to personal injury
                                complaint, prepare transmittal, and related communication with J. Wine (4533
                                Calumet).

                                Business Operations
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 106 of 164 PageID #:61359
 Kevin B. Duff, Receiver                                                                               Page 15



     Date      Indiv Hours Description


     11/18/2021 MR         0.20 Attention to state court suit and related issues (4533 Calumet).

                                Business Operations

     11/19/2021 JR         1.80 Review and update property reconciliation report and forward same to A.
                                Porter (1700 Juneway; 4533 Calumet; 5001 Drexel; 5450 Indiana; 7749
                                Yates; 6437 Kenwood; 1414 E 62nd; 8100 Essex; 7301 Stewart; 7500
                                Eggleston; 3030 E 79th; 2909 E 78th; 7549 Essex; 8047 Manistee; 1017 W
                                102nd; 1516 E 85th; 2136 W 83rd; 417 Oglesby; 7922 Luella; 7925 Kingston;
                                7933 Kingston; 8030 Marquette; 8104 Kingston; 8403 Aberdeen; 8405
                                Marquette; 8529 Rhodes; 8800 Ada; 9212 Parnell; 10012 LaSalle; 11318
                                Church; 3213 Throop; 3723 W 68th; 406 E 87th; 61 E 92nd; 6554 S Rhodes
                                Avenue; 6825 Indiana; 7210 Vernon; 7712 Euclid; 7953 Woodlawn; 8107
                                Kingston; 8346 Constance; 8432 Essex; 8517 Vernon; 2129 W 71st; 9610
                                Woodlawn; 5437 Laflin; 6759 Indiana; 7300 St Lawrence; 7760 Coles; 1401
                                W 109th; 310 E 50th; 6807 Indiana; 8000 Justine; 8107 Ellis; 8209 Ellis; 8214
                                Ingleside; 5955 Sacramento; 6001 Sacramento; 7026 Cornell; 7237 Bennett;
                                7834 Ellis; 4520 Drexel; 4611 Drexel; 6749 Merrill; 7110 Cornell; 1131 E 79th;
                                6217 Dorchester; 6250 Mozart; 638 Avers; 701 S 5th; 7024 Paxton; 7255
                                Euclid; 3074 Cheltenham; 7625 East End; 7635 East End; 7750 Muskegon;
                                7201 Constance; 6160 MLK; 2736 W 64th; 4315 Michigan; 6355 Talman;
                                6356 California; 7051 Bennett; 7201 Dorchester; 7442 Calumet; 7508 Essex;
                                7546 Saginaw; 7600 Kingston; 7656 Kingston; 7701 Essex; 7748 Essex;
                                7957 Marquette; 816 Marquette; 8201 Kingston; 8326-58 Ellis; 11117
                                Longwood; 6949 Merrill; 7927-49 Essex; 1422 E 68th; 2800 E 81st; 4750
                                Indiana; 5618 MLK; 6554 Vernon; 7450 Luella; 7840 Yates; 431 E 42nd; 1102
                                Bingham).

                                Business Operations

                 JRW       0.60 Study prior stipulations and orders regarding relief from stay in connection
                                with new state court lawsuit (4533 Calumet) (.4); telephone conference
                                with plaintiff's counsel regarding state court matter (4533 Calumet) (.2).

                                Business Operations

     11/21/2021 AEP        0.20 Read e-mail from counsel for putative intervenors regarding resistance to
                                execution of proposed stipulation, communications with K. Duff regarding
                                same, and prepare response to counsel for putative intervenors (defer).

                                Business Operations

                 MR        1.30 Attention to various emails and work on draft response to intervenor motion
                                regarding foreclosure properties (defer).

                                Business Operations

     11/22/2021 AEP        0.40 Read, edit, and revise latest draft of memorandum in opposition to motion to
                                intervene (defer).

                                Business Operations
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 107 of 164 PageID #:61360
 Kevin B. Duff, Receiver                                                                                 Page 16



     Date      Indiv Hours Description


     11/22/2021 AW         0.50 Proofread opposition to motion to intervene, email exchanges regarding
                                proposed revisions, finalize and file motion (defer).

                                Business Operations

                 MR        0.60 Further review and comments on opposition brief on intervenor issue (defer).

                                Business Operations

     11/23/2021 JRW        0.50 Confer with K. Pritchard regarding settlement payment and related
                                correspondence to plaintiff's counsel (7110 Cornell) (.2); telephone
                                conference with insurance agent and follow-up email to K. Duff and M.
                                Rachlis (4533 Calumet) (.3).

                                Business Operations

                 MR        0.50 Attention to issues on stipulation for issues on foreclosure action and
                                conference regarding same (defer) (.4); attention to issues and status on
                                state court matter (4533 Calumet) (.1).

                                Business Operations

     11/24/2021 AEP        0.30 Read and revise latest draft of proposed stipulation and order resolving
                                motion to intervene (defer).

                                Business Operations

                 JR        1.10 Follow up correspondence with account analyst requesting update on
                                property endorsement (4611 Drexel)(.1); exchange correspondence with
                                K. Pritchard regarding a reconciliation discrepancy related to net
                                proceeds for various properties, review bank statements, request for
                                additional bank statements regarding same (7500Eggleston; 7549 Essex)
                                (.8); review email from A. Porter regarding post-closing title company
                                holdbacks related to properties and respond accordingly (5618 MLK; 4533
                                Calumet; 7748 Essex) (.2).

                                Business Operations

                 JRW       0.40 Exchange correspondence with property manager regarding personal
                                injury complaint and document retention (4533 Calumet) (.2); telephone
                                conference with insurance adjuster regarding coverage for new claim
                                (4533 Calumet) (.2).

                                Business Operations

                 MR        0.50 Further attention to stipulation and follow up regarding same (defer).

                                Business Operations

     11/29/2021 JR         3.30 Review bank statements related to post-closing reconciliation for property and
                                further communicate with A. Porter and K. Pritchard regarding post-closing
                                refund from the title company (6160 MLK) (.6); further review of settlement
                                statements related to net proceeds regarding post-closing reconciliation
  Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 108 of 164 PageID #:61361
    Kevin B. Duff, Receiver                                                                              Page 17



        Date      Indiv Hours Description

                                   and communicate with K. Pritchard regarding net proceeds discrepancies
                                   (7500 Eggleston; 7549 Essex) (1.4); access bank account statements portal
                                   and begin a preliminary review of account statements (all) (.8); further
                                   communication with K. Pritchard relating to issues regarding merging of
                                   account statements for all property accounts (all) (.2); review email from A.
                                   Porter related to title company holdback and sale of property (7748 Essex)
                                   (.2); follow up correspondence with account analyst requesting property
                                   endorsement (4611 Drexel) (.1).

                                   Business Operations

        11/30/2021 JR         1.20 Review bank statements and holdbacks for various properties, reconcile and
                                   exchange further communication with A. Porter and K. Pritchard (7748 Essex;
                                   6160 MLK; 7500 Eggleston).

                                   Business Operations

                      KMP     0.20 Telephone conference with utility company regarding past due invoice and
                                   anticipated motion for court approval to pay same from sale proceeds, and
                                   related communication with K. Duff (1401 W 109th) (.2).

                                   Business Operations


SUBTOTAL:                                                                                  [ 27.30         5820.00]

Case Administration

        11/1/2021 AW          0.20 Attention to filed motion to determine claims process for single claim
                                   properties and related order, share with team, and update docket (sole lien).

                                   Case Administration

        11/2/2021 AW          0.60 Prepare update to web page and related email to IT specialist (defer) (.5);
                                   attention to order granting motion regarding expert discovery and share with
                                   team (Group 1) (.1).

                                   Case Administration

        11/4/2021 AW          0.40 Prepare pleadings and request upload of pleadings to web page (defer).

                                   Case Administration

        11/16/2021 AW         1.00 Prepare update to web page and related email exchange with IT consultant
                                   (defer) (.9); attention to order resetting hearing and email counsel and IT
                                   consultant (sole lien) (.1).

                                   Case Administration

        11/19/2021 AW         0.20 Attention to entered orders and update docket (Group 1; sole lien).

                                   Case Administration
  Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 109 of 164 PageID #:61362
    Kevin B. Duff, Receiver                                                                              Page 18



         Date     Indiv   Hours Description

         11/22/2021 AW        0.30 Attention to entered orders modifying schedule and regarding expert
                                   depositions and update docket (Group 1).

                                   Case Administration

         11/24/2021 AW        0.20 Attention to motion to designate order as final judgment (6949 Merrill; 7600
                                   Kingston; 7656 Kingston) and update docket (.1); attention to entered order
                                   granting extension and update docket (all) (.1).

                                   Case Administration

         11/30/2021 AW        0.20 Attention to entered briefing schedule and update docket (6949 Merrill; 7600
                                   Kingston; 7656 Kingston) (.1); attention to entered orders and email counsel
                                   (sole lien; Group 1) (.1).

                                   Case Administration


SUBTOTAL:                                                                                  [ 3.10            434.00]

Claims Administration & Objections

         11/1/2021 AEP        0.40 Teleconference with J. Wine regarding deposition and future depositions
                                   associated with resolution of Group 1 claims (Group 1).

                                   Claims Administration & Objections

                    AW        0.40 Compare filed motion and exhibits with approved drafts and related email to
                                   J. Wine (sole lien) (.2); research previous correspondence with claimant,
                                   check for appearance on file, and related email to K. Duff (6437 Kenwood;
                                   7749 Yates) (.2).

                                   Claims Administration & Objections

                    JRW       1.60 Exchange correspondence with A. Porter and J. Rak regarding City of
                                   Chicago claim (9610 Woodlawn; 8517 Vernon) (.2); attention to claimant
                                   inquiries (all) (.3); exchange correspondence with claimants' counsel
                                   regarding service of process on investor lender (Group 1) (.1);
                                   correspondence with claimants' counsel regarding deposition (Group 1) (.1);
                                   confer with A. Porter regarding upcoming deposition (Group 1) (.4);
                                   exchange correspondence with K. Duff and A. Watychowicz regarding Group
                                   1 distribution list (Group 1) (.1); exchange correspondence to claimants'
                                   counsel regarding City of Chicago claim (9610 Woodlawn; 8517 Vernon) (.1);
                                   review motion for leave to retain expert and related correspondence with K.
                                   Duff and M. Rachlis (Group 1) (.3).

                                   Claims Administration & Objections

                    MR        0.50 Attention to motion regarding expert issues and related communications
                                   (Group 1) (.4); attention to order and exchanges regardingclaim process
                                   (sole lien) (.1).

                                   Claims Administration & Objections
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 110 of 164 PageID #:61363
 Kevin B. Duff, Receiver                                                                               Page 19



     Date      Indiv Hours Description

     11/2/2021 AW          1.40 Communicate with K. Duff and J. Wine regarding responses to status report
                                email (all) (.2); email claimant regarding his representation statement (6437
                                Kenwood; 7749 Yates) (.1); research claim, confirm receipt of supporting
                                document and update email (7749 Yates)(.2); further research regarding
                                signing parties and related email to K. Duff and J. Wine (7749 Yates) (.2);
                                respond to claimant regarding sale proceeds (all) (.1); respond to claimant's
                                voice message (7748 Essex; 7927 Essex) (.1); respond to claimants
                                requesting updates (8100 Essex) (.2); review transcripts for expert discovery
                                references and related email to team (Group1) (.3).

                                Claims Administration & Objections

                 JRW       4.20 Additional correspondence with M. Rachlis regarding motion to retain expert
                                (Group 1) (.2); correspondence with Magistrate Judge Kim, claimants'
                                counsel and SEC regarding potential settlement of claims and related email
                                exchange with K. Duff (Group 1) (.3); final preparation for deposition and
                                related review of second amended privilege log (Group 1) (.6); attend
                                deposition (Group 1) (2.9); correspondence with claimants' counsel
                                regarding privilege log and discovery of title insurance claim (Group 1) (.1);
                                exchange correspondence with (Group 1) (.1).

                                Claims Administration & Objections

                 MR        0.50 Attention to possible response to motion, and related review and follow up
                                with K. Duff and J. Wine (.3); attention to outreach from magistrate and
                                related follow up (Group 1) (.2).

                                Claims Administration & Objections

     11/3/2021 AW          0.20 Email response to claimant's inquiry (6437 Kenwood; 7749Yates) (.1);
                                follow up with J. Wine regarding claimant's email (Group 1) (.1).

                                Claims Administration & Objections

                 JRW       4.40 Prepare for upcoming deposition and related exchanges with counsel and A.
                                Watychowicz regarding deposition exhibits (Group 1) (.8); attend deposition
                                (Group 1) (3.0); telephone conferences with claimants' counsel and K. Duff
                                regarding depositions (Group 1) (.3); attention to vendor invoice (all) (.1);
                                confer with A. Watychowicz regarding deposition transcripts and exhibits
                                (Group 1) (.1); email exchange with claimants’ counsel and SEC regarding
                                discovery (Group 1) (.1).

                                Claims Administration & Objections

     11/4/2021 AEP         0.80 Teleconference with team regarding legal and factual issues associated with
                                litigation of priority dispute (Group 1).

                                Claims Administration & Objections
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 111 of 164 PageID #:61364
 Kevin B. Duff, Receiver                                                                               Page 20



     Date      Indiv Hours Description


     11/4/2021 AW          0.30 Attention to voice message from claimant and respond by email (all) (.2);
                                correspond with J. Wine regarding claimants' documents and pending
                                response (Group 1) (.1).

                                Claims Administration & Objections

                 JR        0.70 Conference call with M. Rachlis, K. Duff, J. Wine, A. Porter, K. Pritchard and
                                A. Watychowicz related to claim status and discussion of methodologies of
                                navigating through same (all).

                                Claims Administration & Objections

                 JRW       1.90 Conference call with A. Porter, K. Duff, M. Rachlis and A. Watychowicz
                                regarding deposition testimony and potential further discovery (Group 1) (.8);
                                conference call with claimants' counsel and SEC regarding fact and expert
                                discovery (Group 1) (.6); telephone conference with K. Duff regarding claims
                                issues strategy and planning (Group 1) (.2); review deposition transcripts and
                                exhibits (Group 1)(.3).

                                Claims Administration & Objections

                 MR        0.80 Conferences on various discovery issues (Group 1).

                                Claims Administration & Objections

     11/5/2021 AW          0.80 Attention to correspondence between claimants and related email with J.
                                Wine (Group 1) (.1); attention to shared files and confirm receipt (Group 1)
                                (.1); communicate with K. Duff and J. Wine regarding priority issues and
                                related email to claimant (Group 1) (.1); review claims, follow up with J. Wine
                                regarding rollover issue, and related correspondence to claimant (4611
                                Drexel, SSDF4) (.3); review claim and related email with K. Duff and J. Wine
                                (2909 E 78th; 7549 Essex; 8047 Manistee) (.2).


                                Claims Administration & Objections

                 JRW       0.40 Exchange correspondence with claimants' counsel regarding supplemental
                                document productions from claimants (Group 1) (.2); attention to claimant
                                inquiries (all) (.2).

                                Claims Administration & Objections

     11/7/2021 MR          0.90 Attention to various drafts of motion to modify schedule and related follow up
                                (Group 1).

                                Claims Administration & Objections

     11/8/2021 AW          1.30 Respond to follow up from claimant regarding claims process and timing
                                (8100 Essex) (.1); attention to numerous deposition transcripts and
                                deposition exhibits received from both court reporter and counsel and related
                                email to J. Wine (Group 1) (.6); communicate with K. Duff regarding timing
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 112 of 164 PageID #:61365
 Kevin B. Duff, Receiver                                                                                 Page 21



     Date        Indiv Hours Description

                                and related email to claimant (all) (.1); review claim and related email to
                                K. Duff (1131 E 79th; 2909 E 78th; 7549 Essex; 8047 Manistee) (.3);
                                research email to claimants regarding property and related email to K.
                                Duff (8047 Manistee) (.2).

                                Claims Administration & Objections

     11/8/2021 JRW         0.90 Review correspondence and various revisions of draft Motion to Modify Group
                                1 Schedule (Group 1) (.6); exchange correspondence with A. Watychowicz
                                regarding deposition exhibits (Group 1) (.1); attention to claimant inquiries
                                (all) (.2).

                                Claims Administration & Objections

                 MR        1.20 Attention to various issues on revisions on schedule, related communications
                                with K, Duff, J. Wine and others, and related conferences with K. Duff (Group
                                1).

                                Claims Administration & Objections

     11/9/2021 JRW         0.30 Correspondence with claimants' counsel, SEC, and M. Rachlis and review
                                meeting summary regarding motion to modify schedule (Group 1).


                                Claims Administration & Objections

                 MR        0.90 Attention to issues on motion in preparation for call with various counsel and
                                participate in call (Group 1) (.7); follow up with K. Duff and J. Wine related to
                                motion to modify schedule and communications with counsel (Group 1) (.2).

                                Claims Administration & Objections

     11/10/2021 AW         0.60 Attention to documents from claimant and email exchange with J.Wine
                                regarding saved discovery documents (Group 1) (.2); update claimant's
                                emailing information (Group 1) (.1); further review of claim and email
                                exchanges with J. Wine regarding potential correction (2909 E 78th; 7549
                                Essex; 8047 Manistee; 1131 E 79th) (.2); attention to deposition transcript
                                and signature page (Group 1) (.1).

                                Claims Administration & Objections

                 JRW       3.10 Attention to claimant inquiry and related investigation and telephone
                                conference with A. Watychowicz (all) (.4); attention to claims related legal
                                research (Group 1) (2.7).

                                Claims Administration & Objections

                 MR        0.20 Attention to issues on disclosure (Group 1).

                                Claims Administration & Objections

     11/11/2021 JRW        4.70 Correspondence and various telephone conferences with claimants' counsel
                                regarding motion to modify Group 1 schedule (Group 1) (.4); prepare
                                summary of conference call and related telephone conference with K. Duff
                                (Group 1) (.4); review redlines and further revise draft motion to modify
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 113 of 164 PageID #:61366
 Kevin B. Duff, Receiver                                                                               Page 22



     Date      Indiv Hours Description

                                schedule (Group 1) (.5); study prior briefing, transcripts andcourt's order
                                regarding disclosure of avoidance claims and prepare summaryof same
                                (Group 1) (.6); continued claims related legal research and begin drafting
                                disclosure (Group 1) (2.8).

                                Claims Administration & Objections

     11/11/2021 MR         0.40 Attention to exchanges regarding scope of disclosures and issues regarding
                                schedules (Group 1).

                                Claims Administration & Objections

     11/12/2021 JRW        6.70 Review revised draft motion for extension of Group 1 schedule and related
                                correspondence to claimants' counsel (Group 1) (.1); continued legal
                                research (Group 1) (1.2); continue drafting disclosure and prepare record
                                cites for same (Group 1) (5.4).

                                Claims Administration & Objections

                 MR        0.10 Attention to motion to modify schedule (Group 1).

                                Claims Administration & Objections

     11/13/2021 MR         2.50 Work on and review draft disclosure on claims and related comments (Group
                                1).

                                Claims Administration & Objections

     11/15/2021 AEP        1.70 Read draft memorandum in connection with Group 1 adjudication (Group
                                1) (.4); teleconference with K.Duff, M. Rachlis, and J. Wine regarding legal
                                issues and relevant facts associated with preparation of disclosure (Group
                                1) (1.3).

                                Claims Administration & Objections

                 AW        0.90 Call with J. Wine regarding motion for extension of discovery deadlines
                                (Group 1) (.1); attention to email from IRA custodian, related exchange
                                with K. Duff, and respond to non-claimant (defer) (.2); email exchange
                                with K. Duff regarding proposed response to voice message and related
                                email with claimant (Group 1) (.2); attention to email from claimant
                                regarding appearance of his name, related research, and email
                                exchanges with K. Duff and J. Wine (638 Avers; 7024 Paxton; 7255
                                Euclid; 6250 Mozart; 6217 Dorchester) (.2); attention to email from
                                claimant regarding potential representation and related email exchange
                                with K. Duff and response to claimant (8100 Essex) (.2).

                                Claims Administration & Objections

                 JRW       3.80 Review redlines, review deposition transcripts, and further revise disclosure
                                (Group 1) (1.6); attention to claimant inquiries (all) (.2); telephone
                                conference with K. Duff, A. Porter, M. Rachlis regarding analysis of potential
                                disclosure (Group 1) (1.2); factual research regarding claim and related
                                correspondence to K. Duff (Group 1) (.8).

                                Claims Administration & Objections
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 114 of 164 PageID #:61367
 Kevin B. Duff, Receiver                                                                                Page 23



     Date      Indiv Hours Description


     11/15/2021 KMP        1.50 Review case files and compile documents relating to claimant, and forward to
                                K. Duff (Group 1).

                                Claims Administration & Objections

                 MR        1.80 Confer with K. Duff, A. Porter, and J. Wine regarding analysis of potential
                                issues for disclosures (Group 1) (1.3); further review of materials regarding
                                disclosures and upcoming hearing and order on motion to compel (Group 1)
                                (.5).

                                Claims Administration & Objections

     11/16/2021 AW         0.50 Attention to email from claimant regarding sales and litigation, communicate
                                with K. Duff regarding proposed response, and related email toclaimant
                                (2909 E 78th; 7549 Essex; 8047 Manistee; 7749 Yates) (.2); review claim
                                with rollover issue, compile key documents from database, and related
                                email to K. Duff and J. Wine (638 Avers; 7024 Paxton;7255 Euclid; 6250
                                Mozart; 6217 Dorchester) (.3).

                                Claims Administration & Objections

                 JRW       3.60 Review redline and further revise disclosure (Group 1) (.2); review deposition
                                transcripts and extract key testimony (Group 1) (1.3); telephone conference
                                with K. Duff and SEC (Group 1) (.4); prepare for hearing on motion regarding
                                single claims process (sole lien) (.6); telephone conference with K. Duff and
                                M. Rachlis regarding upcoming hearing (sole lien) (.2); telephone conference
                                with K. Duff and M. Rachlis regarding draft disclosure (Group 1) (.2); attention
                                to claimant inquiries and related exchange of correspondence regarding
                                distributions (all) (.6); review court order and related correspondence with
                                claimants' counsel (all) (.1).

                                Claims Administration & Objections

                 KMP       1.30 Review documents relating to claimant, and prepare related email
                                memorandum to K. Duff (Group 1).

                                Claims Administration & Objections

                 MR        1.60 Attention to issues for upcoming hearing (sole lien) (.5); conferences with K,
                                Duff and J. Wine regarding various issues for the upcoming hearing (sole
                                lien) (.5). attention to issues regarding disclosure and review materials
                                associated with same for possible reference (Group 1) (.6).

                                Claims Administration & Objections

     11/17/2021 AEP        2.50 Read, edit, research and analyze discovery documents, and revise current
                                draft of proposed disclosure statement (Group 1).

                                Claims Administration & Objections
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 115 of 164 PageID #:61368
 Kevin B. Duff, Receiver                                                                                 Page 24



     Date      Indiv Hours Description


     11/17/2021 AW         1.30 Attention to emails from claimants and update contact info as requested
                                (defer) (.2); update contact spreadsheet with email addresses for claimants
                                that have no claims against properties (defer) (.2); follow up email to
                                claimant to confirm claims (2909 E 78th; 7549 Essex; 8047 Manistee; 1131
                                E 79th) (.1); email and follow up email with claimant regarding claims
                                process and distribution (638 Avers; 7024 Paxton; 7255 Euclid; 6250
                                Mozart; 6217 Dorchester) (.2); call with J. Wine regarding review of claims
                                (all) (.1); call with J. Rak regarding review of claims for all Receivership
                                properties (all) (.3); attention to email and several voice messages from
                                claimant, communicate with K. Duff and J. Wine regarding response, and
                                related email to claimant (all) (.2).

                                Claims Administration & Objections

                 JRW       5.40 Attention to claimant inquiries (all) (.2); correspondence to A. Porter
                                regarding deposition cites (Group 1) (.1); review email correspondence
                                concerning claimant (Group 1) (.9); continue working on draft disclosure
                                statement and document citations for same (Group 1) (2.3); prepare for
                                motions hearing on single lien properties (sole lien) (.6); telephone
                                conference with M. Rachlis and K. Duff to prepare for upcoming hearing
                                (sole lien) (1.2); confer with M. Rachlis and K. Duff regarding expert
                                discovery (Group 1) (.1).

                                Claims Administration & Objections

                 KMP       0.50 Revise and finalize response and notice letter relating to collection notice for
                                utility invoice and prepare transmittals (4611 Drexel) (.3); prepare check and
                                transmittal for payment of vendor invoice for claims database services (all)
                                (.2).

                                Claims Administration & Objections

                 MR        2.50 Further attention to upcoming disclosure submission, hearing and expert
                                related issues (Group 1) (1.3) conferences with K. Duff and J. Wine regarding
                                issues for upcoming hearing (sole lien) (1.2).

                                Claims Administration & Objections

     11/18/2021 AW         0.70 Draft response to claimant and related email to K. Duff (2909 E 78th; 7549
                                Essex; 8047 Manistee) (.1); research and email exchange with M. Rachlis
                                regarding orders, transcripts' content, and claims process (sole lien) (.6).

                                Claims Administration & Objections

                 JRW       4.90 Continued drafting and revision of disclosure and relatedidentification of
                                exhibits and communications with A. Porter and K. Duff (Group 1) (2.7);
                                prepare for and attend motions hearing before Judge Lee (sole lien) (.8);
                                attend motions hearing before Judge Lee (Group 1) (.4); telephone
                                conference with K. Duff and M. Rachlis regarding hearing (Group 1) (.5);
                                confer with K. Duff and A. Watychowicz regarding Position Statement
                                template (Group 1) (.1); review and comment on proposed order and related
                                correspondence with claimants' counsel and SEC (Group 1) (.4).

                                Claims Administration & Objections
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 116 of 164 PageID #:61369
 Kevin B. Duff, Receiver                                                                                Page 25



     Date      Indiv Hours Description


     11/18/2021 KMP        0.90 Review various orders and transcripts relating to court's rulings regarding
                                claims in connection with upcoming hearing and related communications with
                                M. Rachlis and A. Watychowicz (all).

                                Claims Administration & Objections

                 MR        4.90 Review and prepare for upcoming hearing on various issues (sole lien) (3.3);
                                participate in hearing (sole lien) (1.0); conferences with K. Duff and J. Wine
                                regarding areas for follow up from hearing (Group 1) (.6).

                                Claims Administration & Objections

     11/19/2021 AW         0.10 Correspond with J. Wine regarding hearing and revised schedule (Group 1).

                                Claims Administration & Objections

                 JRW       0.90 Correspondence and telephone conferences with claimants' counsel and
                                SEC, related analysis of draft order to K. Duff and M. Rachlis (Group 1) (.4);
                                telephone conferences and correspondence with claimants' counsel
                                regarding modification of schedule (Group 1) (.3); revise proposed order and
                                correspondence to JudgeLee's clerk regarding same (Group 1) (.2).

                                Claims Administration & Objections

                 MR        0.20 Further review of proposed order and related follow up (Group 1).

                                Claims Administration & Objections

     11/22/2021 AW         1.40 Work on master claims list and email list (Group 1) (1.2); email exchanges
                                with J. Wine regarding proposed email to claimants (Group 1) (.2).

                                Claims Administration & Objections

                 JRW       2.90 Exchange correspondence with A. Watychowicz regarding court order and
                                process for single claim properties (sole lien) (.2); attention to third-party
                                discovery and related correspondence to claimants' counsel (sole lien) (.3);
                                confer with A. Watychowicz regarding email to claimants regarding
                                modification of schedule (Group 1) (.1); correspond with claimants'
                                counsel regarding magistrate judge's order and expert deposition
                                scheduling (Group 1) (.2); review and revise responseto motion to
                                intervene and related correspondence with team (defer) (.6); legal
                                research regarding claims related issues and prepare research notes
                                regarding same (Group 1) (1.5).

                                Claims Administration & Objections

     11/23/2021 AW         1.20 Attention to approval from J. Wine and email claimants order modifying
                                schedule (Group 1) (.1); follow up with J. Wine regarding database email and
                                respond to claimant (7749 Yates; 2909 E 78th; 7549 Essex; 8047 Manistee)
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 117 of 164 PageID #:61370
 Kevin B. Duff, Receiver                                                                                 Page 26



     Date      Indiv Hours Description

                                (.1); update claimant's email and related email response (7749 Yates) (.3);
                                draft position statement and related email to J. Wine (Group 1) (.3);
                                proofread motion for extension, related email to J. Wine, finalize, and file
                                motion (all) (.4).

                                Claims Administration & Objections

     11/23/2021 JRW        1.40 Confer with A. Porter and K. Duff regarding expert deposition and scheduling,
                                and related correspondence with claimants' counsel (Group 1) (.3); attention
                                to claimant inquiry and related email to vendor (all) (.1); exchange
                                correspondence with claimants' counsel regarding third-party discovery (sole
                                lien) (.1);prepare riders for third party subpoenas to loan originators and title
                                companies and related correspondence with team (sole lien) (.9).

                                Claims Administration & Objections

                 KMP       0.40 Review online banking records to confirm deposit of insurance settlement
                                check to Receiver's account relating to claim, and related communications
                                with J. Wine and claimant's counsel regarding instructions for settlement
                                payment (7110 Cornell).

                                Claims Administration & Objections

     11/24/2021 AEP        1.50 Update spreadsheet of single-lien properties to include additional data points
                                after reviewing underlying loan documentation and documents produced in
                                response to subpoenas, then edit and revise proposed riders to subpoenas
                                being issued to loan originators and title companies (sole lien) (1.4); read and
                                edit draft rider (sole lien) (.1).

                                Claims Administration & Objections

                 JRW       0.50 Confer with A. Porter and M. Rachlis regarding third-party discovery and
                                revisions to document riders and related correspondence to claimants'
                                counsel (sole lien) (.3); exchange correspondenceregarding draft stipulation
                                and related correspondence with court's clerk (defer) (.2).

                                Claims Administration & Objections

                 MR        0.50 Review and follow up regarding subpoenas and related follow up with J. Wine
                                and others regarding revisions (sole lien).

                                Claims Administration & Objections

     11/29/2021 JRW        3.00 Review redlines of draft subpoenas from claimants' counsel and related
                                correspondence with same (sole lien) (.5); correspondence with claimants'
                                counsel and SEC regarding expert deposition (Group 1) (.1); telephone
                                conference with K. Duff regarding process for resolution of claims (sole lien)
                                (.2); correspondence to A. Porter regarding third party subpoenas (sole lien)
                                (.2); review and evaluate proofs of claim (sole lien) (1.8); confer with K. Duff
                                and M. Rachlis regarding proposed revisions to subpoenas (sole lien) (.2).

                                Claims Administration & Objections
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 118 of 164 PageID #:61371
 Kevin B. Duff, Receiver                                                                               Page 27



     Date      Indiv Hours Description


     11/29/2021 KMP        0.50 Communications with J. Wine regarding additional third-party subpoenas to
                                be issued and prepare draft subpoenas (sole lien).

                                Claims Administration & Objections

                 MR        0.30 Attention to subpoenas and follow up regarding issues on subpoenas with J.
                                Wine (sole lien).

                                Claims Administration & Objections

     11/30/2021 AEP        1.40 Teleconference with J. Wine and K. Duff regarding basis for issuance of
                                subpoenas in connection with acquisition loans (7110 Cornell; 6749 Merrill)
                                and refinancing loans, review files for documents likely to lead to
                                information pertaining to loan underwriting and closing issues, and supply
                                information to J. Wine in connection with issuance of subpoenas (1017 W
                                102nd; 417 Oglesby; 7925 Kingston; 8403 Aberdeen; 8405 Marquette; 8800
                                Ada; 9212Parnell; 10012 LaSalle; 3723 W 68th; 406 E 87th; 61 E 92nd;
                                7712 Euclid;7953 Woodlawn; 8107 Kingston; 8432 Essex; 8517 Vernon;
                                3213 Throop; 6554 Rhodes; 6825 Indiana; 7210 Vernon; 8346 Constance;
                                6759 Indiana;7300 St Lawrence; 7760 Coles; 2129 W 71st; 9610
                                Woodlawn; 5437 Laflin;1516 E 85th; 2136 W 83rd; 7922 Luella; 7933
                                Kingston; 8030 Marquette; 8104 Kingston; 8529 Rhodes; 11318 Church)
                                (1.1); additional research regarding identity of title company through whom
                                EB South Chicago 2 refinancing was closed and communications with J.
                                Wine regarding same (10012 LaSalle; 3723 W 68th; 406 E 87th; 61 E
                                92nd; 7712 Euclid; 7953 Woodlawn; 8107 Kingston; 8432 Essex; 8517
                                Vernon; 3213 Throop; 6554 Rhodes; 6825 Indiana; 7210 Vernon; 11318
                                Church) (.3).

                                Claims Administration & Objections

                 AW        0.80 Confer with K. Pritchard and J. Wine regarding issuance of subpoenas,
                                draft subpoenas, further attention torevisions and exchanges regarding
                                issuance of subpoenas (sole lien).

                                Claims Administration & Objections

                 JRW       4.10 Continued review of claims documentation (sole lien) (.8); research regarding
                                title companies and loan originators and related communications with A.
                                Watychowicz regarding subpoenas (sole lien) (1.4); review and sign-off on
                                joint status report (Group 1) (.1); telephone conference with A. Porter
                                regarding subpoena riders and related revision of same (sole lien) (1.1);
                                revise subpoenas and prepare cover letters (sole lien) (.3); exchange
                                correspondence with claimants' counsel and telephone conferences with M.
                                Rachlis and K. Pritchard regarding finalizationand service of subpoenas
                                (sole lien) (.4).

                                Claims Administration & Objections

                 KMP       2.40 Review, revise and finalize third-party subpoenas and riders, prepare certified
                                mail transmittals, and related communications with K. Duff, M. Rachlis, A.
  Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 119 of 164 PageID #:61372
    Kevin B. Duff, Receiver                                                                                   Page 28



        Date      Indiv Hours Description

                                   Porter, J. Wine, and A.Watychowicz (sole lien).

                                   Claims Administration & Objections

        11/30/2021 MR         0.80 Review and provide edits to subpoena riders (sole lien) (.5); conferences and
                                   follow up with J. Wine, K. Duff and K. Pritchard regarding subpoenas (sole
                                   lien) (.3).

                                   Claims Administration & Objections


SUBTOTAL:                                                                                     1[ 07.70        29347.00]

Status Reports


        11/1/2021 AW          1.80 Attention to draft status report and email J. Wine regarding proposed
                                   revisions (.5); prepare exhibits to status report (.4); finalize motion and related
                                   email exchange with J. Wine (.4); e-file motion and serve as per service list
                                   (.5).

                                   Status Reports

                    JRW       0.70 Work with A. Watychowicz on finalizing third quarter status report and exhibits.

                                   Status Reports


SUBTOTAL:                                                                                     [ 2.50            434.00]

Tax Issues

         11/1/2021 KMP        0.20 Communicate with K. Duff regarding follow up on tax notices for various
                                   entities from federal authority (SSPH Portfolio 1 LLC; SSPH Holdco 1 LLC;
                                   SSDF1 Holdco 1 LLC; SSDF3 Holdco 1 LLC; SSDF3 Holdco 2 LLC; SSDF4
                                   Holdco 1 LLC; SSDF4 Holdco 2 LLC; SSDF4 Holdco 3 LLC; South Side
                                   Development Fund 1 LLC; South Side Development Fund 3 LLC; South Side
                                   Development Fund 4 LLC).

                                   Tax Issues

         11/8/2021 JRW        0.20 Exchange correspondence with K. Duff and A. Porter regarding tax liens
                                   against manager entities (defer).

                                   Tax Issues

                    KMP       0.20 Communicate with K. Duff regarding response from accountant regarding
                                   tax notices for various entities and attention to related correspondence to
                                   accountant (SSPH Portfolio 1 LLC;SSPH Holdco 1 LLC; SSDF1 Holdco 1
                                   LLC; SSDF3 Holdco 1 LLC; SSDF3 Holdco 2 LLC; SSDF4 Holdco 1 LLC;
                                   SSDF4 Holdco 2 LLC; SSDF4 Holdco 3LLC; South Side Development Fund
                                   1 LLC; South Side Development Fund 3LLC; South Side Development Fund
                                   4 LLC).

                                   Tax Issues
  Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 120 of 164 PageID #:61373
   Kevin B. Duff, Receiver                                                                               Page 29



            Date    Indiv Hours Description

        11/12/2021 KMP       0.20 Prepare email correspondence to accountant regarding various notices to
                                  EB entities from tax authority (SSDF1, SSDF4, SSDF4 Holdco 3, SSDF3
                                  Holdco 2).

                                  Tax Issues

        11/16/2021 KMP       0.90 Review collection notice relating to corporation income taxes for EB entity,
                                  prepare draft response, and related communications with K. Duff (3400
                                  Newkirk LLC) (.7); communicate with accountant, tax administrator and
                                  EB team regarding tax form for soldproperty (638 Avers) (.2).


                                  Tax Issues

        11/22/2021 KMP       0.20 Briefly review and forward notices from tax authority regarding EB
                                  entities (SSDF3; 1516 E 85th Place Associates).

                                  Tax Issues

        11/30/2021 KMP       0.20 Prepare email correspondence to accountant, K. Duff, J. Wine,and A.
                                  Watychowicz regarding collection efforts relating to tax notices from federal
                                  authority for EB entities (SSDF3 Holdco 2 LLC; SSDF4 Holdco 3 LLC).


                                  Tax Issues


SUBTOTAL:                                                                                  [ 2.10           318.00]




                                                                                          184.60       $43,593.00
  Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 121 of 164 PageID #:61374
    Kevin B. Duff, Receiver                                                                   Page 30




Other Charges

                                      Description

Asset Analysis & Recovery

                                      Postage for certified mail delivery of subpoenas           48.96



SUBTOTAL:                                                                                [       48.96]

Business Operations

                                      Photocopies for November 2021                              11.80

                                      Software license fees for November 2021                   277.41
                                      (Summit Hosting, $181.41; Google Suite, $96)



SUBTOTAL:                                                                                [      289.21]

Claims Administration & Objections

                                      Online research for November 2021                         450.87


SUBTOTAL:                                                                                [      450.87]


Total Other Charges                                                                            $789.04




                                     Summary of Activity
                                                                       Hours       Rate
Jodi Wine                                                              67.70     260.00      $17,602.00
Ania Watychowicz                                                       19.90     140.00       $2,786.00
Justyna Rak                                                            32.60     140.00       $4,564.00
Kathleen M. Pritchard                                                  25.90     140.00       $3,626.00
Andrew E. Porter                                                       13.40     390.00       $5,226.00
Michael Rachlis                                                        25.10     390.00       $9,789.00
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 122 of 164 PageID #:61375
 Kevin B. Duff, Receiver                                                     Page 31




                                   SUMMARY


               Legal Services                                  $43,593.00
               Other Charges                                      $789.04

                  TOTAL DUE                                    $44,382.04
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 123 of 164 PageID #:61376
                                 Rachlis Duff & Peel, LLC
                                      542 South Dearborn Street
                                                                                           tel (312) 733-3950
                                              Suite 900                                    fax (312) 733-3952
                                       Chicago, Illinois 60605




January 28, 2022

Kevin B. Duff, Receiver
c/o Rachlis Duff & Peel, LLC
542 S. Dearborn Street, Suite 900
Chicago, IL 60605




 Re: SEC v. EquityBuild Inc., EquityBuild Finance, LLC, Jerome H.                       Fed. I.D. No. XX-XXXXXXX
     Cohen, and Shaun D. Cohen                                                          Invoice No. 6622141
     No. 18-cv-5587, US Dist. Ct., Northern Dist. of Illinois, Eastern Div.


 Legal Fees for the period December 2021                                 $31,964.00

 Expenses Disbursed                                                           $667.14


 Due this Invoice                                                         $32,631.14
  Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 124 of 164 PageID #:61377
    Kevin B. Duff, Receiver                                                                                Page 2




        Date          Indiv Hours Description

Accounting/Auditing

        12/15/2021 KMP        0.20 Record recent transactions to Receiver's bank account ledgers (all).

                                   Accounting/Auditing


SUBTOTAL:                                                                                   [ 0.20             28.00]

Asset Analysis & Recovery

        12/3/2021 JRW         0.40 Exchange correspondence with A. Porter regarding subpoena and related
                                   review of document production (defer).

                                   Asset Analysis & Recovery

        12/6/2021 KMP         0.80 Review bank documents, emails and other materials relating to status of
                                   asset holder's account and related communications with K. Duff (4533
                                   Calumet).

                                   Asset Analysis & Recovery

        12/7/2021 JRW         1.60 Review subpoena responses and related correspondence (defer) (.3);
                                   prepare subpoena (defer) (.9); work with K. Pritchard to finalize subpoenas
                                   and cover letters (defer) (.4).

                                   Asset Analysis & Recovery

                      KMP     1.50 Review materials produced by third party to identify address for subpoena to
                                   additional third party (defer) (.5); prepare subpoenas and related transmittal
                                   letters to third parties and related communications with J. Wine (defer) (1.0).

                                   Asset Analysis & Recovery

        12/8/2021 JRW         0.70 Additional factual research and related telephone conference with
                                   subpoenaed party (defer) (.3); correspondence with K. Pritchard regarding
                                   subpoenas (defer) (.2); correspondence with K.Duff regarding response to
                                   subpoena (defer) (.1); correspondence with K. Pritchard regarding notice of
                                   subpoenas (defer) (.1).

                                   Asset Analysis & Recovery

                      KMP     1.30 Revise, finalize, and prepare transmittals for subpoenas to third parties
                                   (defer) (.6); prepare and serve notice ofsubpoenas and related
                                   communication with J. Wine (defer) (.5); attention to communications with K.
                                   Duff and J. Wine regarding reissuance of subpoena to third party (defer)
                                   (.2).

                                   Asset Analysis & Recovery
  Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 125 of 164 PageID #:61378
    Kevin B. Duff, Receiver                                                                              Page 3



         Date       Indiv Hours Description

         12/9/2021 AW         0.30 Research regarding credit card statements (defer).

                                    Asset Analysis & Recovery

                     KMP      0.20 Revise subpoena to third party, and related communications
                                   with J. Wine (defer).

                                    Asset Analysis & Recovery

         12/10/2021 JRW       0.50 Exchange correspondence with K. Duff regarding potential subpoena and
                                   related research (defer) (.2); revise draft subpoena riders and related
                                   correspondence to A. Porter (defer) (.3).

                                    Asset Analysis & Recovery

                     KMP      0.40 Communications with J. Wine regarding rider for subpoena to third party
                                   (defer) (.1); research discovery files and emails relating to request for
                                   documents to third party and related communications with
                                   K. Duff and A. Watychowicz (defer) (.3).

                                    Asset Analysis & Recovery

         12/14/2021 KMP       0.30 Confer with K. Duff regarding origination of funds in asset holder accounts
                                   and related review of documents received from asset holder (defer).

                                    Asset Analysis & Recovery

         12/15/2021 KMP       0.40 Review documents received from asset holder regarding origination of
                                   funds in asset holder account and timeline for transfer of funds to
                                   Receivership account, and related communication with K. Duff (defer).

                                    Asset Analysis & Recovery

         12/17/2021 KMP       0.20 Review materials relating to in-process subpoenas to third parties and
                                   communicate with J. Wine as to status (defer).
                                   .

                                    Asset Analysis & Recovery

         12/20/2021 AW        0.20 Review supplemental production from bank and related email to K. Duff
                                   (all).

                                    Asset Analysis & Recovery


SUBTOTAL:                                                                                  [ 8.80           1616.00]

Asset Disposition

         12/1/2021 AEP        0.40 Edit and revise draft purchase and sale contract for sale of receivership
                                   property following receipt of additional information from property manager and
                                   receivership broker, add exhibits, request updated title commitment, and
                                   transmit proposed final draft (7109 Calumet).
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 126 of 164 PageID #:61379
 Kevin B. Duff, Receiver                                                                                  Page 4



     Date      Indiv Hours Description


                                Asset Disposition

     12/1/2021 KMP         0.20 Further communications with J. Rak regarding distribution of proceeds from
                                sale of properties (6160 MLK; 8100 Essex) (.1); further communications with
                                J. Rak regarding issues relating to review of bank statements in connection
                                with reconciliation of property closings (all except 7109 Calumet) (.1).

                                Asset Disposition

     12/2/2021 KMP         0.50 Participate in conference call with J. Rak and bank representative
                                regarding issues relating to review of bank statements in connection with
                                reconciliation of property closings, and related separate call with J. Rak (all
                                except 7109 Calumet).

                                Asset Disposition

     12/5/2021 MR          2.50 Research on various issues and work on draft response on Rule 54(b) issues
                                (6949 Merrill; 7600 Kingston; 7656 Kingston).

                                Asset Disposition

     12/6/2021 JR          0.40 Locate and organize property account statements related to the sale of
                                property (7109 Calumet) (.2); communication with real estate broker
                                providing property financial statements (7109 Calumet) (.2).

                                Asset Disposition

                 MR        3.00 Further review and research regarding Rule 54(b) and drafting response brief
                                (6949 Merrill; 7600 Kingston; 7656 Kingston).

                                Asset Disposition

     12/7/2021 JR          1.00 Review email from K. Duff and J. Wine, analyze and produce information
                                regarding property balances (single family).

                                Asset Disposition

                 JRW       0.50 Review correspondence from claimants' counsel and study allocation of
                                single family portfolio sale proceeds and fund balance reportsand related
                                correspondence with K. Pritchard and J. Rak (single family).

                                Asset Disposition

                 MR        2.00 Further work and review of research regarding response on rule 54 motion
                                (6949 Merrill; 7600 Kingston; 7656 Kingston).

                                Asset Disposition

     12/8/2021 JR          0.70 Update electronic property folder with financial property reports (7109
                                Calumet) (.2); update certified rent roll in preparation for future closing (7109
                                Calumet) (.5).

                                Asset Disposition
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 127 of 164 PageID #:61380
 Kevin B. Duff, Receiver                                                                                Page 5



     Date        Indiv Hours Description

     12/8/2021 MR          1.30 Further work on opposition to Rule 54(b) and follow up regarding same (6949
                                Merrill; 7600 Kingston; 7656 Kingston).

                                Asset Disposition

     12/9/2021 JR          0.50 Communication with counsel requesting an updatedrelease related to
                                property and judgment payoff (7748 Essex) (.3); further communication
                                with A. Porter regarding the release related to judgment payoff (7748
                                Essex) (.1); review email from real estate broker requesting property
                                operating report relating to future sale of property (7109 Calumet), further
                                communication with E. Duff requesting operating report for property (7109
                                Calumet) (.1).

                                Asset Disposition

     12/10/2021 AEP        0.70 Teleconference with J. Wine and K. Duff regarding allocation of sales
                                proceeds of single-family homes and reconciliation with amounts held in
                                corresponding bank accounts (single family).

                                Asset Disposition

                 AW        1.10 Study opposition to motion for final judgment and related email to M. Rachlis
                                (6949 Merrill; 7600 Kingston; 7656 Kingston).

                                Asset Disposition

                 JR        0.60 Conference call with K. Duff, A. Porter and J. Wine regarding single family
                                allocations (single family).

                                Asset Disposition

                 JRW       1.70 Exchange correspondence with K. Duff and J. Rak regarding fund balances
                                (single family) (.1); conference call with J. Rak, K. Duff and A. Porter
                                regarding single family fund balances (single family) (1.2); review exhibits to
                                status reports setting forth adjustments to fund balances and related
                                correspondence with K. Pritchard (all) (.4).

                                Asset Disposition

                 MR        0.60 Further work and edits on Rule 54(b) motion (6949 Merrill; 7600
                                Kingston and 7656 Kingston).

                                Asset Disposition

     12/11/2021 AEP        0.20 Correspondence with K. Pritchard regarding reconciliation of agency
                                commissions, compare personal records with EquityBuild master property list,
                                and confirm accuracy of information submitted to Receiver (all).

                                Asset Disposition

                 MR        1.00 Further review and work on brief regarding Rule 54 issues (6949 Merrill;
                                7600 Kingston; 7656 Kingston).

                                Asset Disposition
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 128 of 164 PageID #:61381
 Kevin B. Duff, Receiver                                                                                  Page 6



     Date      Indiv Hours Description

     12/13/2021 JRW        1.40 Research and correspondence with K. Pritchard regarding fund balances for
                                sold properties (single family) (.7); telephone conference with claimants'
                                counsel regarding allocation of sales proceeds to portfolio and related follow-
                                up email (single family) (.6); review certificate of publication and related
                                correspondence (7109 Calumet) (.1).

                                Asset Disposition

                 KMP       0.30 Analyze spreadsheet relating to property account balances and related
                                communication with J. Wine (single family).

                                Asset Disposition

                 MR        0.50 Review comments on opposition (6949 Merrill; 7600 Kingston; 7656
                                Kingston).

                                Asset Disposition

     12/15/2021 KMP        0.20 Communicate with J. Rak regarding status of efforts to compile bank
                                statements for all property accounts for reconciliation of property sales (all).

                                Asset Disposition

     12/16/2021 JRW        0.20 Exchange correspondence with claimants' counsel regarding allocation of
                                proceeds to closed properties and related communication with J.Rak
                                regarding preparation of updated spreadsheet (single family).

                                Asset Disposition

                 MR        0.30 Attention to contract response (7109 Calumet).

                                Asset Disposition

     12/17/2021 AEP        0.50 Teleconference with K. Duff regarding submission of bids on receivership
                                property and proposed response (7109 S Calumet).

                                Asset Disposition

                 MR        0.20 Attention to bids on sale of property (7109 Calumet).

                                Asset Disposition

     12/20/2021 AEP        0.30 Teleconference with K. Duff, M. Rachlis, and receivership broker regarding
                                strategy in connection with auction of receivership property (7109 S Calumet).

                                Asset Disposition

                 AW        1.90 Work on draft opposition to motion, related email exchanges with K. Duff,
                                M. Rachlis and J. Wine, finalize and file with court (6949 Merrill; 7600
                                Kingston; 7656 Kingston).

                                Asset Disposition
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 129 of 164 PageID #:61382
 Kevin B. Duff, Receiver                                                                                Page 7



     Date      Indiv Hours Description

     12/20/2021 JR         0.80 Review email from J. Wine and requesting updates to allocations for single
                                family home portfolio and update closed property spreadsheet regarding
                                same (single family).

                                Asset Disposition

                 JRW       0.50 Review and revise draft response to motion to designate interlocutory appeal
                                as final order (6949 Merrill; 7600 Kingston; 7656 Kingston) (.4); review final
                                revisions to motion and confer with A. Watychowicz (6949 Merrill; 7600
                                Kingston; 7656 Kingston) (.1).

                                Asset Disposition

                 MR        0.80 Meeting on bids related to sale of property (7109 Calumet) (.3); finalize issues
                                on brief regarding motion (6949 Merrill; 7600 Kingston; 7656 Kingston) (.5).

                                Asset Disposition

     12/21/2021 JR         0.20 Exchange communication with J. Wine relating to single family sale price
                                allocations and update closed property spreadsheet regarding same (single
                                family).

                                Asset Disposition

     12/27/2021 KMP        0.20 Download and forward copy of mandate issued by Seventh Circuit relating to
                                appeal to EB team (6949 Merrill; 7600 Kingston; 7656 Kingston).

                                Asset Disposition

     12/28/2021 JRW        1.60 Draft fifteenth motion to confirm sale (7109 Calumet).

                                Asset Disposition

     12/29/2021 AW         0.80 Research regarding current and past publications and agreements (7109
                                Calumet).

                                Asset Disposition

                 JRW       0.20 Work with A. Watychowicz on locating exhibits to motion to confirm sale of
                                real estate asset (7109 Calumet).

                                Asset Disposition

     12/30/2021 AW         1.30 Revisions to motion to confirm sale, work with K. Duff and J. Wine to finalize
                                motion, file the motion and serve as per service list (7109 Calumet).

                                Asset Disposition

                 JRW       2.10 Exchange correspondence with broker regarding publication notices
                                (7109 Calumet) (.1); review and revise draft motion to confirm sale (7109
                                Calumet) (1.2); search archived email for certificate of publication (7109
                                Calumet) (.1); draft proposed order confirming sale (7109 Calumet) (.4);
                                work with A. Watychowicz on finalizing and filing motion and exhibits
                                (7109 Calumet) (.3).

                                Asset Disposition
  Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 130 of 164 PageID #:61383
    Kevin B. Duff, Receiver                                                                                  Page 8



        Date      Indiv Hours Description


        12/30/2021 MR         0.30 Attention to issues regarding letter of credit for property sale and attention to
                                   motion to confirm sale (7109 Calumet).

                                   Asset Disposition


SUBTOTAL:                                                                                     [ 33.50         9324.00]

Business Operations

        12/1/2021 JRW         0.40 Attention to collections notice and review and revise correspondence
                                   providing notice of receivership (1401 W 109th).

                                   Business Operations

        12/3/2021 JR          0.20 Follow up correspondence with account analyst requesting property
                                   insurance endorsement (4611 Drexel) (.1); follow up correspondence with
                                   the title company requesting an update (on title indemnity holdback) for
                                   previously sold property (7748 Essex) (.1).

                                   Business Operations

                      JRW     0.30 Review and revise notice of receivership to third party (defer) (.1); exchange
                                   correspondence with plaintiff's counsel in state court matter (4533 Calumet)
                                   (.1); correspondence with court clerk and plaintiff's counsel regarding
                                   extension of stay in state court action (defer) (.1).

                                   Business Operations

        12/8/2021 JR          1.70 Review bank monthly statements and verify net proceeds from sales of
                                   properties (all).

                                   Business Operations

        12/10/2021 AW         0.40 Email exchange and call with K. Pritchard regarding credit card records
                                   and related emails to K. Duff (defer).

                                   Business Operations

                      JRW     0.20 Review gas company collection notice and review andrevise notice letter
                                   to gas company (1401 W 109th).

                                   Business Operations

        12/17/2021 JR         3.20 Analyze bank statements and confirm net proceeds from sale of all properties
                                   (1700 Juneway; 4533 Calumet; 5001 Drexel; 5450 Indiana; 7749 Yates; 6437
                                   Kenwood; 1414 E 62nd; 8100 Essex; 7301 Stewart; 7500 Eggleston; 3030 E
                                   79th; 2909 E 78th; 7549 Essex; 8047 Manistee; 1017 W 102nd; 1516 E 85th;
                                   2136 W 83rd; 417 Oglesby; 7922 Luella; 7925 Kingston; 7933 Kingston; 8030
                                   Marquette; 8104 Kingston; 8403 Aberdeen; 8405 Marquette; 8529 Rhodes;
                                   8800 Ada; 9212 Parnell; 10012 LaSalle; 11318 Church; 3213 Throop; 3723
                                   W 68th; 406 E 87th; 61 E 92nd; 6554 S Rhodes Avenue; 6825 Indiana; 7210
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 131 of 164 PageID #:61384
 Kevin B. Duff, Receiver                                                                              Page 9



     Date      Indiv   Hours Description

                                Vernon; 7712 Euclid; 7953 Woodlawn; 8107 Kingston; 8346 Constance; 8432
                                Essex; 8517 Vernon; 2129 W 71st; 9610 Woodlawn; 5437 Laflin; 6759
                                Indiana; 7300 St Lawrence; 7760 Coles; 1401 W 109th; 310 E 50th; 6807
                                Indiana; 8000 Justine; 8107 Ellis; 8209 Ellis; 8214 Ingleside; 5955
                                Sacramento; 6001 Sacramento; 7026 Cornell; 7237 Bennett; 7834 Ellis; 4520
                                Drexel; 4611 Drexel; 6749 Merrill; 7110 Cornell; 1131 E 79th; 6217
                                Dorchester; 6250 Mozart; 638 Avers; 701 S 5th; 7024 Paxton; 7255 Euclid;
                                3074 Cheltenham; 7625 East End; 7635 East End; 7750 Muskegon; 7201
                                Constance; 6160 MLK; 2736 W 64th; 4315 Michigan; 6355 Talman; 6356
                                California; 7051 Bennett; 7201 Dorchester; 7442 Calumet; 7508 Essex; 7546
                                Saginaw; 7600 Kingston; 7656 Kingston; 7701 Essex; 7748 Essex; 7957
                                Marquette; 816 Marquette; 8201 Kingston; 8326-58 Ellis; 11117 Longwood;
                                6949 Merrill; 7927-49 Essex; 1422 E 68th; 2800 E 81st; 4750 Indiana; 5618
                                MLK; 6554 Vernon; 7450 Luella; 7840 Yates; 431 E 42nd; 1102 Bingham).

                                Business Operations

     12/20/2021 JR         1.90 Analyze banking statements for closed properties and confirm proceeds
                                (1700 Juneway; 4533 Calumet; 5001 Drexel; 5450 Indiana; 7749
                                Yates; 6437 Kenwood; 1414 E 62nd; 8100 Essex; 7301 Stewart; 7500
                                Eggleston; 3030 E 79th; 2909 E 78th; 7549 Essex; 8047 Manistee; 1017 W
                                102nd; 1516 E 85th; 2136 W 83rd; 417 Oglesby; 7922 Luella; 7925 Kingston;
                                7933 Kingston; 8030 Marquette; 8104 Kingston; 8403 Aberdeen; 8405
                                Marquette; 8529 Rhodes; 8800 Ada; 9212 Parnell; 10012 LaSalle; 11318
                                Church; 3213 Throop; 3723 W 68th; 406 E 87th; 61 E 92nd; 6554 S Rhodes
                                Avenue; 6825 Indiana; 7210 Vernon; 7712 Euclid; 7953 Woodlawn; 8107
                                Kingston; 8346 Constance; 8432 Essex; 8517 Vernon; 2129 W 71st; 9610
                                Woodlawn; 5437 Laflin; 6759 Indiana; 7300 St Lawrence; 7760 Coles; 1401
                                W 109th; 310 E 50th; 6807 Indiana; 8000 Justine; 8107 Ellis; 8209 Ellis; 8214
                                Ingleside; 5955 Sacramento; 6001 Sacramento; 7026 Cornell; 7237 Bennett;
                                7834 Ellis; 4520 Drexel; 4611 Drexel; 6749 Merrill; 7110 Cornell; 1131 E 79th;
                                6217 Dorchester; 6250 Mozart; 638 Avers; 701 S 5th; 7024 Paxton; 7255
                                Euclid; 3074 Cheltenham; 7625 East End; 7635 East End; 7750 Muskegon;
                                7201 Constance; 6160 MLK; 2736 W 64th; 4315 Michigan; 6355 Talman;
                                6356 California; 7051 Bennett; 7201 Dorchester; 7442 Calumet; 7508 Essex;
                                7546 Saginaw; 7600 Kingston; 7656 Kingston; 7701 Essex; 7748 Essex;
                                7957 Marquette; 816 Marquette; 8201 Kingston; 8326-58 Ellis; 11117
                                Longwood; 6949 Merrill; 7927-49 Essex; 1422 E 68th; 2800 E 81st; 4750
                                Indiana; 5618 MLK; 6554 Vernon; 7450 Luella; 7840 Yates; 431 E 42nd; 1102
                                Bingham).

                                Business Operations

     12/21/2021 JRW        0.20 Telephone conference with counsel for plaintiff in state court litigation
                                regarding stay of proceedings (4533 Calumet) (.1); telephone conference
                                with insurance adjuster regarding coverage for claim (4533 Calumet) (.1).


                                Business Operations

     12/28/2021 KMP        1.60 Review financial records and email communications, prepare spreadsheet
                                tracking insurance refunds for sold properties, and related communications
                                with K. Duff, J. Wine, E. Duff, J. Rak, and representatives from insurance
                                brokerage (1700 Juneway; 4533 Calumet; 5001 Drexel; 5450
                                Indiana; 7749 Yates; 6437 Kenwood; 1414 E 62nd; 8100 Essex; 7301
                                Stewart; 7500 Eggleston; 3030 E 79th; 2909 E 78th; 7549 Essex; 8047
  Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 132 of 164 PageID #:61385
    Kevin B. Duff, Receiver                                                                                Page 10



        Date      Indiv Hours Description

                                   Manistee; 1017 W 102nd; 1516 E 85th; 2136 W 83rd; 417 Oglesby; 7922
                                   Luella; 7925 Kingston; 7933 Kingston; 8030 Marquette; 8104 Kingston; 8403
                                   Aberdeen; 8405 Marquette; 8529 Rhodes; 8800 Ada; 9212 Parnell; 10012
                                   LaSalle; 11318 Church; 3213 Throop; 3723 W 68th; 406 E 87th; 61 E 92nd;
                                   6554 S Rhodes Avenue; 6825 Indiana; 7210 Vernon; 7712 Euclid; 7953
                                   Woodlawn; 8107 Kingston; 8346 Constance; 8432 Essex; 8517 Vernon; 2129
                                   W 71st; 9610 Woodlawn; 5437 Laflin; 6759 Indiana; 7300 St Lawrence; 7760
                                   Coles; 1401 W 109th; 310 E 50th; 6807 Indiana; 8000 Justine; 8107 Ellis;
                                   8209 Ellis; 8214 Ingleside; 5955 Sacramento; 6001 Sacramento; 7026
                                   Cornell; 7237 Bennett; 7834 Ellis; 4520 Drexel; 4611 Drexel; 6749 Merrill;
                                   7110 Cornell; 1131 E 79th; 6217 Dorchester; 6250 Mozart; 638 Avers; 701 S
                                   5th; 7024 Paxton; 7255 Euclid; 3074 Cheltenham; 7625 East End; 7635 East
                                   End; 7750 Muskegon; 7201 Constance; 6160 MLK; 2736 W 64th; 4315
                                   Michigan; 6355 Talman; 6356 California; 7051 Bennett; 7201 Dorchester;
                                   7442 Calumet; 7508 Essex; 7546 Saginaw; 7600 Kingston; 7656 Kingston;
                                   7701 Essex; 7748 Essex; 7957 Marquette; 816 Marquette; 8201 Kingston;
                                   8326-58 Ellis; 11117 Longwood; 6949 Merrill; 7927-49 Essex; 1422 E 68th;
                                   2800 E 81st; 4750 Indiana; 5618 MLK; 6554 Vernon; 7450 Luella; 7840
                                   Yates; 431 E 42nd; 1102 Bingham).

                                   Business Operations

        12/29/2021 JRW        0.20 Review docket for state court matter and related correspondence to
                                   counsel for plaintiff regarding entry of stay (4533 Calumet).

                                   Business Operations


SUBTOTAL:                                                                                   [ 10.30         1598.00]

Case Administration

        12/6/2021 KMP         0.50 Communications with J. Rak and bank representative regarding upcoming
                                   training on balance reporting in online banking platform and create profile for
                                   J. Rak in online banking platform.

                                   Case Administration

        12/10/2021 JRW        0.40 Confer with A. Watychowicz relating to counsel appearances and related
                                   searches of transcripts of proceedings.

                                   Case Administration

        12/14/2021 JRW        0.50 Conference call with K. Duff and government representatives (.3);
                                   conference with K. Duff relating to estate issue (.2).

                                   Case Administration

        12/16/2021 AW         0.70 Prepare pleadings for upload to receivership webpage and email request to IT
                                   vendor.

                                   Case Administration
  Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 133 of 164 PageID #:61386
    Kevin B. Duff, Receiver                                                                                  Page 11



         Date     Indiv Hours Description



SUBTOTAL:                                                                                     [ 2.10              402.00]

Claims Administration & Objections

         12/1/2021 AEP        0.20 Teleconference with J. Wine regarding location of documents and information
                                   pertaining to origination of loans from institutional and private lenders (sole
                                   lien).

                                   Claims Administration & Objections

                    AW        0.40 Prepare link containing claims files and related email to claimant (7255
                                   Euclid) (.2); attention to notices and related email with J. Wine (1131 E 79th;
                                   6250 Mozart) (.2).

                                   Claims Administration & Objections

                    JRW       1.50 Correspondence with accountant, K. Pritchard and A. Watychowicz
                                   regarding IRS notices and claims against properties (1131 E79th; 6250
                                   Mozart) (.4); attention to claimant inquiry (all) (.4); review transcript of
                                   proceedings and provide analysis to K. Duff and M. Rachlis (sole lien)
                                   (.5); draft response to claimants' counsel regarding court's order and
                                   schedule (sole lien) (.2).

                                   Claims Administration & Objections

                    KMP       0.30 Prepare correspondence and transmittal to utility company providing notice
                                   of Receivership and advising of anticipated motion for court approval to pay
                                   past due utility invoice from sale proceeds, and related communications
                                   with J. Wine (1401 W 109th).

                                   Claims Administration & Objections

         12/2/2021 AW         0.20 Email exchange regarding proposed email on discovery issues (8100 Essex;
                                   7834 Ellis; 638 Avers; 7748 Essex) (.1); attention to exchange regarding
                                   response to correspondence and related email to K. Duff (2909 E 78th; 7549
                                   Essex; 8047 Manistee; 11117 Longwood; 1131 E 79th) (.1).

                                   Claims Administration & Objections

                    JRW       2.70 Review records for database searches regarding loan originations and related
                                   telephone conferences with A. Porter and A. Watychowicz regarding plan for
                                   searching and downloading search results (all except Group 1).

                                   Claims Administration & Objections

                    KMP       0.30 Prepare draft response to inquiry from claimant regarding beneficiary issues
                                   relating to claims and related communication with K. Duff (11117
                                   Longwood; 1131 E 79th; 2909 E 78th; 7549 Essex; 8047 Manistee).

                                   Claims Administration & Objections
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 134 of 164 PageID #:61387
 Kevin B. Duff, Receiver                                                                                Page 12



     Date      Indiv Hours Description

     12/2/2021 MR          0.20 Follow up regarding issues regarding sole lien claim process (sole lien).

                                Claims Administration & Objections

     12/3/2021 AW          2.90 Continue work on spreadsheet containing closing information and related
                                email with J. Wine (all except Group 1) (2.4); respond to email from claimant
                                regarding fund investment (2909 E 78th; 7549 Essex; 8047 Manistee) (.1);
                                email exchange with K. Duff and J. Wine regarding confidentiality issues and
                                discovery process and related email to claimant (8100 Essex; 7834 Ellis; 638
                                Avers; 7748 Essex) (.2); email claimant regarding standard discovery (7026
                                Cornell) (.1); respond to correspondence from claimant (2909 E 78th; 7549
                                Essex; 8047 Manistee; 11117 Longwood; 1131 E 79th) (.1).

                                Claims Administration & Objections

                 JRW       0.80 Attention to claimant inquiries (all) (.2); correspondence with K. Duff and M.
                                Rachlis and claimants' counsel regarding court's order (sole lien) (.2);
                                correspondence with K. Duff and telephone conference with A. Watychowicz
                                regarding archived email files and related review of spreadsheet (all except
                                Group 1) (.4).

                                Claims Administration & Objections

     12/6/2021 AW          0.50 Attention to correspondence from claimants regarding change of address
                                and update spreadsheets (Group 1) (.2); correspond with K. Duff regarding
                                power of attorney issues (2909 E 78th; 7549 Essex; 8047 Manistee; 11117
                                Longwood; 1131 E 79th) (.1); communicate with J. Wine regarding work on
                                completion of closing contact list (all except Group 1)(.1); respond to claimant
                                regarding grouping issue (2909 E 78th; 7549 Essex; 8047 Manistee) (.1).

                                Claims Administration & Objections

     12/7/2021 AW          4.00 Draft response to claimant regarding secondary email issues (8100
                                Essex; 7834 Ellis; 638 Avers; 7748 Essex) (.1); continue work on
                                completion of closing contact list (all except Group 1) (3.9).

                                Claims Administration & Objections

                 JRW       0.40 Attention to claimant inquiry (all) (.1); exchange correspondence regarding
                                motion to intervene (defer) (.1); confer with A. Watychowicz regarding
                                EquityBuild document searches (all) (.1); correspondence with counsel
                                regarding subpoena (sole lien)(.1).

                                Claims Administration & Objections

                 KMP       0.90 Confer with K. Duff, J. Wine, and J. Rak regarding claimant's counsel's
                                request for accounting of sale proceeds for single family homes, and
                                research related emails, spreadsheets, and financial documents (single
                                family).

                                Claims Administration & Objections
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 135 of 164 PageID #:61388
 Kevin B. Duff, Receiver                                                                                  Page 13



     Date      Indiv Hours Description

     12/7/2021 MR          0.20 Follow up on status regarding stipulation on motion to intervene (defer).

                                Claims Administration & Objections

     12/8/2021 AW          2.30 Continue work on completion of closing contact list (all except Group 1).

                                Claims Administration & Objections

                 JRW       0.30 Exchange correspondence with counsel for third party regarding response to
                                subpoena and prepare additional informationregarding secured collateral
                                (sole lien).

                                Claims Administration & Objections

     12/9/2021 AW          0.30 Responses to emails from claimants regarding claims process and access to
                                claims documents (11117 Longwood; 1131 E 79th).

                                Claims Administration & Objections

                 MR        0.30 Attention to submission regarding Group 1 (Group 1).

                                Claims Administration & Objections

     12/10/2021 JRW        3.00 Review expert report and prepare analysis of same (Group 1) (1.6);
                                correspondence with K. Duff, A. Porter and SEC (Group 1) (.1); confer with
                                A. Watychowicz regarding claimants and related investigation (all) (.2);
                                correspondence with counsel for third party regarding subpoena andrelated
                                correspondence with M. Rachlis (sole lien) (.2); search and review
                                documents in EB records database (all except Group 1) (.9).

                                Claims Administration & Objections

                 KMP       0.30 Prepare notice letter and transmittal to collections agency regarding utility bill
                                and related communications with J. Wine (1401 W 109th).

                                Claims Administration & Objections

                 MR        0.20 Attention to exchange with J. Wine regarding subpoenas related to sole lien
                                process (sole lien) (.1); attention to e-mail regarding expert report for Group 1
                                (Group 1) (.1).

                                Claims Administration & Objections

     12/11/2021 MR         2.30 Review and study expert report for Group 1 (Group 1) (2.0); attention to
                                e-mail and communicate regarding discovery on sole lien claims (sole lien)
                                (.3).

                                Claims Administration & Objections

     12/12/2021 AEP        3.20 Read expert report, review relevant statutory authority cited therein, and
                                prepare notes (Group 1).

                                Claims Administration & Objections
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 136 of 164 PageID #:61389
 Kevin B. Duff, Receiver                                                                                Page 14



     Date      Indiv Hours Description


     12/12/2021 MR         0.20 Attention to responses to discovery (sole lien).

                                Claims Administration & Objections

     12/13/2021 AW         0.40 Draft email response to claimant and related correspondence with K. Duff
                                and J. Wine (Group 1) (.2); communicate with J. Wine regarding proposed
                                response to claimant (2909 E 78th; 7549 Essex; 8047 Manistee) (.1); email
                                response and follow up email to claimant regarding claim (7748 Essex) (.1).

                                Claims Administration & Objections

                 JRW       0.90 Attention to claimant inquiries (all) (.2); reviewclaimant's discovery
                                responses (sole lien) (.3); analyze data regarding claims against funds
                                and related correspondence with K. Duff (single family) (.4).

                                Claims Administration & Objections

                 MR        2.00 Further review of disclosure in preparation of upcoming meeting and
                                deposition (Group 1) (1.7); attention to subpoena on single lien claims (sole
                                lien) (.3).

                                Claims Administration & Objections

     12/14/2021 AEP        0.90 Teleconference with J. Wine, counsel for EBF mortgagees, and SEC
                                (Group 1).

                                Claims Administration & Objections

                 JRW       1.30 Conference call with claimants' counsel, SEC and A. Porter (Group 1) (.9);
                                telephone conference with claimants' counsel regarding deposition exhibits
                                (Group 1) (.2); legal research (all) (.1); correspondence with claimants'
                                counsel regarding notice of deposition and service on Group 1 claimants
                                (Group 1) (.1).

                                Claims Administration & Objections

     12/15/2021 JRW        1.00 Correspondence with counsel for loan originator and title companies (sole
                                lien) (.3); correspondence and telephone conference with counsel for third
                                party regarding identification of loans and custodians (sole lien) (.2); work
                                with A. Watychowicz on preservation of documents from EB database (all
                                except Group 1) (.3); telephone conference with counsel for title company
                                regarding subpoena (sole lien) (.2).

                                Claims Administration & Objections
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 137 of 164 PageID #:61390
 Kevin B. Duff, Receiver                                                                                 Page 15



     Date      Indiv Hours Description

     12/16/2021 AW         0.20 Attention to document production from title company and related email
                                exchanges with J. Wine (sole lien).

                                Claims Administration & Objections

     12/17/2021 AW         0.20 Email exchange with J. Wine regarding and respond to claimant regarding
                                modified schedule for claims process and follow up email relating to claims
                                process (2909 E 78th; 7549 Essex; 8047 Manistee).

                                Claims Administration & Objections

     12/19/2021 MR         0.50 Attention to upcoming deposition (Group 1).

                                Claims Administration & Objections

     12/20/2021 AEP        6.00 Teleconference with M. Rachlis and K. Duff regarding (issues to be pursued
                                in connection with) deposition of lender's expert witness in Group 1 claims
                                process (Group 1) (.2); attend Zoom deposition of expert witness and
                                teleconference with K. Duff, J. Wine, and M. Rachlis regarding deposition
                                (Group 1) (5.8).

                                Claims Administration & Objections

                 JRW       0.60 Exchange correspondence with K. Duff, A. Porter and claimants' counsel
                                regarding upcoming expert deposition (Group 1) (.2); confer with A.
                                Watychowicz regarding deposition exhibits (Group 1) (.1); conference with
                                K. Duff and A. Porter regarding expert deposition (Group 1) (.3).

                                Claims Administration & Objections

                 MR        0.80 Further preparation for meeting on upcoming deposition and related
                                conference (Group 1) (.5); further attention to deposition results (Group 1) (.3).

                                Claims Administration & Objections

     12/22/2021 AW         1.80 Call with J. Wine regarding database issues (all) (.9); communicate with K.
                                Duff and J. Wine regarding proposed response and respond to claimant's
                                counsel inquiry regarding claims documents (4533 Calumet) (.2); research
                                claim and respond to claimant's inquiry regarding sold properties (7508
                                Essex) (.2); research claim and claimant's contact information, update
                                claimant's email address, and related email response (2909 E 78th; 7549
                                Essex; 8047 Manistee) (.3); review transcripts and deposition exhibits and
                                related email to J. Wine (Group 1) (.2).

                                Claims Administration & Objections

                 JRW       0.60 Attention to claimant and counsel inquiries (.1); confer with A.Watychowicz
                                regarding deposition exhibits (Group 1) (.1); correspondence with counsel
                                for title company regarding document production and privilege objections
                                and related email exchange with K. Duff and M. Rachlis (sole lien) (.4).

                                Claims Administration & Objections
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 138 of 164 PageID #:61391
 Kevin B. Duff, Receiver                                                                                 Page 16



     Date      Indiv Hours Description

     12/22/2021 MR         0.60 Attention to issues regarding privilege claim and related follow up (sole lien)
                                (.3); attention to stipulation on motion to intervene and follow up email and
                                outreach (defer) (.3).

                                Claims Administration & Objections

     12/23/2021 AW         0.60 Communicate with K. Duff and J. Wine regarding repeated emails from
                                claimant (all) (.1); attention to response to subpoena and related
                                communication with J. Wine (sole lien) (.2); communicate with
                                K. Duff and J. Wine regarding proposed response to claimant and related
                                email response (7442 Calumet; 4315 Michigan) (.2); email J. Wine
                                regarding closing contact information (all except Group 1) (.1).

                                Claims Administration & Objections

                 JRW       3.90 Attention to claimant email and voicemail inquiries (all) (.9); correspondence
                                with K. Duff, M. Rachlis, and A. Watychowicz regarding correspondence to
                                claimants regarding position statement (Group1) (.1); conduct database
                                searches for claims process (all except Group 1) (2.9).

                                Claims Administration & Objections

                 MR        0.20 Attention to issues regarding position statement (Group 1).

                                Claims Administration & Objections

     12/27/2021 JRW        3.30 Telephone conference with K. Duff regarding EB document review for claims
                                process (all except Group 1) (.3); exchange correspondence with vendor
                                regarding claimants' request for additional information (all) (.1); confer with
                                vendor regarding database preservation options (all) (.1); conduct database
                                searches for claims process (all except Group 1) (2.8).

                                Claims Administration & Objections

     12/28/2021 JRW        1.30 Telephone conferences with claimants' counsel regarding EB document
                                database and related correspondence with K. Duff (all) (.4); multiple
                                conferences with K. Duff regarding database access and cost issues (all)
                                (.5); telephone conference and related email exchanges with vendor
                                regarding potential extension of database access for all participants (all)
                                (.4).

                                Claims Administration & Objections

     12/29/2021 AW         2.40 Prepare claims files and share with claimant's counsel (4533 Calumet) (.2);
                                responses to several email from claimant and follow up regarding same with
                                K. Duff (2909 E 78th; 7549 Essex; 8047 Manistee) (.3); attention to emails
                                from claimants sent to group email and respond to each claimant separately
                                (Group 1) (.3); respond to claimant's counsel questions regarding claims
                                documents,deposition transcript, and position statement (Group 1) (.1); email
                                exchanges with J. Wine regarding encryptions in database (all) (.2); call with
                                J. Wine regarding database issues and work on extracting messages from
                                database (all) (.9); draft email regarding extension of database access and
                                related email exchanges with K. Duff and J. Wine (all) (.4).

                                Claims Administration & Objections
  Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 139 of 164 PageID #:61392
    Kevin B. Duff, Receiver                                                                                  Page 17



        Date      Indiv Hours Description


        12/29/2021 JRW        2.00 Attention to claimant inquiries (all) (.4); exchange correspondence with A.
                                   Watychowicz, K. Duff, and vendor regarding encrypted documents in
                                   database (all) (.1); exchange correspondence with vendor regarding
                                   extending access to EB documents database for all claimants and related
                                   telephone conference with claimants' counsel (all) (.2); work with A.
                                   Watychowicz regarding documents database, text files and email archives
                                   and related review of database training materials (all) (1.1); correspondence
                                   with SEC (Group 1) (.2).

                                   Claims Administration & Objections

        12/30/2021 AW         0.70 Work with K. Duff and J. Wine on update email to claimants regarding access
                                   to database and related email to claimants and counsel (all).

                                   Claims Administration & Objections

                    JRW       0.60 Work with A. Watychowicz and K. Duff on drafting of email to claimants
                                   regarding database extension (all) (.3); attention to claimant inquiry (all)
                                   (.3).

                                   Claims Administration & Objections

        12/31/2021 JRW        0.30 Review documents produced pursuant to subpoena and related
                                   correspondence to claimants' counsel (sole lien).

                                   Claims Administration & Objections


SUBTOTAL:                                                                                     [ 61.00        15930.00]

Tax Issues

        12/1/2021 KMP         0.20 Efforts to follow up with accountant regarding collection efforts relating to tax
                                   notices from federal authority for EB entities, and related communications
                                   with K. Duff, J. Wine, and A. Watychowicz.

                                   Tax Issues

        12/2/2021 KMP         2.30 Attention to voicemail message from accountant regarding collection efforts
                                   relating to tax notices from federal authority for EB entities and prepare
                                   email response (.2); prepare draft notice letter relating to tax collection
                                   notices and related communications with K. Duff and J. Wine (.4); begin
                                   reviewing emails and other materials relating to status of tax notices from
                                   government and/or collection agencies directed to various EB entities to
                                   prepare spreadsheet relating to same (1.7).

                                   Tax Issues
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 140 of 164 PageID #:61393
 Kevin B. Duff, Receiver                                                                                 Page 18



     Date      Indiv Hours Description


     12/3/2021 KMP         3.60 Finalize and prepare transmittal of notice letter relating to tax collection
                                notices and related communications with K. Duff and J. Wine (.4); continue
                                review of emails and other materials relating to status of tax notices from
                                governmentand/or collection agencies directed to various EB entities and
                                begin preparation of spreadsheet relating to same (3.2).

                                Tax Issues

     12/6/2021 KMP         3.10 Forward tax collection notices to accountant, prepare draft notice letters, and
                                related communications with K. Duff and J. Wine (.9); continue review of
                                emails and other materials relating to status of tax notices from government
                                and/or collection agencies directed to various EB entities and begin
                                preparation of spreadsheet relating to same (2.2).

                                Tax Issues

     12/7/2021 KMP         1.30 Finalize notice letters to collection agencies and prepare transmittals relating
                                to collection notices for past due 2017 taxes (.4); continue review of emails
                                and other materials relating to status of tax notices from government and/or
                                collection agencies directed to various EB entities and begin preparation of
                                spreadsheet relating to same (.9).

                                Tax Issues

     12/8/2021 KMP         0.20 Confer with J. Rak regarding property information for spreadsheets relating to
                                sole lien and Group 1 properties (sole lien; Group 1).

                                Tax Issues

     12/10/2021 KMP        0.90 Continue work on spreadsheet tracking tax notices and collection
                                letters and status of responses to same.

                                Tax Issues

     12/13/2021 KMP        3.40 Continue work on spreadsheet tracking tax notices and collection
                                letters and status of responses to same.

                                Tax Issues

     12/15/2021 KMP        3.40 Continue review of email communications and other materials to identify and
                                track tax notices and others regarding tax filing and collection issues.

                                Tax Issues

     12/20/2021 KMP        3.10 Continue review of email communications and other materials to identify and
                                track tax notices and others regarding tax filing and collection issues.

                                Tax Issues
  Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 141 of 164 PageID #:61394
   Kevin B. Duff, Receiver                                                                              Page 19



       Date      Indiv Hours Description


       12/21/2021 KMP        0.40 Review notices received from tax authority and forward to accountant (.2);
                                  add details of notices to tracking spreadsheet for such tax-related
                                  communications (.2).

                                  Tax Issues


SUBTOTAL:                                                                                [ 21.90         3066.00]




                                                                                         137.80       $31,964.00
  Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 142 of 164 PageID #:61395
    Kevin B. Duff, Receiver                                                                Page 20




Other Charges

                                     Description

Asset Analysis & Recovery

                                     Online research for December 2021                        17.24


SUBTOTAL:                                                                             [       17.24]

Asset Disposition

                                     Fee for publication of notice of public sale (7109      550.00
                                     Calumet)


SUBTOTAL:                                                                             [      550.00]

Business Operations

                                     Software license fees for December 2021                  96.00
                                     (Google Suite, $96)

                                     Photocopies for December 2021                             3.90


SUBTOTAL:                                                                             [       99.90]


Total Other Charges                                                                         $667.14




                                    Summary of Activity
                                                                        Hours       Rate
Jodi Wine                                                               38.10     260.00   $9,906.00
Ania Watychowicz                                                        23.60     140.00   $3,304.00
Justyna Rak                                                             11.20     140.00   $1,568.00
Kathleen M. Pritchard                                                   32.50     140.00   $4,550.00
Andrew E. Porter                                                        12.40     390.00   $4,836.00
Michael Rachlis                                                         20.00     390.00   $7,800.00
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 143 of 164 PageID #:61396
 Kevin B. Duff, Receiver                                                     Page 21




                                   SUMMARY


               Legal Services                                  $31,964.00
               Other Charges                                      $667.14

                  TOTAL DUE                                    $32,631.14
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 144 of 164 PageID #:61397




                Exhibit H
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 145 of 164 PageID #:61398


                              BrookWeiner L.L.C.
                             125 South Wacker Drive, 10th Floor
                                  Chicago, IL 60606-4497
                                       312-629-0900




EQUITYBUILD INC RECEIVERSHIP                                    Invoice No.211577
C/O KEVIN DUFF
542 S DEARBORN, SUITE 900
CHICAGO, IL 60605                                              Date 12/31/2021
                                                               Client No.BW10753




Services rendered in the month of October, 2021 per attached detail.

B. Fish         5.00 hours @ $110                                                       $   550.00

D. Weinberg     1.40 hours @ $275                                                           385.00


                                                            Current Amount Due      $       935.00




                                             Thank you.
                              We appreciate the opportunity to serve you.
                                      Referrals are welcome.



                                   PAYMENT DUE UPON RECEIPT
      Case: 1:18-cv-05587  Document
                        Invoice #211577 for#: 1181 Filed:
                                            EQUITYBUILD INC 02/14/22  Page
                                                            RECEIVERSHIP     146 of 164
                                                                         ( BW10753.001 ) PageID #:61399
ENG   DATE         EMPLOYEE CAT       SUBCAT   SERVICE   MEMO                       HOURS           BILLED       ADJUSTED

001   10/5/2021    Fish       ACCTG   CWU      4200      Review all Insurance         2.25           247.50           0.00
                                                         adjustment statements
001   10/4/2021    Fish       ACCTG   CWU      4200      review insurance             1.50           165.00           0.00
                                                         endorsments
001   10/27/2021   Weinberg   TAX     1120     2370      Prep for & Zoom meeting      0.80           220.00           0.00
                                                         re: EB/Whitley Penn
                                                         e-mails
001   10/28/2021   Weinberg   ACCTG   CWU      4235      Phone with K Duff re:        0.60           165.00           0.00
                                                         property sales & lenders
001   10/1/2021    Fish       ACCTG   CWU      4200      Entered Potential            1.25           137.50           0.00
                                                         Insuruance Refund
                                                         Amounts


                                                                                      6.40           935.00           0.00


                                                         Invoice Reconciliation

                                                         Billed WIP                                   935.00
                                                         Adjusted                                        0.00
                                                         Progress Amount                                 0.00
                                                                                             -----------------
                                                         Gross Amount                                 935.00
                                                         (Apply Prior Progress)                          0.00
                                                         Sales Tax                                       0.00
                                                         (Sales Tax Applied)                             0.00
                                                                                             -----------------
                                                         Net Invoice                                  935.00
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 147 of 164 PageID #:61400


                              BrookWeiner L.L.C.
                             125 South Wacker Drive, 10th Floor
                                  Chicago, IL 60606-4497
                                       312-629-0900




EQUITYBUILD INC RECEIVERSHIP                                  Invoice No.211578
C/O KEVIN DUFF
542 S DEARBORN, SUITE 900
CHICAGO, IL 60605                                            Date 12/31/2021
                                                             Client No.BW10753




Services rendered in the month of November, 2021 per attached detail.

B. Fish         1.20 hours @ $110

                                                          Current Amount Due      $   132.00




                                            Thank you.
                             We appreciate the opportunity to serve you.
                                     Referrals are welcome.



                                  PAYMENT DUE UPON RECEIPT
      Case: 1:18-cv-05587  Document
                        Invoice #211578 for#: 1181 Filed:
                                            EQUITYBUILD INC 02/14/22  Page
                                                            RECEIVERSHIP     148 of 164
                                                                         ( BW10753.001 ) PageID #:61401
ENG   DATE        EMPLOYEE CAT       SUBCAT    SERVICE   MEMO                        HOURS           BILLED       ADJUSTED

001   11/3/2021   Fish     ACCTG     CWU       4200      entered and verifided all     1.20           132.00           0.00
                                                         insurance adjustments for
                                                         sold properties.


                                                                                       1.20           132.00           0.00


                                                         Invoice Reconciliation

                                                         Billed WIP                                    132.00
                                                         Adjusted                                         0.00
                                                         Progress Amount                                  0.00
                                                                                              -----------------
                                                         Gross Amount                                  132.00
                                                         (Apply Prior Progress)                           0.00
                                                         Sales Tax                                        0.00
                                                         (Sales Tax Applied)                              0.00
                                                                                              -----------------
                                                         Net Invoice                                   132.00
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 149 of 164 PageID #:61402


                              BrookWeiner L.L.C.
                             125 South Wacker Drive, 10th Floor
                                  Chicago, IL 60606-4497
                                       312-629-0900




EQUITYBUILD INC RECEIVERSHIP                                  Invoice No.211579
C/O KEVIN DUFF
542 S DEARBORN, SUITE 900
CHICAGO, IL 60605                                            Date 12/31/2021
                                                             Client No.BW10753




Services rendered in the month of December, 2021 per attached detail.

G. Castaldi      3.00 hours @ $110
                                                          Current Amount Due      $   330.00




                                            Thank you.
                             We appreciate the opportunity to serve you.
                                     Referrals are welcome.



                                  PAYMENT DUE UPON RECEIPT
      Case: 1:18-cv-05587  Document
                        Invoice #211579 for#: 1181 Filed:
                                            EQUITYBUILD INC 02/14/22  Page
                                                            RECEIVERSHIP     150 of 164
                                                                         ( BW10753.001 ) PageID #:61403
ENG   DATE         EMPLOYEE CAT       SUBCAT   SERVICE   MEMO                         HOURS           BILLED       ADJUSTED

001   12/2/2021    Castaldi   CONSU   AUP      3570      Opening old Quickbooks         1.50           165.00           0.00
                                                         file to determine if there
                                                         was any new information
                                                         that the client wasn't
                                                         aware of.
001   12/14/2021   Castaldi   ACCTG   CWU      4235      various reponse letters to     1.50           165.00           0.00
                                                         IRS notices regarding
                                                         2017 filings.


                                                                                        3.00           330.00           0.00


                                                         Invoice Reconciliation

                                                         Billed WIP                                     330.00
                                                         Adjusted                                          0.00
                                                         Progress Amount                                   0.00
                                                                                               -----------------
                                                         Gross Amount                                   330.00
                                                         (Apply Prior Progress)                            0.00
                                                         Sales Tax                                         0.00
                                                         (Sales Tax Applied)                               0.00
                                                                                               -----------------
                                                         Net Invoice                                    330.00
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 151 of 164 PageID #:61404




                Exhibit I
            Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 152 of 164 PageID #:61405




                                                                                                                                      Invoice
        BILL TO
                                                                                                                          DATE                INVOICE #
      EquityBuild
      Kevin Duff                                                                                                         1/14/2022              14078




                                                                    TERMS                                          PROJECT




QUANTITY SERVICED                                                      DESCRIPTION                                                   RATE      AMOUNT

         0.5 10/12/2021        Changed info on website for Ania. Set Jodi’s mailbox to unlimited emails so she can see all her       110.00         55.00
                               emails that are on the website.
        1.25 10/19/2021        Updated website for Ania. Also changed a few entries for Ania and she sent me two more to update      110.00        137.50
                               website with later in the day.
         0.5   11/4/2021       Updated website with entries from Ania.                                                               110.00         55.00
         0.5   11/8/2021       Ran file tree copy for Ania.                                                                          110.00         55.00
           1   11/17/2021      Updated Website for Ania.                                                                             110.00        110.00
           1   12/17/2021      Edited website info for Ania.                                                                         110.00        110.00
                               Illinois Sales Tax                                                                                  10.25%            0.00




Thank you for your business.
                                                                                                                                  Total           $522.50
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 153 of 164 PageID #:61406




                Exhibit J
       Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 154 of 164 PageID #:61407


SEC v EquityBuild, Inc., Case No. 18-cv-5587
Agency Fees Paid to Andrew E. Porter
                                                             Fees Paid Quarter Total     Fee Apps   Difference
2Q2019
Attorney Title & Guaranty Fund (7500 S Eggleston)           $3,785.00
Attorney Title & Guaranty Fund (7549 S Essex)               $3,946.50
Attorney Title & Guaranty Fund (8100 S Essex)               $2,527.50
Attorney Title & Guaranty Fund (8100 S Essex)                 $450.00
Attorney Title & Guaranty Fund (6160 S King)                $2,060.00
Attorney Title & Guaranty Fund (6160 S King)                  $450.00
Attorney Title & Guaranty Fund (7943 S Essex)                 $895.00
Attorney Title & Guaranty Fund (7927 S Essex)               $1,936.00
Attorney Title & Guaranty Fund (7933 S Essex)               $2,055.00
Attorney Title & Guaranty Fund (7937 S Essex)               $1,694.00
Attorney Title & Guaranty Fund (7947 S Essex)               $2,340.00
Attorney Title & Guaranty Fund (5001 S Drexel)              $3,905.00    $26,044.00    $15,200.00   $10,844.00
4Q2019
First American Title (7301 S Stewart)                       $2,192.00
First American Title (5955 S Sacramento)                    $2,064.00
First American Title (6001 S Sacramento)                    $1,808.00
First American Title (7026 S Cornell)                       $2,940.00
Attorney Title & Guaranty Fund (7834 S Ellis)               $5,569.30
First American Title (3030 E 79th Street)                   $1,736.00
Attorney Title & Guaranty Fund (2909 E 78th Street)         $3,837.70
First American Title (7625 S East End)                      $3,108.00
First American Title (7635 S East End)                      $3,012.00
First American Title (7750 S Muskegon)                      $2,272.00
First American Title (7748 S Essex)                         $3,228.00    $31,767.00    $31,767.00        $0.00
1Q2020
First American Title (8047 S Manistee)                      $2,776.00
Attorney Title & Guaranty Fund (701 S Fifth)                $3,336.25     $6,112.25     $6,102.25      $10.00
2Q2020
First American Title (7749 S Yates)                         $2,712.00
First American Title (6749 S Merrill)                       $3,400.00
First American Title (7450 S Luella)                        $1,552.00
First American Title (7546 S Saginaw)                       $2,176.00
First American Title (8201 S Kingston)                      $1,752.00
First American Title (4520 S Drexel)                        $8,956.00
First American Title (8326-58 S Ellis)                      $3,556.00
First American Title (5450 S Indiana)                       $3,784.00
First American Title (6437 S Indiana) s/b Kenwood           $3,322.00
First American Title (7760 S Coles)                         $1,520.00
First American Title (8000 S Justine)                       $1,720.00
First American Title (8214 S Ingleside)                     $1,672.00
First American Title (8107 S Ellis)                         $1,456.00    $37,578.00    $37,578.00        $0.00
3Q2020
First American Title (8209 S Ellis)                         $1,720.00
First American Title (11117 S Longwood)                     $3,724.00
First American Title (7300 S St Lawrence)                   $1,624.00
First American Title (7110 S Cornell)                       $3,112.00
First American Title (7957 S Marquette)                     $1,688.00
First American Title (7051 S Bennett)                       $2,128.00
First American Title (3074 E Cheltenham)                    $2,896.00
First American Title (2736 W 64th)                          $1,792.00
First American Title (6355 S Talman)                        $2,096.00
First American Title (6536 S California)                    $1,720.00
First American Title (5618 S King)                          $2,208.00
First American Title (7201 S Constance)                     $2,944.00    $27,652.00    $29,108.00   ($1,456.00)
4Q2020
First American Title (6554 S Vernon)                        $2,096.00
First American Title (1700 W Juneway)                       $4,984.00
First American Title (7201 S Dorchester)                    $1,920.00
First American Title (7508 S Essex)                         $2,400.00
First American Title (431 E 42nd Place)                     $1,344.00
First American Title (6949 S Merrill)                       $3,432.00
First American Title (4533 S Calumet)                       $4,168.00
Chicago Title Insurance Company (4515 S Michigan)           $3,060.00
First American Title (7600 S Kingston)                      $3,444.00



                                                      Page 1 of 2
        Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 155 of 164 PageID #:61408


First American Title (7656 S Kingston)                     $1,608.00
First American Title (7442 S Calumet)                      $2,080.00
First American Title (7701 S Essex)                        $2,288.00
First American Title (816 E Marquette)                     $2,520.00
First American Title (6250 S Mozart)                       $2,712.00
First American Title (1131 E 79th)                         $3,004.00     $41,060.00     $44,054.00    ($2,994.00)
2Q2021
First American Title (4750 S Indiana)                      $2,288.00
First American Title (7840 S Yates)                        $1,672.00
Chicago Title & Trust Company (7042 S Paxton)              $4,218.12
First American Title (2800 E 81st)                         $1,808.00
First American Title (4611 S Drexel)                       $7,504.00
Chicago Title & Trust Company (SFH 01)                     $1,487.50
Chicago Title & Trust Company (SFH 03)                     $1,487.50
Chicago Title & Trust Company (SFH 04)                     $1,487.50
Chicago Title & Trust Company (SFH 05)                     $1,487.50
Chicago Title & Trust Company (SFH 06)                     $1,487.50
Chicago Title & Trust Company (SFH 07)                     $1,487.50
Chicago Title & Trust Company (SFH 08)                     $1,487.50
Chicago Title & Trust Company (SFH 09)                     $1,487.50
Chicago Title & Trust Company (SFH 10)                     $1,487.50
Chicago Title & Trust Company (SFH 11)                     $1,487.50
Chicago Title & Trust Company (SFH 12)                     $1,487.50
Chicago Title & Trust Company (SFH 13)                     $1,487.50
Chicago Title & Trust Company (SFH 14)                     $1,487.50
Chicago Title & Trust Company (SFH 15)                     $1,487.50
Chicago Title & Trust Company (SFH 16)                     $1,487.50
Chicago Title & Trust Company (SFH 17)                     $1,487.50
Chicago Title & Trust Company (SFH 18)                     $1,487.50
Chicago Title & Trust Company (SFH 19)                     $1,572.50
Chicago Title & Trust Company (SFH 20)                     $1,487.50
Chicago Title & Trust Company (SFH 21)                     $1,487.50
Chicago Title & Trust Company (SFH 22)                     $1,487.50
Chicago Title & Trust Company (SFH 23)                     $1,487.50
Chicago Title & Trust Company (SFH 24)                     $1,487.50
Chicago Title & Trust Company (SFH 25)                     $1,487.50
Chicago Title & Trust Company (SFH 26)                     $1,487.50
Chicago Title & Trust Company (SFH 27)                     $1,487.50
Chicago Title & Trust Company (SFH 28)                     $1,487.50
Chicago Title & Trust Company (SFH 29)                     $1,487.50
Chicago Title & Trust Company (SFH 30)                     $1,487.50
Chicago Title & Trust Company (SFH 31)                     $1,487.50
Chicago Title & Trust Company (SFH 32)                     $1,487.50
Chicago Title & Trust Company (SFH 33)                     $1,487.50
Chicago Title & Trust Company (SFH 34)                     $1,487.50
Chicago Title & Trust Company (SFH 35)                     $1,487.50
Chicago Title & Trust Company (SFH 36)                     $1,487.50
Chicago Title & Trust Company (SFH 37)                     $1,793.50
Chicago Title & Trust Company (SFH 38)                     $1,487.50
First American Title (1422 E 68th)                         $1,752.00
First American Title (7255 S Euclid)                       $2,776.00
First American Title (7237 S Bennett)                      $3,043.00     $80,489.62     $74,670.62     $5,819.00
3Q2021
First American Title (6217 S Dorchester)                   $4,163.20      $4,163.20      $4,163.20         $0.00
                        Net unreported trhough 3Q2021                                                $12,223.00

4Q2021
First American Title (638 N Avers)                         $1,055.00      $1,055.00          $0.00     $1,055.00

                                 Total as of 12/16/2021 $255,921.07    $255,921.07    $242,643.07    $13,278.00




                                                     Page 2 of 2
Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 156 of 164 PageID #:61409




                Exhibit K
                                   Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 157 of 164 PageID #:61410
                                                                                                                                                                                                         DRAFT - Subject to Change



                                                                              EquityBuild - Property Allocation Summary

                                                                                                           General Allocation(s) [1]                 Specific Allocation(s) [2]                 Total Allocation(s) [3]
                                                                          Allocation Percent
Prop #                 Property Address         Allocation Percent     (1/29/2021 and Onward,              Hours                Fees            Specific Hours         Specific Fees       Total Hours            Total Fees
                                                                             Claims Only)
  1      1700-08 W Juneway Terrace                    3.51860457772%             3.78098355671%                    1.57   $            401.81               0.62   $              107.87             2.19     $            509.68
           Asset Disposition                                                                                       0.10   $             21.25               0.23   $               36.05              0.34    $              57.31
           Business Operations                                                                                     0.14   $             28.89               0.13   $               19.68              0.27    $              48.57
           Claims Administration & Objections                                                                      1.33   $            351.67               0.25   $               52.13              1.59    $             403.80
  2      4533-47 S Calumet Avenue                     2.66408632313%            2.86274469293%                     1.19   $            304.23               8.52   $         2,106.87                9.71     $           2,411.10
           Asset Disposition                                                                                       0.08   $             16.09               0.57   $             82.72                0.64    $              98.81
           Business Operations                                                                                     0.10   $             21.87               7.20   $          1,877.02                7.30    $           1,898.89
           Claims Administration & Objections                                                                      1.01   $            266.26               0.75   $            147.13                1.76    $             413.40
  3      5001 S Drexel Boulevard                      3.51860457772%            3.78098355671%                     1.57   $            401.81               0.62   $              110.57             2.19     $            512.38
           Asset Disposition                                                                                       0.10   $             21.25               0.23   $               36.05              0.34    $              57.31
           Business Operations                                                                                     0.14   $             28.89               0.13   $               22.38              0.27    $              51.27
           Claims Administration & Objections                                                                      1.33   $            351.67               0.25   $               52.13              1.59    $             403.80
  4      5450-52 S Indiana Avenue                     2.26196008568%            2.43063228645%                     1.01   $            258.31               0.72   $              126.67             1.73     $            384.98
           Asset Disposition                                                                                       0.07   $             13.66               0.23   $               36.05              0.30    $              49.72
           Business Operations                                                                                     0.09   $             18.57               0.13   $               19.68              0.22    $              38.25
           Claims Administration & Objections                                                                      0.86   $            226.07               0.35   $               70.93              1.21    $             297.01
  5      7749-59 S Yates Boulevard                    1.41372505355%            1.51914517903%                     0.63   $            161.44               2.25   $              370.07             2.88     $            531.51
           Asset Disposition                                                                                       0.04   $              8.54               0.28   $               41.95              0.32    $              50.49
           Business Operations                                                                                     0.06   $             11.61               0.35   $               53.68              0.40    $              65.29
           Claims Administration & Objections                                                                      0.53   $            141.30               1.63   $              274.43              2.16    $             415.73
  6      6437-41 S Kenwood Avenue                     1.77815195624%            1.91074704741%                     0.79   $            203.06               1.58   $              267.03             2.38     $            470.08
           Asset Disposition                                                                                       0.05   $             10.74               0.30   $               45.21              0.35    $              55.95
           Business Operations                                                                                     0.07   $             14.60               0.13   $               19.68              0.20    $              34.28
           Claims Administration & Objections                                                                      0.67   $            177.72               1.15   $              202.13              1.83    $             379.85
  7      7109-19 S Calumet Avenue                     1.62107139474%            1.74195313862%                     0.72   $            185.12             20.74    $         6,335.88               21.46     $           6,521.00
           Asset Disposition                                                                                       0.05   $              9.79              19.87   $          6,093.75              19.92     $           6,103.54
           Business Operations                                                                                     0.06   $             13.31               0.62   $            190.00               0.68     $             203.31
           Claims Administration & Objections                                                                      0.61   $            162.02               0.25   $             52.13               0.87     $             214.15
  8      1414-18 East 62nd Place                      0.06939693543%            0.07457179855%                     0.03   $              7.92               0.95   $              183.29             0.98     $            191.21
           Asset Disposition                                                                                       0.00   $              0.42               0.52   $              101.51              0.53    $             101.92
           Business Operations                                                                                     0.00   $              0.57               0.13   $               22.38              0.14    $              22.95
           Claims Administration & Objections                                                                      0.03   $              6.94               0.29   $               59.40              0.32    $              66.34
  9      8100 S Essex Avenue                          1.38230894125%            1.48538639728%                     0.62   $            157.85               1.60   $              280.96             2.21     $            438.82
           Asset Disposition                                                                                       0.04   $              8.35               0.63   $              128.45              0.67    $             136.80
           Business Operations                                                                                     0.05   $             11.35               0.12   $               16.38              0.17    $              27.73
           Claims Administration & Objections                                                                      0.52   $            138.16               0.85   $              136.13              1.38    $             274.29
 10      7301-09 S Stewart Avenue                     0.81681891983%            0.87772832566%                     0.36   $             93.28               0.75   $              124.46             1.11     $            217.74
           Asset Disposition                                                                                       0.02   $              4.93               0.28   $               41.95              0.30    $              46.88
           Business Operations                                                                                     0.03   $              6.71               0.12   $               16.38              0.15    $              23.08
           Claims Administration & Objections                                                                      0.31   $             81.64               0.35   $               66.13              0.66    $             147.77
 11      7500-06 S Eggleston Avenue                   1.20637871236%            1.29633721944%                     0.54   $            137.76               2.80   $              448.96             3.34     $            586.73
           Asset Disposition                                                                                       0.03   $              7.29               0.83   $              156.45              0.86    $             163.74
           Business Operations                                                                                     0.05   $              9.90               1.62   $              226.38              1.66    $             236.28
           Claims Administration & Objections                                                                      0.46   $            120.57               0.35   $               66.13              0.81    $             186.71
 12      3030-32 E 79th Street                        0.50265779682%            0.54014050810%                     0.22   $             57.40               0.71   $              118.57             0.93     $            175.97
           Asset Disposition                                                                                       0.01   $              3.04               0.23   $               36.05              0.25    $              39.09
           Business Operations                                                                                     0.02   $              4.13               0.12   $               16.38              0.14    $              20.51
           Claims Administration & Objections                                                                      0.19   $             50.24               0.35   $               66.13              0.54    $             116.37
 13      2909-19 E 78th Street                        1.79197504565%            1.92560091138%                     0.80   $            204.64               2.13   $              322.20             2.93     $            526.84
           Asset Disposition                                                                                       0.05   $             10.82               0.93   $              134.05              0.99    $             144.88
           Business Operations                                                                                     0.07   $             14.71               0.13   $               22.38              0.20    $              37.09
           Claims Administration & Objections                                                                      0.68   $            179.10               1.07   $              165.77              1.74    $             344.87
 14      7549-59 S Essex Avenue                       1.47655727815%            1.58666274255%                     0.66   $            168.62               3.11   $              492.60             3.77     $            661.21
           Asset Disposition                                                                                       0.04   $              8.92               0.83   $              156.45              0.87    $             165.37
           Business Operations                                                                                     0.06   $             12.12               1.22   $              170.38              1.27    $             182.50
           Claims Administration & Objections                                                                      0.56   $            147.58               1.07   $              165.77              1.62    $             313.34
 15      8047-55 S Manistee Avenue                    1.22522837974%            1.31659248850%                     0.55   $            139.92               1.67   $              255.40             2.22     $            395.32
           Asset Disposition                                                                                       0.04   $              7.40               0.28   $               41.95              0.31    $              49.35
           Business Operations                                                                                     0.05   $             10.06               0.13   $               19.68              0.18    $              29.74




                                                                                                  1 of 8
                                   Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 158 of 164 PageID #:61411
                                                                                                                                                                                                        DRAFT - Subject to Change



                                                                              EquityBuild - Property Allocation Summary

                                                                                                          General Allocation(s) [1]                 Specific Allocation(s) [2]                 Total Allocation(s) [3]
                                                                          Allocation Percent
Prop #                 Property Address         Allocation Percent     (1/29/2021 and Onward,             Hours                Fees            Specific Hours         Specific Fees       Total Hours            Total Fees
                                                                             Claims Only)
           Claims Administration & Objections                                                                     0.46    $           122.46               1.27   $              193.77              1.73    $           316.22
 16      1017 W 102nd Street                          0.12248262535%                                              0.01    $            1.75                2.58   $              707.26             2.59     $           709.01
           Asset Disposition                                                                                      0.00    $             0.74               0.53   $              103.36              0.53    $           104.10
           Business Operations                                                                                    0.00    $             1.01               0.12   $               16.38              0.12    $            17.38
           Claims Administration & Objections                                                                      -      $              -                 1.93   $              587.52              1.93    $           587.52
 17      1516 E 85th Place                            0.12216218101%                                              0.01    $            1.74                2.58   $              707.26             2.59     $           709.00
           Asset Disposition                                                                                      0.00    $             0.74               0.53   $              103.36              0.53    $           104.10
           Business Operations                                                                                    0.00    $             1.00               0.12   $               16.38              0.12    $            17.38
           Claims Administration & Objections                                                                      -      $              -                 1.93   $              587.52              1.93    $           587.52
 18      2136 W 83rd Street                           0.12141699082%                                              0.01    $            1.73                2.58   $              707.26             2.59     $           708.99
           Asset Disposition                                                                                      0.00    $             0.73               0.53   $              103.36              0.53    $           104.10
           Business Operations                                                                                    0.00    $             1.00               0.12   $               16.38              0.12    $            17.38
           Claims Administration & Objections                                                                      -      $              -                 1.93   $              587.52              1.93    $           587.52
 19      417 Oglesby Avenue                           0.12461263776%                                              0.01    $            1.78                2.58   $              707.26             2.59     $           709.04
           Asset Disposition                                                                                      0.00    $             0.75               0.53   $              103.36              0.53    $           104.11
           Business Operations                                                                                    0.00    $             1.02               0.12   $               16.38              0.12    $            17.40
           Claims Administration & Objections                                                                      -      $              -                 1.93   $              587.52              1.93    $           587.52
 20      7922 S Luella Avenue                         0.16827977722%                                              0.01    $            2.40                2.62   $              713.16             2.63     $           715.56
           Asset Disposition                                                                                      0.00    $             1.02               0.57   $              109.26              0.58    $           110.28
           Business Operations                                                                                    0.01    $             1.38               0.12   $               16.38              0.12    $            17.76
           Claims Administration & Objections                                                                      -      $              -                 1.93   $              587.52              1.93    $           587.52
 21      7925 S Kingston Avenue                       0.10224562245%                                              0.01    $            1.46                2.62   $              713.16             2.63     $           714.62
           Asset Disposition                                                                                      0.00    $             0.62               0.57   $              109.26              0.57    $           109.88
           Business Operations                                                                                    0.00    $             0.84               0.12   $               16.38              0.12    $            17.22
           Claims Administration & Objections                                                                      -      $              -                 1.93   $              587.52              1.93    $           587.52
 22      7933 S Kingston Avenue                       0.11502695358%            0.12360440352%                    0.05    $           13.14                0.98   $              185.04             1.03     $           198.18
           Asset Disposition                                                                                      0.00    $             0.69               0.57   $              109.26              0.57    $           109.95
           Business Operations                                                                                    0.00    $             0.94               0.12   $               16.38              0.12    $            17.32
           Claims Administration & Objections                                                                     0.04    $            11.50               0.29   $               59.40              0.34    $            70.90
 23      8030 S Marquette Avenue                      0.09159556038%                                              0.01    $            1.31                2.62   $              713.16             2.63     $           714.46
           Asset Disposition                                                                                      0.00    $             0.55               0.57   $              109.26              0.57    $           109.81
           Business Operations                                                                                    0.00    $             0.75               0.12   $               16.38              0.12    $            17.13
           Claims Administration & Objections                                                                      -      $              -                 1.93   $              587.52              1.93    $           587.52
 24      8104 S Kingston Avenue                       0.17893109593%                                              0.01    $            2.55                2.62   $              713.16             2.63     $           715.71
           Asset Disposition                                                                                      0.01    $             1.08               0.57   $              109.26              0.58    $           110.34
           Business Operations                                                                                    0.01    $             1.47               0.12   $               16.38              0.12    $            17.85
           Claims Administration & Objections                                                                      -      $              -                 1.93   $              587.52              1.93    $           587.52
 25      8403 S Aberdeen Street                       0.13845834678%                                              0.01    $            1.97                2.94   $              758.79             2.95     $           760.76
           Asset Disposition                                                                                      0.00    $             0.84               0.57   $              109.26              0.57    $           110.10
           Business Operations                                                                                    0.01    $             1.14               0.43   $               62.01              0.44    $            63.14
           Claims Administration & Objections                                                                      -      $              -                 1.93   $              587.52              1.93    $           587.52
 26      8405 S Marquette Avenue                      0.14271837161%            0.15336074411%                    0.06    $           16.30                0.98   $              185.04             1.04     $           201.34
           Asset Disposition                                                                                      0.00    $             0.86               0.57   $              109.26              0.57    $           110.12
           Business Operations                                                                                    0.01    $             1.17               0.12   $               16.38              0.12    $            17.55
           Claims Administration & Objections                                                                     0.05    $            14.26               0.29   $               59.40              0.35    $            73.67
 27      8529 S Rhodes Avenue                         0.17040978963%                                              0.01    $            2.43                2.62   $              713.16             2.63     $           715.59
           Asset Disposition                                                                                      0.00    $             1.03               0.57   $              109.26              0.58    $           110.29
           Business Operations                                                                                    0.01    $             1.40               0.12   $               16.38              0.12    $            17.78
           Claims Administration & Objections                                                                      -      $              -                 1.93   $              587.52              1.93    $           587.52
 28      8800 S Ada Street                            0.16508538692%            0.17739564637%                    0.07    $           18.85                0.98   $              185.04             1.05     $           203.89
           Asset Disposition                                                                                      0.00    $             1.00               0.57   $              109.26              0.58    $           110.26
           Business Operations                                                                                    0.01    $             1.36               0.12   $               16.38              0.12    $            17.73
           Claims Administration & Objections                                                                     0.06    $            16.50               0.29   $               59.40              0.35    $            75.90
 29      9212 S Parnell Avenue                        0.12085652738%                                              0.01    $            1.72                2.62   $              713.16             2.63     $           714.88
           Asset Disposition                                                                                      0.00    $             0.73               0.57   $              109.26              0.57    $           109.99
           Business Operations                                                                                    0.00    $             0.99               0.12   $               16.38              0.12    $            17.37
           Claims Administration & Objections                                                                      -      $              -                 1.93   $              587.52              1.93    $           587.52
 30      10012 S LaSalle Avenue                       0.11183130664%                                              0.01    $            1.59                2.60   $              715.62             2.61     $           717.21
           Asset Disposition                                                                                      0.00    $             0.68               0.53   $              103.36              0.53    $           104.04
           Business Operations                                                                                    0.00    $             0.92               0.12   $               16.38              0.12    $            17.30




                                                                                                 2 of 8
                                   Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 159 of 164 PageID #:61412
                                                                                                                                                                                                       DRAFT - Subject to Change



                                                                              EquityBuild - Property Allocation Summary

                                                                                                          General Allocation(s) [1]                Specific Allocation(s) [2]                 Total Allocation(s) [3]
                                                                          Allocation Percent
Prop #                 Property Address         Allocation Percent     (1/29/2021 and Onward,             Hours                Fees           Specific Hours         Specific Fees       Total Hours            Total Fees
                                                                             Claims Only)
           Claims Administration & Objections                                                                      -      $             -                 1.96   $              595.88              1.96    $           595.88
 31      11318 S Church Street                        0.15933372508%                                              0.01    $            2.27               2.60   $              715.62             2.61     $           717.89
           Asset Disposition                                                                                      0.00    $            0.96               0.53   $              103.36              0.53    $           104.32
           Business Operations                                                                                    0.01    $            1.31               0.12   $               16.38              0.12    $            17.69
           Claims Administration & Objections                                                                      -      $             -                 1.96   $              595.88              1.96    $           595.88
 32      3213 S Throop Street                         0.16774695995%                                              0.01    $            2.39               2.60   $              715.62             2.61     $           718.01
           Asset Disposition                                                                                      0.00    $            1.01               0.53   $              103.36              0.53    $           104.38
           Business Operations                                                                                    0.01    $            1.38               0.12   $               16.38              0.12    $            17.76
           Claims Administration & Objections                                                                      -      $             -                 1.96   $              595.88              1.96    $           595.88
 33      3723 W 68th Place                            0.16188973998%            0.17396170309%                    0.07    $           18.49               0.96   $              187.50             1.03     $           205.99
           Asset Disposition                                                                                      0.00    $            0.98               0.53   $              103.36              0.53    $           104.34
           Business Operations                                                                                    0.01    $            1.33               0.12   $               16.38              0.12    $            17.71
           Claims Administration & Objections                                                                     0.06    $           16.18               0.31   $               67.76              0.38    $            83.94
 34      406 E 87th Place                             0.13015067004%                                              0.01    $            1.85               2.60   $              715.62             2.61     $           717.47
           Asset Disposition                                                                                      0.00    $            0.79               0.53   $              103.36              0.53    $           104.15
           Business Operations                                                                                    0.01    $            1.07               0.12   $               16.38              0.12    $            17.45
           Claims Administration & Objections                                                                      -      $             -                 1.96   $              595.88              1.96    $           595.88
 35      61 E 92nd Street                             0.13441069487%            0.14443357187%                    0.06    $           15.35               0.96   $              187.50             1.02     $           202.85
           Asset Disposition                                                                                      0.00    $            0.81               0.53   $              103.36              0.53    $           104.17
           Business Operations                                                                                    0.01    $            1.10               0.12   $               16.38              0.12    $            17.48
           Claims Administration & Objections                                                                     0.05    $           13.43               0.31   $               67.76              0.36    $            81.19
 36      6554 S Rhodes Avenue                         0.10863691634%                                              0.01    $            1.55               2.62   $              721.62             2.62     $           723.17
           Asset Disposition                                                                                      0.00    $            0.66               0.53   $              103.36              0.53    $           104.02
           Business Operations                                                                                    0.00    $            0.89               0.13   $               22.38              0.14    $            23.27
           Claims Administration & Objections                                                                      -      $             -                 1.96   $              595.88              1.96    $           595.88
 37      6825 S Indiana Avenue                        0.16721539933%                                              0.01    $            2.38               2.62   $              721.62             2.63     $           724.00
           Asset Disposition                                                                                      0.00    $            1.01               0.53   $              103.36              0.53    $           104.37
           Business Operations                                                                                    0.01    $            1.37               0.13   $               22.38              0.14    $            23.75
           Claims Administration & Objections                                                                      -      $             -                 1.96   $              595.88              1.96    $           595.88
 38      7210 S Vernon Avenue                         0.08464505970%                                              0.01    $            1.21               2.66   $              727.52             2.66     $           728.72
           Asset Disposition                                                                                      0.00    $            0.51               0.57   $              109.26              0.57    $           109.77
           Business Operations                                                                                    0.00    $            0.69               0.13   $               22.38              0.14    $            23.07
           Claims Administration & Objections                                                                      -      $             -                 1.96   $              595.88              1.96    $           595.88
 39      7712 S Euclid Avenue                         0.16614976480%                                              0.01    $            2.37               2.64   $              721.52             2.65     $           723.88
           Asset Disposition                                                                                      0.00    $            1.00               0.57   $              109.26              0.58    $           110.26
           Business Operations                                                                                    0.01    $            1.36               0.12   $               16.38              0.12    $            17.74
           Claims Administration & Objections                                                                      -      $             -                 1.96   $              595.88              1.96    $           595.88
 40      7953 S Woodlawn Avenue                       0.16721539933%            0.17968449178%                    0.07    $           19.10               1.00   $              193.40             1.08     $           212.49
           Asset Disposition                                                                                      0.00    $            1.01               0.57   $              109.26              0.58    $           110.27
           Business Operations                                                                                    0.01    $            1.37               0.12   $               16.38              0.12    $            17.75
           Claims Administration & Objections                                                                     0.06    $           16.71               0.31   $               67.76              0.38    $            84.47
 41      8107 S Kingston Avenue                       0.12695502310%                                              0.01    $            1.81               2.64   $              721.52             2.65     $           723.32
           Asset Disposition                                                                                      0.00    $            0.77               0.57   $              109.26              0.57    $           110.03
           Business Operations                                                                                    0.00    $            1.04               0.12   $               16.38              0.12    $            17.42
           Claims Administration & Objections                                                                      -      $             -                 1.96   $              595.88              1.96    $           595.88
 42      8346 S Constance Avenue                      0.17680108352%                                              0.01    $            2.52               2.62   $              713.16             2.63     $           715.68
           Asset Disposition                                                                                      0.01    $            1.07               0.57   $              109.26              0.58    $           110.33
           Business Operations                                                                                    0.01    $            1.45               0.12   $               16.38              0.12    $            17.83
           Claims Administration & Objections                                                                      -      $             -                 1.93   $              587.52              1.93    $           587.52
 43      8432 S Essex Avenue                          0.17786546140%                                              0.01    $            2.53               2.64   $              721.52             2.66     $           724.05
           Asset Disposition                                                                                      0.01    $            1.07               0.57   $              109.26              0.58    $           110.33
           Business Operations                                                                                    0.01    $            1.46               0.12   $               16.38              0.12    $            17.84
           Claims Administration & Objections                                                                      -      $             -                 1.96   $              595.88              1.96    $           595.88
 44      8517 S Vernon Avenue                         0.16721539933%                                              0.01    $            2.38               2.94   $              794.02             2.95     $           796.40
           Asset Disposition                                                                                      0.00    $            1.01               0.67   $              123.26              0.68    $           124.27
           Business Operations                                                                                    0.01    $            1.37               0.17   $               35.88              0.17    $            37.25
           Claims Administration & Objections                                                                      -      $             -                 2.11   $              634.88              2.11    $           634.88




                                                                                                 3 of 8
                                    Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 160 of 164 PageID #:61413
                                                                                                                                                                                                       DRAFT - Subject to Change



                                                                              EquityBuild - Property Allocation Summary

                                                                                                          General Allocation(s) [1]                Specific Allocation(s) [2]                 Total Allocation(s) [3]
                                                                          Allocation Percent
Prop #                  Property Address        Allocation Percent     (1/29/2021 and Onward,             Hours                Fees           Specific Hours         Specific Fees       Total Hours            Total Fees
                                                                             Claims Only)
 45      2129 W 71st Street                           0.08264950824%                                              0.01    $            1.18               2.58   $              707.26             2.59     $           708.44
           Asset Disposition                                                                                      0.00    $            0.50               0.53   $              103.36              0.53    $           103.86
           Business Operations                                                                                    0.00    $            0.68               0.12   $               16.38              0.12    $            17.06
           Claims Administration & Objections                                                                      -      $             -                 1.93   $              587.52              1.93    $           587.52
 46      9610 S Woodlawn Avenue                       0.10757128181%                                              0.01    $            1.53               3.32   $              841.66             3.33     $           843.19
           Asset Disposition                                                                                      0.00    $            0.65               1.07   $              179.26              1.07    $           179.91
           Business Operations                                                                                    0.00    $            0.88               0.17   $               35.88              0.17    $            36.76
           Claims Administration & Objections                                                                      -      $             -                 2.08   $              626.52              2.08    $           626.52
 47      5437 S Laflin Street                         0.05689960596%            0.06114255517%                    0.03    $            6.50               0.94   $              179.14             0.96     $           185.64
           Asset Disposition                                                                                      0.00    $            0.34               0.53   $              103.36              0.53    $           103.71
           Business Operations                                                                                    0.00    $            0.47               0.12   $               16.38              0.12    $            16.85
           Claims Administration & Objections                                                                     0.02    $            5.69               0.29   $               59.40              0.31    $            65.09
 48      6759 S Indiana Avenue                        0.12514545503%                                              0.01    $            1.78               2.58   $              707.26             2.59     $           709.04
           Asset Disposition                                                                                      0.00    $            0.76               0.53   $              103.36              0.53    $           104.12
           Business Operations                                                                                    0.00    $            1.03               0.12   $               16.38              0.12    $            17.41
           Claims Administration & Objections                                                                      -      $             -                 1.93   $              587.52              1.93    $           587.52
 49      7300-04 S St Lawrence Avenue                 0.41469268237%            0.44561591918%                    0.19    $           47.36               0.67   $              115.63             0.85     $           162.98
           Asset Disposition                                                                                      0.01    $            2.50               0.28   $               43.81              0.29    $            46.31
           Business Operations                                                                                    0.02    $            3.40               0.13   $               19.68              0.15    $            23.09
           Claims Administration & Objections                                                                     0.16    $           41.45               0.25   $               52.13              0.41    $            93.58
 50      7760 S Coles Avenue                          0.32672756793%            0.35109133027%                    0.15    $           37.31               0.73   $              124.78             0.88     $           162.09
           Asset Disposition                                                                                      0.01    $            1.97               0.35   $               52.96              0.36    $            54.94
           Business Operations                                                                                    0.01    $            2.68               0.13   $               19.68              0.14    $            22.37
           Claims Administration & Objections                                                                     0.12    $           32.66               0.25   $               52.13              0.38    $            84.79
 51      1401 W 109th Place                           0.08201615942%            0.08813202600%                    0.04    $            9.37               2.44   $              486.14             2.47     $           495.51
           Asset Disposition                                                                                      0.00    $            0.50               0.53   $              103.36              0.53    $           103.86
           Business Operations                                                                                    0.00    $            0.67               1.02   $              239.38              1.02    $           240.05
           Claims Administration & Objections                                                                     0.03    $            8.20               0.89   $              143.40              0.92    $           151.60
 52      310 E 50th Street                            0.25292609356%            0.27178655051%                    0.11    $           28.88               1.04   $              193.14             1.15     $           222.03
           Asset Disposition                                                                                      0.01    $            1.53               0.63   $              117.36              0.64    $           118.89
           Business Operations                                                                                    0.01    $            2.08               0.12   $               16.38              0.13    $            18.46
           Claims Administration & Objections                                                                     0.10    $           25.28               0.29   $               59.40              0.39    $            84.68
 53      6807 S Indiana Avenue                        0.15762971515%            0.16938401229%                    0.07    $           18.00               1.04   $              193.14             1.11     $           211.15
           Asset Disposition                                                                                      0.00    $            0.95               0.63   $              117.36              0.63    $           118.31
           Business Operations                                                                                    0.01    $            1.29               0.12   $               16.38              0.12    $            17.67
           Claims Administration & Objections                                                                     0.06    $           15.75               0.29   $               59.40              0.35    $            75.16
 54      8000-02 S Justine Street                     0.47124168452%            0.50638172634%                    0.21    $           53.81               0.67   $              115.63             0.88     $           169.44
           Asset Disposition                                                                                      0.01    $            2.85               0.28   $               43.81              0.29    $            46.65
           Business Operations                                                                                    0.02    $            3.87               0.13   $               19.68              0.15    $            23.55
           Claims Administration & Objections                                                                     0.18    $           47.10               0.25   $               52.13              0.43    $            99.23
 55      8107-09 S Ellis Avenue                       0.27646178825%            0.29707727946%                    0.12    $           31.57               0.67   $              115.63             0.79     $           147.20
           Asset Disposition                                                                                      0.01    $            1.67               0.28   $               43.81              0.29    $            45.48
           Business Operations                                                                                    0.01    $            2.27               0.13   $               19.68              0.14    $            21.95
           Claims Administration & Objections                                                                     0.10    $           27.63               0.25   $               52.13              0.36    $            79.76
 56      8209 S Ellis Avenue                          0.47124168452%            0.50638172634%                    0.21    $           53.81               0.67   $              115.63             0.88     $           169.44
           Asset Disposition                                                                                      0.01    $            2.85               0.28   $               43.81              0.29    $            46.65
           Business Operations                                                                                    0.02    $            3.87               0.13   $               19.68              0.15    $            23.55
           Claims Administration & Objections                                                                     0.18    $           47.10               0.25   $               52.13              0.43    $            99.23
 57      8214-16 S Ingleside Avenue                   0.43982557222%            0.47262294459%                    0.20    $           50.23               0.73   $              124.78             0.93     $           175.01
           Asset Disposition                                                                                      0.01    $            2.66               0.35   $               52.96              0.36    $            55.62
           Business Operations                                                                                    0.02    $            3.61               0.13   $               19.68              0.15    $            23.30
           Claims Administration & Objections                                                                     0.17    $           43.96               0.25   $               52.13              0.42    $            96.09
 58      5955 S Sacramento Avenue                     0.71628736046%            0.76970022404%                    0.32    $           81.80               0.96   $              153.57             1.28     $           235.36
           Asset Disposition                                                                                      0.02    $            4.33               0.58   $               85.05              0.60    $            89.38
           Business Operations                                                                                    0.03    $            5.88               0.12   $               16.38              0.14    $            22.26
           Claims Administration & Objections                                                                     0.27    $           71.59               0.25   $               52.13              0.53    $           123.72
 59      6001-05 S Sacramento Avenue                  0.54664035404%            0.58740280256%                    0.24    $           62.42               0.96   $              153.57             1.20     $           215.99




                                                                                                 4 of 8
                                    Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 161 of 164 PageID #:61414
                                                                                                                                                                                                        DRAFT - Subject to Change



                                                                              EquityBuild - Property Allocation Summary

                                                                                                          General Allocation(s) [1]                 Specific Allocation(s) [2]                 Total Allocation(s) [3]
                                                                          Allocation Percent
Prop #                  Property Address        Allocation Percent     (1/29/2021 and Onward,             Hours                Fees            Specific Hours         Specific Fees       Total Hours            Total Fees
                                                                             Claims Only)
           Asset Disposition                                                                                      0.02    $             3.30               0.58   $               85.05              0.60    $              88.36
           Business Operations                                                                                    0.02    $             4.49               0.12   $               16.38              0.14    $              20.87
           Claims Administration & Objections                                                                     0.21    $            54.63               0.25   $               52.13              0.46    $             106.77
 60      7026-42 S Cornell Avenue                     1.39487538617%            1.49888990998%                    0.62    $           159.29               0.91   $              146.57             1.53     $            305.85
           Asset Disposition                                                                                      0.04    $             8.43               0.23   $               36.05              0.27    $              44.48
           Business Operations                                                                                    0.05    $            11.45               0.12   $               16.38              0.17    $              27.83
           Claims Administration & Objections                                                                     0.53    $           139.41               0.55   $               94.13              1.08    $             233.55
 61      7237-43 S Bennett Avenue                     1.05558137332%            1.13429506701%                    0.47    $           120.54               0.75   $              124.46             1.22     $            245.01
           Asset Disposition                                                                                      0.03    $             6.38               0.38   $               55.95              0.41    $              62.33
           Business Operations                                                                                    0.04    $             8.67               0.12   $               16.38              0.16    $              25.04
           Claims Administration & Objections                                                                     0.40    $           105.50               0.25   $               52.13              0.65    $             157.63
 62      7834-44 S Ellis Avenue                       2.23305726236%            2.39957420724%                    1.00    $           255.01               1.46   $              325.46             2.46     $            580.47
           Asset Disposition                                                                                      0.06    $            13.49               0.28   $               41.95              0.34    $              55.44
           Business Operations                                                                                    0.09    $            18.33               0.83   $              217.38              0.92    $             235.71
           Claims Administration & Objections                                                                     0.84    $           223.18               0.35   $               66.13              1.20    $             289.32
 63      4520-26 S Drexel Boulevard                   7.67809784639%            8.25064626124%                    3.43    $           876.81               0.74   $              125.37             4.17     $           1,002.18
           Asset Disposition                                                                                      0.22    $            46.38               0.23   $               36.05              0.46    $              82.43
           Business Operations                                                                                    0.30    $            63.04               0.13   $               19.68              0.43    $              82.72
           Claims Administration & Objections                                                                     2.90    $           767.39               0.38   $               69.63              3.28    $             837.03
 64      4611-17 S Drexel Boulevard                   6.15755801101%            6.61672122423%                    2.75    $           703.17               3.58   $              670.07             6.33     $           1,373.23
           Asset Disposition                                                                                      0.18    $            37.19               0.23   $               36.05              0.41    $              73.25
           Business Operations                                                                                    0.24    $            50.55               2.62   $              515.38              2.86    $             565.93
           Claims Administration & Objections                                                                     2.33    $           615.42               0.73   $              118.63              3.06    $             734.05
 65      6749-59 S Merrill Avenue                     1.85983384822%                                              0.13    $            26.50               2.94   $              867.99             3.06     $            894.49
           Asset Disposition                                                                                      0.05    $            11.23               0.23   $               36.05              0.29    $              47.29
           Business Operations                                                                                    0.07    $            15.27               0.13   $               19.68              0.20    $              34.95
           Claims Administration & Objections                                                                      -      $              -                 2.57   $              812.25              2.57    $             812.25
 66      7110 S Cornell Avenue                        1.55823917013%                                              0.11    $            22.20               8.11   $         2,094.54                8.22     $           2,116.75
           Asset Disposition                                                                                      0.05    $             9.41               0.65   $             94.21                0.69    $             103.62
           Business Operations                                                                                    0.06    $            12.79               4.49   $          1,132.08                4.55    $           1,144.88
           Claims Administration & Objections                                                                      -      $              -                 2.97   $            868.25                2.97    $             868.25
 67      1131-41 E 79th Place                         1.44514116585%            1.55290396079%                    0.64    $           165.03               1.90   $              336.83             2.55     $            501.85
           Asset Disposition                                                                                      0.04    $             8.73               0.30   $               45.21              0.34    $              53.94
           Business Operations                                                                                    0.06    $            11.86               0.13   $               19.68              0.19    $              31.55
           Claims Administration & Objections                                                                     0.55    $           144.44               1.47   $              271.93              2.02    $             416.37
 68      6217-27 S Dorchester Avenue                  2.65905974516%            2.85734328785%                    1.19    $           303.65               0.96   $              179.32             2.15     $            482.97
           Asset Disposition                                                                                      0.08    $            16.06               0.30   $               45.21              0.38    $              61.27
           Business Operations                                                                                    0.10    $            21.83               0.22   $               55.38              0.32    $              77.21
           Claims Administration & Objections                                                                     1.01    $           265.76               0.44   $               78.73              1.45    $             344.49
 69      6250 S Mozart Street                         1.16239615514%            1.24907492498%                    0.52    $           132.74               1.29   $              225.67             1.81     $            358.41
           Asset Disposition                                                                                      0.03    $             7.02               0.41   $               61.25              0.45    $              68.27
           Business Operations                                                                                    0.05    $             9.54               0.13   $               19.68              0.18    $              29.23
           Claims Administration & Objections                                                                     0.44    $           116.18               0.74   $              144.73              1.18    $             260.91
 70      638-40 N Avers Avenue                        0.46495846206%            0.49962996999%                    0.21    $            53.10             12.10    $         2,249.17               12.30     $           2,302.26
           Asset Disposition                                                                                      0.01    $             2.81              10.73   $          1,906.05              10.75     $           1,908.86
           Business Operations                                                                                    0.02    $             3.82               0.82   $            250.38               0.84     $             254.20
           Claims Administration & Objections                                                                     0.18    $            46.47               0.54   $             92.73               0.72     $             139.20
 71      701-13 S 5th Avenue                          1.22522837974%            1.31659248850%                    0.55    $           139.92               0.96   $              153.57             1.50     $            293.48
           Asset Disposition                                                                                      0.04    $             7.40               0.58   $               85.05              0.62    $              92.45
           Business Operations                                                                                    0.05    $            10.06               0.12   $               16.38              0.16    $              26.44
           Claims Administration & Objections                                                                     0.46    $           122.46               0.25   $               52.13              0.72    $             174.59
 72      7024-32 S Paxton Avenue                      2.23054397338%            2.39687350470%                    1.00    $           254.72               0.90   $              170.17             1.89     $            424.88
           Asset Disposition                                                                                      0.06    $            13.47               0.23   $               36.05              0.30    $              49.53
           Business Operations                                                                                    0.09    $            18.31               0.12   $               16.38              0.20    $              34.69
           Claims Administration & Objections                                                                     0.84    $           222.93               0.54   $              117.73              1.39    $             340.67
 73      7255-57 S Euclid Avenue                      1.21894515728%            1.30984073214%                    0.54    $           139.20               1.20   $              188.22             1.75     $            327.42
           Asset Disposition                                                                                      0.04    $             7.36               0.44   $               65.10              0.48    $              72.47




                                                                                                 5 of 8
                                    Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 162 of 164 PageID #:61415
                                                                                                                                                                                                        DRAFT - Subject to Change



                                                                              EquityBuild - Property Allocation Summary

                                                                                                          General Allocation(s) [1]                 Specific Allocation(s) [2]                 Total Allocation(s) [3]
                                                                          Allocation Percent
Prop #                 Property Address         Allocation Percent     (1/29/2021 and Onward,             Hours                Fees            Specific Hours         Specific Fees       Total Hours            Total Fees
                                                                             Claims Only)
           Business Operations                                                                                    0.05    $            10.01               0.12   $               16.38              0.16    $              26.39
           Claims Administration & Objections                                                                     0.46    $           121.83               0.64   $              106.73              1.11    $             228.56
 74      3074 E Cheltenham Place                      1.33204316157%            1.43137234647%                    0.59    $           152.11             47.33    $        13,163.14               47.93     $       13,315.25
           Asset Disposition                                                                                      0.04    $             8.05               0.23   $             36.05               0.27     $               44.10
           Business Operations                                                                                    0.05    $            10.94               0.63   $            138.68               0.68     $              149.62
           Claims Administration & Objections                                                                     0.50    $           133.13              46.47   $         12,988.40              46.97     $           13,121.53
 75      7625-33 S East End Avenue                    1.57080561505%            1.68793908781%                    0.70    $           179.38             46.86    $        13,046.73               47.56     $       13,226.11
           Asset Disposition                                                                                      0.05    $             9.49               0.28   $             41.95               0.32     $               51.44
           Business Operations                                                                                    0.06    $            12.90               0.12   $             16.38               0.18     $               29.27
           Claims Administration & Objections                                                                     0.59    $           157.00              46.47   $         12,988.40              47.06     $           13,145.40
 76      7635-43 S East End Avenue                    1.47027405569%            1.57991098619%                    0.66    $           167.90             46.01    $        12,927.73               46.67     $       13,095.63
           Asset Disposition                                                                                      0.04    $             8.88               0.28   $             41.95               0.32     $               50.83
           Business Operations                                                                                    0.06    $            12.07               0.12   $             16.38               0.17     $               28.45
           Claims Administration & Objections                                                                     0.56    $           146.95              45.62   $         12,869.40              46.18     $           13,016.35
 77      7750-58 S Muskegon Avenue                    0.87965114443%            0.94524588918%                    0.39    $           100.45             46.96    $        13,065.53               47.36     $       13,165.98
           Asset Disposition                                                                                      0.03    $             5.31               0.28   $             41.95               0.30     $               47.26
           Business Operations                                                                                    0.03    $             7.22               0.12   $             16.38               0.15     $               23.60
           Claims Administration & Objections                                                                     0.33    $            87.92              46.57   $         13,007.20              46.90     $           13,095.12
 78      7201 S Constance Avenue                      1.38230894125%            1.48538639728%                    0.62    $           157.85             47.25    $        13,106.44               47.87     $       13,264.29
           Asset Disposition                                                                                      0.04    $             8.35               0.28   $             41.95               0.32     $               50.30
           Business Operations                                                                                    0.05    $            11.35               0.51   $             76.08               0.56     $               87.43
           Claims Administration & Objections                                                                     0.52    $           138.16              46.47   $         12,988.40              46.99     $           13,126.56
 79      6160-6212 S Martin Luther King Drive         0.98646592625%            1.06002574715%                    0.44    $           112.65               2.35   $              464.03             2.79     $            576.68
           Asset Disposition                                                                                      0.03    $             5.96               0.58   $              122.03              0.61    $             127.98
           Business Operations                                                                                    0.04    $             8.10               1.51   $              289.87              1.55    $             297.97
           Claims Administration & Objections                                                                     0.37    $            98.59               0.25   $               52.13              0.63    $             150.73
 80      2736-44 W 64th Street                        0.52527739767%            0.56444683097%                    0.23    $            59.98               1.03   $              165.27             1.26     $            225.26
           Asset Disposition                                                                                      0.02    $             3.17               0.33   $               50.05              0.35    $              53.23
           Business Operations                                                                                    0.02    $             4.31               0.44   $               63.08              0.46    $              67.40
           Claims Administration & Objections                                                                     0.20    $            52.50               0.25   $               52.13              0.45    $             104.63
 81      4315-19 S Michigan Avenue                    1.06814781824%            1.14779857971%                    0.48    $           121.98               0.89   $              145.99             1.37     $            267.97
           Asset Disposition                                                                                      0.03    $             6.45               0.41   $               61.25              0.45    $              67.71
           Business Operations                                                                                    0.04    $             8.77               0.12   $               18.61              0.16    $              27.38
           Claims Administration & Objections                                                                     0.40    $           106.76               0.35   $               66.13              0.76    $             172.89
 82      6355-59 S Talman Avenue                      0.72508387191%            0.77915268294%                    0.32    $            82.80               0.98   $              158.27             1.30     $            241.07
           Asset Disposition                                                                                      0.02    $             4.38               0.23   $               36.05              0.26    $              40.43
           Business Operations                                                                                    0.03    $             5.95               0.49   $               70.08              0.52    $              76.04
           Claims Administration & Objections                                                                     0.27    $            72.47               0.25   $               52.13              0.53    $             124.60
 83      6356 S California Avenue                     0.47124168452%            0.50638172634%                    0.21    $            53.81               0.97   $              156.04             1.18     $            209.86
           Asset Disposition                                                                                      0.01    $             2.85               0.23   $               36.05              0.25    $              38.90
           Business Operations                                                                                    0.02    $             3.87               0.48   $               67.86              0.50    $              71.72
           Claims Administration & Objections                                                                     0.18    $            47.10               0.25   $               52.13              0.43    $              99.23
 84      7051 S Bennett Avenue                        0.75398669523%            0.81021076215%                    0.34    $            86.10               0.70   $              123.03             1.04     $            209.13
           Asset Disposition                                                                                      0.02    $             4.55               0.30   $               45.21              0.32    $              49.76
           Business Operations                                                                                    0.03    $             6.19               0.15   $               25.68              0.18    $              31.87
           Claims Administration & Objections                                                                     0.29    $            75.36               0.25   $               52.13              0.54    $             127.49
 85      7201-07 S Dorchester Avenue                  0.62203902356%            0.66842387877%                    0.28    $            71.03               0.66   $              113.77             0.94     $            184.80
           Asset Disposition                                                                                      0.02    $             3.76               0.28   $               41.95              0.29    $              45.71
           Business Operations                                                                                    0.02    $             5.11               0.13   $               19.68              0.15    $              24.79
           Claims Administration & Objections                                                                     0.24    $            62.17               0.25   $               52.13              0.49    $             114.30
 86      7442-54 S Calumet Avenue                     0.71000413800%            0.76294846769%                    0.32    $            81.08               0.76   $              127.77             1.08     $            208.85
           Asset Disposition                                                                                      0.02    $             4.29               0.28   $               41.95              0.30    $              46.24
           Business Operations                                                                                    0.03    $             5.83               0.13   $               19.68              0.16    $              25.51
           Claims Administration & Objections                                                                     0.27    $            70.96               0.35   $               66.13              0.62    $             137.10
 87      7508 S Essex Avenue                          0.94876659149%            1.01951520904%                    0.42    $           108.35               0.86   $              141.77             1.28     $            250.11
           Asset Disposition                                                                                      0.03    $             5.73               0.28   $               41.95              0.30    $              47.68
           Business Operations                                                                                    0.04    $             7.79               0.13   $               19.68              0.17    $              27.47




                                                                                                 6 of 8
                                     Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 163 of 164 PageID #:61416
                                                                                                                                                                                                         DRAFT - Subject to Change



                                                                               EquityBuild - Property Allocation Summary

                                                                                                           General Allocation(s) [1]                 Specific Allocation(s) [2]                 Total Allocation(s) [3]
                                                                           Allocation Percent
Prop #                  Property Address         Allocation Percent     (1/29/2021 and Onward,             Hours                Fees            Specific Hours         Specific Fees       Total Hours            Total Fees
                                                                              Claims Only)
            Claims Administration & Objections                                                                     0.36    $            94.83               0.45   $               80.13              0.81    $             174.96
  88      7546-48 S Saginaw Avenue                     0.78540280753%            0.84396954391%                    0.35    $            89.69               0.66   $              113.77             1.01     $            203.46
            Asset Disposition                                                                                      0.02    $             4.74               0.28   $               41.95              0.30    $              46.69
            Business Operations                                                                                    0.03    $             6.45               0.13   $               19.68              0.16    $              26.13
            Claims Administration & Objections                                                                     0.30    $            78.50               0.25   $               52.13              0.55    $             130.63
  89      7600-10 S Kingston Avenue                    1.92266607283%            2.06603744349%                    0.86    $           219.56             14.07    $         4,545.38               14.92     $           4,764.94
            Asset Disposition                                                                                      0.06    $            11.61              13.69   $          4,474.64              13.74     $           4,486.25
            Business Operations                                                                                    0.07    $            15.79               0.12   $             18.61               0.20     $              34.39
            Claims Administration & Objections                                                                     0.73    $           192.16               0.25   $             52.13               0.98     $             244.30
  90      7656-58 S Kingston Avenue                    0.40212623745%            0.43211240648%                    0.18    $            45.92             14.22    $         4,545.03               14.40     $           4,590.95
            Asset Disposition                                                                                      0.01    $             2.43              13.74   $          4,456.64              13.75     $           4,459.07
            Business Operations                                                                                    0.02    $             3.30               0.12   $             17.46               0.14     $              20.76
            Claims Administration & Objections                                                                     0.15    $            40.19               0.35   $             70.93               0.51     $             111.12
  91      7701-03 S Essex Avenue                       0.87965114443%            0.94524588918%                    0.39    $           100.45               0.66   $              111.54             1.05     $            211.99
            Asset Disposition                                                                                      0.03    $             5.31               0.28   $               41.95              0.30    $              47.26
            Business Operations                                                                                    0.03    $             7.22               0.12   $               17.46              0.16    $              24.68
            Claims Administration & Objections                                                                     0.33    $            87.92               0.25   $               52.13              0.59    $             140.05
  92      7748-52 S Essex Avenue                       1.69647006426%            1.82297421484%                    0.76    $           193.73               3.71   $              764.80             4.47     $            958.53
            Asset Disposition                                                                                      0.05    $            10.25               1.38   $              195.95              1.43    $             206.20
            Business Operations                                                                                    0.07    $            13.93               1.78   $              474.71              1.85    $             488.64
            Claims Administration & Objections                                                                     0.64    $           169.55               0.55   $               94.13              1.20    $             263.69
  93      7957-59 S Marquette Road                     0.44108221671%            0.47397329586%                    0.20    $            50.37               0.66   $              113.77             0.86     $            164.14
            Asset Disposition                                                                                      0.01    $             2.66               0.28   $               41.95              0.29    $              44.62
            Business Operations                                                                                    0.02    $             3.62               0.13   $               19.68              0.15    $              23.31
            Claims Administration & Objections                                                                     0.17    $            44.08               0.25   $               52.13              0.42    $              96.22
  94      816-22 E Marquette Road                      1.01159881610%            1.08703277255%                    0.45    $           115.52               0.66   $              113.77             1.11     $            229.29
            Asset Disposition                                                                                      0.03    $             6.11               0.28   $               41.95              0.31    $              48.06
            Business Operations                                                                                    0.04    $             8.31               0.13   $               19.68              0.17    $              27.99
            Claims Administration & Objections                                                                     0.38    $           101.10               0.25   $               52.13              0.64    $             153.24
  95      8201 S Kingston Avenue                       0.50265779682%            0.54014050810%                    0.22    $            57.40               0.99   $              163.17             1.21     $            220.57
            Asset Disposition                                                                                      0.01    $             3.04               0.28   $               41.95              0.29    $              44.99
            Business Operations                                                                                    0.02    $             4.13               0.46   $               69.08              0.48    $              73.21
            Claims Administration & Objections                                                                     0.19    $            50.24               0.25   $               52.13              0.44    $             102.37
 96-99    8326-58 S Ellis Avenue                       2.02319763219%            2.17406554511%                    0.90    $           231.04               0.83   $              136.92             1.73     $            367.96
            Asset Disposition                                                                                      0.06    $            12.22               0.34   $               51.10              0.40    $              63.33
            Business Operations                                                                                    0.08    $            16.61               0.13   $               19.68              0.21    $              36.29
            Claims Administration & Objections                                                                     0.77    $           202.21               0.35   $               66.13              1.12    $             268.34
 100      11117-11119 S Longwood Drive                 2.19912786108%            2.36311472294%                    0.98    $           251.13               1.31   $              203.00             2.29     $            454.13
            Asset Disposition                                                                                      0.06    $            13.28               0.30   $               45.21              0.36    $              58.49
            Business Operations                                                                                    0.09    $            18.05               0.48   $               67.86              0.57    $              85.91
            Claims Administration & Objections                                                                     0.83    $           219.79               0.52   $               89.93              1.36    $             309.73
 101      6949-59 S Merrill Avenue                     1.91009962791%            2.05253393078%                    0.85    $           218.13             14.09    $         4,547.38               14.94     $           4,765.50
            Asset Disposition                                                                                      0.06    $            11.54              13.40   $          4,434.39              13.46     $           4,445.92
            Business Operations                                                                                    0.07    $            15.68               0.43   $             60.86               0.51     $              76.54
            Claims Administration & Objections                                                                     0.72    $           190.91               0.25   $             52.13               0.98     $             243.04
102-106   7927-49 S Essex Avenue                       1.09956393054%            1.18155736147%                    0.49    $           125.57               0.54   $               94.82             1.03     $            220.38
            Asset Disposition                                                                                      0.03    $             6.64               0.16   $               26.30              0.20    $              32.95
            Business Operations                                                                                    0.04    $             9.03               0.12   $               16.38              0.16    $              25.41
            Claims Administration & Objections                                                                     0.42    $           109.90               0.25   $               52.13              0.67    $             162.03
 107      1422-24 East 68th Street                     0.50265779682%            0.54014050810%                    0.22    $            57.40               0.61   $              104.57             0.83     $            161.97
            Asset Disposition                                                                                      0.01    $             3.04               0.23   $               36.05              0.25    $              39.09
            Business Operations                                                                                    0.02    $             4.13               0.12   $               16.38              0.14    $              20.51
            Claims Administration & Objections                                                                     0.19    $            50.24               0.25   $               52.13              0.44    $             102.37
 108      2800-06 E 81st Street                        0.54035713158%            0.58065104621%                    0.24    $            61.71               0.61   $              104.57             0.85     $            166.27
            Asset Disposition                                                                                      0.02    $             3.26               0.23   $               36.05              0.25    $              39.32
            Business Operations                                                                                    0.02    $             4.44               0.12   $               16.38              0.14    $              20.81
            Claims Administration & Objections                                                                     0.20    $            54.01               0.25   $               52.13              0.46    $             106.14




                                                                                                  7 of 8
                                                 Case: 1:18-cv-05587 Document #: 1181 Filed: 02/14/22 Page 164 of 164 PageID #:61417
                                                                                                                                                                                                                                                     DRAFT - Subject to Change



                                                                                                                      EquityBuild - Property Allocation Summary

                                                                                                                                                     General Allocation(s) [1]                   Specific Allocation(s) [2]                 Total Allocation(s) [3]
                                                                                                                Allocation Percent
       Prop #                        Property Address                          Allocation Percent            (1/29/2021 and Onward,                 Hours                   Fees            Specific Hours         Specific Fees       Total Hours            Total Fees
                                                                                                                   Claims Only)
        109         4750-52 S Indiana Avenue                                           0.87588121095%                  0.94119483537%                       0.39    $              100.02               1.10   $              198.39             1.50     $            298.41
                       Asset Disposition                                                                                                                     0.03   $                5.29               0.53   $               77.87              0.56    $              83.16
                       Business Operations                                                                                                                   0.03   $                7.19               0.32   $               68.38              0.35    $              75.57
                       Claims Administration & Objections                                                                                                    0.33   $               87.54               0.25   $               52.13              0.59    $             139.67
        110         5618-20 S Martin Luther King Drive                                 0.81179234186%                   0.87232692058%                      0.36    $               92.70               1.37   $              212.04             1.74     $            304.75
                       Asset Disposition                                                                                                                     0.02   $                4.90               0.57   $               82.72              0.59    $              87.62
                       Business Operations                                                                                                                   0.03   $                6.66               0.55   $               77.19              0.58    $              83.85
                       Claims Administration & Objections                                                                                                    0.31   $               81.14               0.25   $               52.13              0.56    $             133.27
        111         6554-58 S Vernon Avenue                                            0.72382722742%                   0.77780233167%                      0.32    $               82.66               0.95   $              154.07             1.27     $            236.73
                       Asset Disposition                                                                                                                     0.02   $                4.37               0.56   $               82.25              0.59    $              86.63
                       Business Operations                                                                                                                   0.03   $                5.94               0.13   $               19.68              0.16    $              25.63
                       Claims Administration & Objections                                                                                                    0.27   $               72.34               0.25   $               52.13              0.53    $             124.48
        112         7450 S Luella Avenue                                               0.34934716879%                   0.37539765313%                      0.16    $               39.89               0.66   $              113.77             0.82     $            153.66
                       Asset Disposition                                                                                                                     0.01   $                2.11               0.28   $               41.95              0.29    $              44.06
                       Business Operations                                                                                                                   0.01   $                2.87               0.13   $               19.68              0.14    $              22.55
                       Claims Administration & Objections                                                                                                    0.13   $               34.92               0.25   $               52.13              0.39    $              87.05
        113         7840-42 S Yates Avenue                                             0.43982557222%                   0.47262294459%                      0.20    $               50.23               0.71   $              119.62             0.91     $            169.84
                       Asset Disposition                                                                                                                     0.01   $                2.66               0.34   $               51.10              0.35    $              53.76
                       Business Operations                                                                                                                   0.02   $                3.61               0.12   $               16.38              0.13    $              19.99
                       Claims Administration & Objections                                                                                                    0.17   $               43.96               0.25   $               52.13              0.42    $              96.09
        115         431 E 42nd Place                                                   0.10367317059%                   0.11140397980%                      0.05    $               11.84               0.61   $              105.64             0.66     $            117.48
                       Asset Disposition                                                                                                                     0.00   $                0.63               0.23   $               36.05              0.24    $              36.68
                       Business Operations                                                                                                                   0.00   $                0.85               0.12   $               17.46              0.13    $              18.31
                       Claims Administration & Objections                                                                                                    0.04   $               10.36               0.25   $               52.13              0.29    $              62.50
        116         1102 Bingham (Houston, TX)                                         1.12155520915%                   1.20518850870%                      0.50    $              128.08               9.37   $         2,411.52                9.87     $           2,539.60
                       Asset Disposition                                                                                                                     0.03   $                6.77               8.80   $          2,285.21                8.83    $           2,291.98
                       Business Operations                                                                                                                   0.04   $                9.21               0.22   $             55.38                0.26    $              64.59
                       Claims Administration & Objections                                                                                                    0.42   $              112.09               0.35   $             70.93                0.78    $             183.03
Total                                                                                                                                                       42.00              10,726.00              485.20            127,414.00             527.20             138,140.00
   Asset Disposition [4]                                                                                                                                     2.90                 604.00              125.50             31,443.00             128.40              32,047.00
   Business Operations [5]                                                                                                                                   3.90                 821.00               40.00              8,096.00              43.90               8,917.00
   Claims Administration & Objections [6]                                                                                                                   35.20               9,301.00              319.70             87,875.00             354.90              97,176.00




[1]   Task entries determined as general time have been allocated to all properties in accordance with court-approved allocation methodology.
[2]   Task entries specifically identified as relating to respective property. Specific allocations have been determined via analysis of task descriptions and details can be found in
[3]   Summation of General and Specific Allocation hours/fees. Both allocation populations have been limited to entries occuring on or before 6/30/2020.
[4]   Time/Task entries relating to "Asset Disposition" Billing Category
[5]   Time/Task entries relating to "Business Operations" Billing Category
[6]   Time/Task entries relating to "Claims Administration & Objections" Billing Category




                                                                                                                                           8 of 8
